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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA ex rel.
EDWARD ALLEN

                Plaintiff,

     v.

STERLING CAPITAL PARTNERS, L.P.;                Case No. 1:19-cv-07289
STERLING CAPITAL PARTNERS GMBH
& CO. KH, and STERLING FUND                     Honorable Ronald A. Guzman
MANAGEMENT, LLC; ARIZONA
SUMMIT LAW SCHOOL, LLC;
FLORIDA COASTAL SCHOOL OF LAW,
INC.; CHARLOTTE SCHOOL OF LAW,
LLC; INFILAW CORPORATION;
INFILAW HOLDING, LLC; BARBRI,
INC.; and KAPLAN, INC.

                Defendants.

   DECLARATION OF JAMES L. ZELENAY, JR., IN SUPPORT OF DEFENDANT
           KAPLAN, INC.’S REQUEST FOR JUDICIAL NOTICE




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       I, James L. Zelenay, Jr., hereby declare and state:
       1.      I am a partner at the law firm of Gibson, Dunn & Crutcher LLP, and am one of the

attorneys of record for Defendant Kaplan, Inc. (“Kaplan”) in the above-entitled action. I offer this

declaration in support of Kaplan’s Request for Judicial Notice and Motion to Dismiss. I have

personal knowledge of the matters stated herein, and if asked to testify thereto, I would do so

competently.

       2.      Attached hereto as Exhibit A is a copy of the complaint filed in United States ex

rel. O’Connor v. Arizona Summit Law School, LLC, et al., 3:15-cv-1351 (M.D. Fla. 2015) [ECF

4] (“O’Connor Complaint”).

       3.      Attached hereto as Exhibit B is a copy of the order dismissing United States ex rel.
O’Connor v. Arizona Summit Law School, LLC, et al., 3:15-cv-1351 (M.D. Fla. 2015) [ECF 27].

       4.      Attached hereto as Exhibit C is a redline comparing allegations from the O’Connor

Complaint, from pages 26 through 34 of that complaint, against paragraphs 146 through 174 of

the complaint in the instant matter, United States ex rel. Allen v. Sterling Capital Partners, L.P.,

1:19-cv-07289 (N.D. Ill., filed Nov. 5, 2019) (ECF 1). Exhibit C was prepared by my office via

our office’s electronic comparison tools.

       5.      Attached hereto as Exhibit D is a copy of the Third Amended Complaint filed in

United States ex rel. Lorona v. InfiLaw Corp., et al., 3:15-cv-959-J-34JRK (M.D. Fla. 2018) (ECF

36).

       6.      Attached hereto as Exhibit E is a copy of the order dismissing with prejudice

United States ex rel. Lorona v. InfiLaw Corp., et al., 3:15-cv-959-J-34JRK (M.D. Fla. Aug. 12,

2019) (ECF 72).

       I declare under penalty of perjury that the foregoing is true and correct.


Executed on May 19, 2021, in Pasadena, California.

                                                     By:
                                                             James L. Zelenay, Jr.




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                           EXHIBIT A
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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


UNITED STATES OF AMERICA
ex rel. MICHAEL O'CONNOR and
CELIA RUMANN,

             Plaintiffs,

      v.                                         Case No. B : \5-a/--1"3'5\-:J-~'JBi

ARIZONA SUMMIT LAW SCHOOL,
LLC, FLORIDA COASTAL SCHOO;L OF                  FILED IN CAMERA AND
LAW, INC. , CHARLOTTE SCHOOL OF                  UNDER SEAL
LAW, LLC, INFILAW CORPORATION,
INFILAW HOLDING, LLC, STERLING
CAPITAL PARTNERS, BARBRI, INC.,                  JURY TRIAL DEMANDED
and KAPLAN, INC.                                                             .
                                                                       '6~·::          ;;:;      ~
             Defendants.                                                   -~~S:       c.n       ~
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                                   COMPLAINT                           r.;
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      On behalf of the United States of America a nd themselves,    Re~~:s ~chael
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O'Connor and Celia Rumann ("Relators") file this qui tam complaint against

Arizona Summit Law School, LLC, Florida Coastal School of Law, Inc., Charlotte

School of Law, Infi.Law Corporation, Infi.Law Holdings, LLC, Sterling Capital

Partners, BarBri, Inc., and Kaplan, Inc. ("Defendants"), and allege as follows:

                                 INTRODUCTION

      This is a civil action to recover damages and penalties on behalf of the United

States of America arising from false claims and statements made, caused and/or
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presented by the Defenda nts in violation of t he Federal False Claims Act ("FCA"),

31 U.S.C. § 3729 et seq.

      The FCA allows an individual known as the relator, or whistleblower, to file

an action on behalf of the government for violations of t he FCA and receive a

portion of any recovery as an award to the qui tam plaintiff. 31 U.S.C. § 3730.

Under the FCA, the Complaint must be filed under seal (without service on t he

defenda nts) to enable the government to conduct its own investigation without t he

defendants' knowledge and to allow the government an opportunity to interve ne in

the action.

      Defendants have violated the FCA by engagin g in a scheme to submit, or

cause to be submitted, false claims for student loans from the federa l student aid

programs a dministered by the U.S. Dep artment of Education (ED). Specifically,

Defendants knowingly engaged in a sch eme to falsify t hree for-profit law schools'

complia nce with the regulations governing the schools' eligibility to participate in

t he federally-subsidized student loan programs created under Title IV of the Higher

Education Act, 20 U.S.C. §§ 1070 et seq. ("Title IV'). Defendants' misconduct has

resulted in millions of dollars in false claims that were submitted to and paid by t he

federal government.

                           JURISDICTION AND VENUE

      1.      Relators bring this action on behalf of themselves and the United

States of America pursuant to 31 U.S.C. § 3730(b)(1).



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      This Court has subject matter jurisdiction over Plaintiffs' claims ansmg

under the False Claims Act, 31 U.S.C. § 3729 et seq., pursuant to 31 U.S. C. §3732(a)

and 28 U.S.C. § 1331 and 1345. The Court has supplemental jurisdiction to

entertain common law or equitable claims pursuant to 28 U.S. C. § 1367(a).

      This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C. §

3732(a) because Defendants can be found in, reside in, and/or have transacted

business within the United States.

      Venue is proper in this district under 28 U.S.C. §§ 1391(b)-(c), and 31 U.S.C.

§ 3732(a) because at least one Defendant resides in this district and because alleged

violations of the FCA occurred in this district.

                                   DEFENDANTS
      Defendant Arizona Summit Law School, LLC, formerly known as Phoenix

School of Law, operates a for-profit law school located in Phoenix, Arizona ("Summit

Law"). Summit Law is registered as a Delaware limited liability company. Prior to

November 2013, Summit Law was named the Phoenix School of Law.

      Defendant Florida Coastal School of Law, Inc. operates a for-profit law school

located in Jacksonville, Florida ("Florida Coastal"). Florida Coastal is registered as

a Delaware Corporation.

      Defendant Charlotte School of Law, LLC operates a for-profit law school

located in Charlotte, North Carolina ("Charlotte Law"). Charlotte Law is register ed

as a Delaware limited liability company.



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      Defendants Summit Law, Florida Coastal and Charlotte Law are all owned

by Defendant InfiLaw, a for-profit consortium of law schools, and collectively

referred to herein as the "InfiLaw Schools."

      Defendant InfiLaw Corporation is a Delaware corporation with its primary

place of business located at 8625 Tamiami Trail North, Suite 500, Naples, Florida

34108. Defendant InfiLaw Holdings, LLC is a Delaware limited liability company

with its primary place of business in Naples, Florida . The Defendants in this

paragraph are collectively referred to herein as "InfiLaw."

      InfiLaw owns, operates and manages the InfiLaw Schools. InfiLaw dictates

or approves a ll major ma nagement decisions, policies, and business arrangements

at the InfiLaw Schools.

      Defendant Sterling Capital Partner s, LLC, d/b/a Sterling Partners, is a

Chicago-based private equity firm that is registered as a Delaware limited liability

company ("Sterling Partners"). Sterling Partners purchased Florida Coastal School

of Law in 2004 and formed InfiLaw as a holding and management company for

Florida Coastal. Sterling continues to hold an approximate 88% interest in InfiLaw

a nd directly controls the management and policy decisions made by InfiLaw and the

InfiLaw Schools.

      Defendant Barbri, Inc. is a Delaware corporation with its primary place of

business located at 9400 North Central Expressway, Ste. 613, Dallas, Texas 75231

("Barbri"). Barbri provides preparation courses and materials for individuals taking

state bar exams, most of whom are recent law school graduates.
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      Defendant Kaplan, Inc. is a Delaware corporation with its primary place of

business located Fort Lauderdale, Florida ("Kaplan"). Kaplan provides prep aration

courses and materials for individuals taking state bar exams and is a competitor

with Barbri in the bar exam prep aration course market.

                                  THE RELATORS
      Relator Michael O'Connor was form erly employed by the Summit Law as an

Associate Professor of Law with tenure.

      Relator Celia Rumann was for merly employed by the Summit Law as an

Associate Professor of Law with tenure.

      As defined in 31 U.S.C. § 3730(e)(4)(B), Relators qualify as the "original

source" of the allegations ma de herein. Specifically, t he violations alleged herein are

based upon Relators' per son al knowledge, expertise in the legal education field, and

non-public information obtained by Relators during and after t heir employment at

Summit Law. Relators provided the information that forms the basis of the

allegations ma de herein to the federal governmen t prior to t h e filing of this

Complaint a nd prior to any public disclosure of the violations alleged herein.

                        THE GOVERNMENT PROGRAMS
      A.     Title IV of the Higher Education Act

      Under Title IV of t he Higher Education Act of 1965, 20 U .S.C. §§ 1070 et seq.,

Congress established various student loan a nd grant programs, including but not

limited to the Feder al Family Education Loan Program ("FFELP''), and t he Federal



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Direct Loan Program ("FDLP") (collectively "Title IV programs") in order to

financially assist eligible students in obtaining a post-secondary education.

      Although the mechanism by which funding is disbursed to eligible students

under the Title IV programs varies, each Title IV progra m requires compliance with

specific conditions as a prerequisite to obtaining federal funds.

      In order to become eligible to receive Title IV funding under programs such

as FFELP or FDLP, or to h ave its students receive Title IV funding, a post-

seconda ry educational institution must first enter into a program participation

a greement ("PPA") with the Department of Education . 20 U.S.C. § 1094(a); 34

C.F.R. §668.14.

      Each PPA expressly conditions a school's initial and con tinuing eligibility to

receive funds under Title IV programs on compliance with specific statutory

requirements, including 20 U.S.C. § 1094 and 34 C.F.R. §§ 668.14 and 668.22.

      In a ddition to t he requirements set forth by statute or regulation , the ED

publishes annually the Federal Student Aid Handbook (referred to herein as the

"FSA Handbook"), which provides a dditional guidance for institutions that

participate in Title IV programs. E ach time an institution submits data or requests

or disburses funding from a Title IV funding source, it is implicitly a nd explicitly

representing t h at the data, request, or disbursement is compliant with the

instructions set forth in the FSA H a ndbook.

      B.     Title IV Loan Programs

      Under the FFELP loan progr ams, which include subsidize d a nd un-
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subsidized Stafford Loans, a guaranty agency makes the eventual claim for

payment by the United States for many loans prior to July 2010. No new loans were

made under FFELP after July 1, 2010. Prior to that date, the school and student

submitted an application to a private lender for a loan on behalf of the student. If a

student defaults in repaying a loan under the FFELP program, a state or private

guaranty agency reimburses the lender or the subsequent holder of the loan for the

outstanding balance and takes assignment of the loan for collection action. 34

C.F.R. § 682.401(b)(14). If the guaranty agency is unable to collect from the

borrower, the ED reimburses the guaranty agency for the loss it incurred in

honoring the defaulted claims, 20 U.S.C. § 1078(c)(1)(A), and the ED may, in its

discretion, take assignment of the loan. 20 U.S.C. § 1078(c)(8). In this way, the

government is ultimately called upon to satisfy claims for payment.

      In order to participate in the FFELP or any other Title IV loan, as opposed to

grant, program, a student completes a Master Promissory Note ("MPN") and

submits the MPN to the educational institution. The institution, in turn, completes

a "School Certification," in which it certifies the accuracy of the information it

provided to the ED and the student's eligibility for the loan. 34 C.F.R. § 682.102.

While the MPN itself is valid for ten years, the educational institution determines

the student's ongoing eligibility for aid and completes the School Certification

annually.

      Under FFELP, the educational institution then submits the MPN to the

lender. Upon approval by the lender, the lender obtains a loan guarantee from a
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guarantee agency. 34 C.F.R. § 682.102. The loa n is made in reliance upon the

accuracy of the information provided by the educational institution.

      The lender transfers the FFELP funds directly into the educational

institution's account. Upon receiving the FFELP funds, the educational institution

credits a student's account for education-related expenses, such as tuition, fee s,

books, and supplies.

      For subsidized Stafford loans, the government pays the interest on the

student's behalf during the time the student is enrolled in school on at least a half-

time basis, and during the student's grace period before repayment commences. 34

C.F.R. § 682.102(d)(2).

      In the event that a student defaults on his or her loan, the ED pays to t he

guarantee agency all or part of the unpaid principal and accrued interest, as well as

a variety of administrative costs. 34 C.F.R. § 682.404.

      After July 2010, the Direct Loan program replaced the FFELP program as

the primary source of Title IV student loans. Under the direct loan program, the

federal government directly provides eligible students with subsidized and

unsubsidized Stafford loans. Again, these loa ns disb ursements are made directly to

an institution, and the instit ution is responsible for disbursing or "drawing down"

funding for t uition and related education expenses. Once tuition and other expenses

owned to the school have been paid, students may be eligible to receive

disbursements of their remaining eligible funds to cover living expenses and other

indirect education costs.
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      Federal Direct Loans are availa ble to stude nts who meet eligibility

requirement s including being matriculated into a degree program, enrolling at least

half time, and meeting Satisfactory Academic ProgTess r equirem ents.

      Title IV grant and loan funding is only available if bot h the student a nd

school meet the eligibility r equireme nts set forth in Title IV statute, regulations

promulgated under Title IV, and other guidance issued by the Department of

Education.

      The loans made by the United States through the Title IV programs are

subsidized United States taxpayers in that the gove1·nment p ays a portion of the

interest on the loans and covers the cost of loa n defaults and stude nt loan

forgiveness programs for which many students ar e or will be eligible.

      C.        The 90110 Rule

      For-profit or proprietary institutions, s uch as t he InfiLaw Schools, must

derive at least 10 percent of their reve nues for each fiscal year from sources other

than Title IV, HEA program funds. 34 C. F.R. § 668.28. This is referred to as the

"90/10 Rule."

      Compliance with the 90/10 Rule is a r equir em ent for institutions to continue

participation in Title IV Stude nt Aid Programs. 34 C.F.R. § 668.14(b)(16).

      The m ethodology for calculating the percentage of a sch ool's revenue that is

derived from Title IV source s is set forth in 34 C.F.R. § 668.28. "90/10 Revenue" is

defined as funds generated from:



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                    (i)     Tuition, fees, and other institutional charges for students
                            enrolled in eligible programs as defined in §668.8;

                    (ii)    Activities conducted by the institution that are necessary
                            for the education and training of its students provided
                            those activities are-

                            (A) Conducted on campus or at a facility under the
                            institution's control;

                            (B) Performed under the supervision of a member of the
                            institution's faculty; and

                            (C) Required to be performed by all students in a specific
                            educational program at the instit ution; and

                    (iii)   Funds pa id by a student, or on beh alf of a student by a
                            party other than the institution, for an education or
                            training program that is not eligible under §668.8 if the
                            progra m-

                            (A) Is approved or licensed by the appropriate State
                            agen cy;

                            (B) Is accredited by an accrediting agency recognize d by
                            the Secretary under 34 CFR part 602;

                            (C) Provides an industry-recognized credent ia l or
                            certification, or prepares students to take an examination
                            for an industry-recognized credential or certification
                            issued by an independent third party;

                            (D) Provides training needed for students t o maintain
                            State licensing requirements; or

                            (E) Provides training needed for students to meet
                            additional licensing requireme nts for specialized training
                            for practitioners that already meet the general licensing
                            r equirements in that field.

34 C.F.R. § 668.28(a)(3).

       Revenue does not include "[t]he a mount the studen t is charged for books,

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supplies, and equipment unless the institution includes that amount as tuition,

fees, or other institutional charges." 34 C.F.R. § 668.28(a)(7)(v).

       Every proprietary institution must report the perce ntage of revenue it

receives from Title IV sources on an annual basis. This ratio is reported in a

footnote to the schools' financial statement audit, which is submitted to the ED. The

revenue percentage must be calculated in accordance with 34 C.F.R §668.28. The

institution must also report in the footnote the dollar amount of the numerator and

denominator of its 90/10 ratio as well as the individual revenue amounts identified

in section 2 of appendix C to subpart B of part 668. 34 C.F.R. § 668.28.

       If a n institution does not derive at least 10 percent of its revenue from

sources other than Title IV, HEA program funds:

             (1)    For two consecutive fiscal years, it loses its eligibility to
                    p articipate in the Title IV, HEA programs for at least two fiscal
                    years. To regain eligibility, the institution must demonstrate
                    that it complied with the State licensure and accreditation
                    requirements under 34 CFR 600.5(a)(4) and (a)(6), and the
                    financial responsibility requireme nts under subpart L of this
                    part, for a minimum of two fiscal years after the fiscal year it
                    became ineligible; or

             (2)    For any fiscal year, it becomes provisionally certified under
                    §668.13(c)(1)(ii) for the two fiscal years after the fiscal year it
                    failed to satisfy the revenue requirement. However, the
                    institution's provisional certification terminates on-

                           (i) The expiration date of the institution's progra m
                           participation agreement that was in effect on the date the
                           Secretary determined the institution failed this
                           r equireme nt; or

                           (ii) The date the institution loses its eligibility to
                           participate under paragraph (c)(l) of this section; and
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             (3)    It must not ify the Secretary no later than 45 days after t he end
                    of its fiscal year that it failed to meet t his requirement.

34 C.F.R. § 668.28(c).

      D.     Federal Proprietary Institution Requirements

      To be considered an eligible program, a proprietary institution must meet the

requirements set forth in 34 C.F.R. § 668.8, which covers programs t hat prepare

students for gainful employment in a recognized occupation. 34 C.F.R. § 600.5(a)(5).

It is also r equire d that the school be accredited by an accrediting agency recognized

by the U.S. Secretary of Education. 34 C.F.R. § 600.5(a)(6).

      As proprietary institutions, the InfiLaw Schools are also required to report

the employment status of t heir graduates. 34 C.F.R. §668.6 states, in relevant part,

that the institutions must disclose to prospective students:

      (iv) The placement r ate for students completing t he program, as determined
      under a methodology developed by the National Center for Education
      Statistics (NCES) when that rate is available. In th e meantime, beginning on
      July 1, 2011, if the institution is required by its accredit ing agency or State to
      calculate a placement rate on a program basis, it must disclose the rate under
      this section and identify the accrediting agency or State agency under whose
      requirements the rate was calculated. If t h e accrediting agency or State
      requires an institution to calculate a placement rate at the instit utional level
      or other t han a program basis, the institution must use the accrediting
      agency or State methodology to calculate a placement rate for t h e program
      and disclose that rate;

34 C.F.R. §668.6(b)(iv).

      E.     Accrediting Agency Requirements

      In order to be eligible to participate in the Title IV programs, an instit ution

must be accre dited by an accreditation agency recognized by t he Unite d States
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Secretary of Education. 34 C.F.R. § 600.5. Loss of accreditation results in an

a utomatic 24-month loss of the institution's Title IV eligibility. 34 C.F.R. §

600.11(c).

       The InfiLaw Schools' accrediting agency       IS   the American Bar Association

("ABA").

             i.     ABA Required Disclosures

      ABA Standard 509 requires t h at:

             (a) All information that a law school reports, publicizes, or
             distributes sh all be complete, accurate and not misleading to a
             rea sonable law school student or app licant. A law school sh all
             u se due diligence in obtaining and verifying such information.
             Violations of t hese obligations may result in sanctions under
             Rule 16 ofthe Rules of Procedure for Approval of Law Schools.

             (b) A law school shall publicly disclose on its website, in the form
             and manner and for the time frame designated by the Council,
             t he following information: (1) admissions data; (2) tuition and
             fee s, living costs, and financial aid; (3) conditional scholarships;
             (4) enrollment data, including academic, transfer, and other
             attrition; (5) numbers of full-time and part-time faculty,
             professional librarians, and administrator s; (6) class sizes for
             first-year and upper-class courses; number of seminar, clinica l
             and co-curricular offerings; (7) employment outcomes; and (8)
             bar passage data.

       The information t hat its member law schools are required to report under

Standard 509 is material to the schools' ABA accreditation and, hence, material to

the schools' eligibility to participate in the Title IV programs.

             n.     ABA Bar Passage Requirements




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      ABA Standard 316 sets out the minimum state bar exam passage rates t h at a

schools' graduate must achieve in order for the school to remain accredited by the

ABA. Standard 316 states that:

             A.    A law school's bar passage rate shall be sufficient, for
             purposes of Standard 301(a), if t he school demonstrates that it
             meets any one of the following tests:

                   1) That for students who graduated from the law school
             within the five most recently completed calendar years:

                          (a) 75 percent or more of t hese graduates who sat
                   for the bar passed a bar examination, or

                          (b) in at least three of these calendar years, 75
                   percent of the students gr aduating in those years and
                   sitting for the bar have passed a bar examination. In
                   demonstrat ing compliance under sections (1)(a) and (b),
                   the school must report bar passage results from as ma ny
                   juTisdictions as necessary to account for at least 70% of its
                   graduates each year, starting with t he jurisdiction in
                   which t he highest number of graduates took th e b ar exam
                   a nd proceeding in descending order of frequency.

                    2) That in three or more of t he five most recently
             completed calendar year s, the school's annual first time bar
             passage rate in the jurisdictions reported by the school is no
             more than 15 points below the average first-time bar passage
             rates for graduates of ABA-approved law sch ools taking the bar
             examination in these same jurisdictions. In demonstrating
             compliance under section (2), the school must r eport first-time
             bar passage data from as many jurisdiction s as necessary to
             account for at least 70 percent of its graduates each year,
             starting with t he jurisdiction in which the highest number of
             graduates took t he bar exa m and proceeding in descending order
             of frequency. When more than one jurisdiction is reported, the
             weighted average of the results in each of th e r eported
             jurisdictions shall be used to determine compliance.

             B.    A school shall be out of compliance with the bar passage
             portion of 301(a) if it is unable to demonstrate that it meets the
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             requirements of paragraph A (1) or (2).

             C.    A school found out of compliance under paragraph B and
             that has not been able to come into compliance within t h e two
             year period specified in Rule 13(b) of the Rules of Procedure for
             Approval of Law 21 ABA Standards for Approval of Law Schools
             2013-2014 Schools, may seek to demonstrate good cause for
             extending the period the school has to demonstrate compliance
             by submitting eviden ce of:

                     (i)   The sch ool's trend in bar passage rates for bot h
             first-time a nd subsequent takers: a clear trend of improvement
             will be considered in the school's favor , a declining or flat t rend
             against it.

                    (ii)   The length of time the school's bar passage rates
             have been below the first-time and ultimate rates establish ed in
             paragraph A: a shorter time period will be con sidered in the
             school's favor, a longer period against it.

                     (iii) Actions by the school to address bar passage,
             part icularly the school's academic rigor and the demonstrated
             value and effectiveness of the school's academic support and bar
             preparation progr ams: value-added, effective, sustained a nd
             pervasive actions to address bar passage problems will be
             considered in the school's favor; ineffective or only marginally
             effective programs or limited action by the school against it.

                    (iv)   Efforts by the school to facilitate bar passage for its
             graduates who did not p ass t he bar on prior attempts: effective
             a nd sustained efforts by the school will be considered in the
             school's favor; ineffective or limited efforts by the school again st
             it.

                   (v)    Efforts by t he school to provide broader access to
             legal education while maintaining academic rigor: sustained
             meaningful efforts will be viewed in the school's favor ;
             intermittent or limited efforts against it.

                    (vi)  The demonstrated likelihood t h at the sch ool's
             students who t ran sfer to other ABA-approved schools will pass
             the bar examin ation: transfers by stu dents with a strong
             likelihood of passing the bar will be considered in t he school's
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             favor , providing the school h as undertaken counseling and other
             appropriate efforts to retain its well-performing students.

                    (vii) Temporary circumstances beyond the control of the
             school, but which the school is addressing: for exa mple, a
             natural disaster that disrupts the school's operations or a
             significant increase in the standard for passing the relevant bar
             examination(s).

                   (viii) Other factors, consistent with a school's
             demonstrated and sustained mission, which the school considers
             relevant in explaining its deficient bar passage results and in
             explaining the school's efforts to improve them.

             u.     Admission of Qualified Students

       ABA Standard 501 (b) states: "(a] law school shall not a dmit applicants who

do not appear capable of satisfactorily completing its educational program and

being admitted to the bar." Importantly, Interpretation 501-4 states:

             A law school may not permit financial considerations
             detrimentally to affect its admission and r etention policies and
             their a dministration. A law school may face a conflict of interest
             whenever the exercise of sound judgment in the application of
             admission policies or academic standards and retention policies
             might reduce enrollment below the level necessary to support
             the program.

       F.    Title IV Reporting and Certification Requirements

       In order to maintain its eligibility to receive Title IV funding, a for-profit

educational institution that participates in a ny Title IV program must provide the

ED with an annual compliance audit of its administration of Title IV programs, and

an a udit of the institution's financial statements, prepared by independent auditors.

20 U.S.C. § 1094(c)(1)(A); 34 C.F.R. §§ 668.23 (a)(2) & (a)(4). For-profit educational

institutions, such as the InfiLaw Schools, must conduct their annual financial
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statements and complia nce audits in accorda nce with t he ED Office of Inspector

General's Audit Guide. The ED uses t he results of t h e compliance and financial

audits to determine whether schools are adhering to applicable r equirements for

Title IV fundin g, including t he 90/10 requ:ll·ement. As part of t h e a nnual audits, t he

Infi.Law Schools were required to certify, in the form of written "Required

Management Assertions," that, among other t hings, it complies with t he

requirements for eligibility to participate in Title IV programs.

      After a school becomes eligible to receive Title IV funding by entering into a

PPA, claims for payment of t hose funds can be m a de in variou s ways. Under FDLP,

for example, students submit requ ests for funding directly to the ED, or to t he ED

with the assistance of schools. Under the FFELP, students and sch ools jointly

submit requests to private lender s for loans t hat are t h en guaranteed by state

agencies and ar e, in t urn, insured by the ED and paid in the event of a defa ult .

       With respect to all Title IV, HEA progr a ms, the disbursement of federal

funds rests on required statements of eligibility made by sch ools that are necessary

for requests for payment to be considered. A student cannot be eligible to receive

Title IV funding unless he or she is enrolled in a sch ool that is ineligible to receive

Title IV funding.

       34 C.F.R. § 600.40 sets forth the criteria, process and consequences for an

institut ion's loss of Tit le IV eligibility. An education institution loses eligibility to

pa rticipate in Title IV progra ms on the date that the institution fails to meet a ny of

the eligibility requirements set forth in Part 600 of Title 34 of th e Code of Federal
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Regulations. 34 C.F.R. § 600.40 (a)(1). An institution must not ify t he Secretary (ED)

within 30 days of the date t hat it ceases to satisfy a r equirement for eligibility.

       By entering into a Program Participation Agreement with t he ED, each of the

InfiLaw Schools agreed to act as a fiduciary. 34 C. F.R. § 668.82. Specifically, "A

participating instit ution or a t hird-party servicer that cont r acts with that

institution acts in the nature of a fiduciary in t he administration of the Title IV,

HEA progr ams. To participate in any Title IV, HEA program, the institution or

servicer must at all t imes act with the competency and integrity necessary to

qualify as a fiduciary." 34 C. F.R. § 668.82(a). "A par ticipating instit ution is subject

to the highest standard of care and diligence in administering the programs and in

accounting to t he Secretary for the funds received under those programs." 34 C.F.R.

§ 668.82(b)(1).

      The Program Par ticipation Agree ments t h at were agreed to by t he InfiLaw

Schools required the schools to certify that, among other things, the schools would

comply with th e program statutes, regulations, and policies governing the feder al

student aid programs.

      The InfiLaw Schools also explicitly certified in their program participation

agreements that they would comply with Title VI of t he Civil Rights Act of 1964, as

a mended, and Title IX of the Education Amendments of 1972. These feder al

statutes prohibit discrimination on the basis of race, color, national origin, or sex.

      E ach time a Title IV institution disburses or "draws down" Title IV funding,

it must certify its complia nce with Title IV r egulations.
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       Both the Title IV regulations and ABA Standards prohibit the InfiLaw

Schools from publishing any false or misleading information regarding t heir

programs.

                              DEFENDANTS' MISCONDUCT

       The InfiLaw Schools, under the direction and control of InfiLaw and Sterling

Partners, submitted or caused to be submitted false claims for Title IV funding and

false statements that were material to the federal student aid funds that were

disbursed to, or on behalf of, the InfiLaw Schools' students.

       The InfiLaw Schools, with the assistance of t he other Defendants, h ave

violated the False Claims Act by creating programs and schemes that were designed

to ma nipulate and falsify the information t hat the InfiLaw Schools are required to

r eport to the ABA, ED, and prospective and current students.

       The false information submitted by t he Infi.Law Schools includes false 90/10

Rule data, bar passage rates, and graduate employment data.

       These false statements were knowing and material to the InfiLaw Schools'

eligibility to participate in Title IV progr ams.

       In a ddition to the factually false claims and material statements ma de by t he

InfiLaw Schools, the InfiLaw Schools also expressly and impliedly certified that

they were in compliance wit h the conditions set forth in t heir Program Participation

Agreements, the federal regulations governing the Title IV program, a nd t he

accreditation standards promulgated by the ABA. These cer tifications wer e

knowingly false.
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       The United States disbursed or guaranteed over $865 million in students

loans for approximately 16,000 students that attended the InfiLaw Schools from

2010 through the third quarter of the 2014-2015 school year. The InfiLaw schools

disbursed the majority of t his money to themselves in the form of tuition revenue.

The amounts paid on behalf of students at each of t he InfiLaw Schools by year and

federal progra m are set forth in Exhibit A.

      A.     InfiLaw' s Business Model Relies upon Fraud and Deceit to
             Retain Its Title IV Eligibility

       To satisfy InfiLaw's profit goals, the InfiLaw Schools a dmitted as many

students as possible, without regard as to whether those students could become

practicing attorneys. This lack of meaningful admission standards r equired t he

Infi.Law Schools to en gage in schemes to knowingly manipulate the Title IV

revenue, bar passage a nd graduate placement data that the Schools were required

to report in order to remain enrolled in the Title IV progr a m.

      ABA Standard 501 (b) states: "[a] law school shall not admit applicants who

do not appear capable of satisfactorily completing its educational program a nd

being admitted to t he bar." Importantly, Interpretation 501-4 states:

             A law school may not permit financial considerations
             detrimentally to affect its admission and retention policies a nd
             their administration. A law school may face a conflict of interest
             whenever t he exercise of sound judgment in the application of
             admission policies or academic standards a nd retention policies
             might r educe enrollment below the level necessary to support
             the program.

      The Infi.Law Schools are all accredited by the ABA a nd accreditation 1s


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required for the schools to be eligible to participate in t he Title IV Programs. Many

States also require t hat prospective lawyers graduate from AHA-accredited law

schools before taking the state's bar exam or obtaining a license to practice law as

an attorney of that state.

      Admission to law school is typically selective in that t here are more

applications by prospective students than available seats and that students must

display a level of academic skill that will allow them to complete t he rigorous law

school curriculum, pass a bar exam, and competently represent clients as practicing

attorneys.

      The Infi.Law Schools knowingly admit students that do not appear capable of

satisfactorily completing its educational program and being admitted to the bar.

The Infi.Law Schools, at the direction of InfiLaw, have allowed financial interests to

detrimentally affect its a dmission, r etention policies and law school a dministration.

      Students admitted to AHA-accredited law schools must complete an

assessment test prior to applying for admission that gauges the student's attitude

for legal study and ability to provide competent legal services as a n attorney. The

test used by virtually every AHA-accredited law school is the Law School Admission

Test or LSAT. Prospective law students that take the LSAT are given a score that

ranges from 120 to 180 and scor es fi·om each test administration are curved to

account for test-to-test variation in difficulty. The media n LSAT score is between a

151 and 152, me aning that 50% of students scored 152 and above while

approximately 50% score 151 or below. An LSAT score of 140 corresponds to the
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13.4 percentile, meaning that only 13.4% of test takers scored 140 or below. An

LSAT score of 135 corresponds to approximately the bottom 5% of a ll test taker s.

        LSAT scores are highly correlated with bar passage. At least one analysis

concluded that students t hat score below 144 on the LSAT have less than a 25%

chance of passing a bar exam on their first try.

        The InfiLaw Schools knowingly recruit and admit students that do not have a

reasonable chance of academic and professional success in the legal profession. For

example, at Florida Coastal, the LSAT scores for the 75th, 50th, and 25th

percentiles of students starting law school in 2014, were 147, 143, and 140,

respectively. This means t hat 25% of Florida Coastal's starting class, 106 students,

was in the bottom 13.7% of all LSAT takers. The median undergraduate GPA for

Florida Coastal's 2014 starting class was 2.93.

        In 2014, t he InfiLaw Schools enrolled more than 283 students that did not

score better than t he bottom 13.7% of all LSAT takers and 25% of Ch arlotte Law's

entering class were in the bottom 10% of LSAT scores. More than 50% of t he 1,132

students that InfiLaw enrolled in 2014 h ad a n undergraduate GPA of less t han

2.94.

        In comparison, looking at every medical sch ool in the United States, only 5

applicants nationwide were accepted to any medical school with Medical College

Admission Test (MCAT) scores in the bottom 13% percentile a nd an undergraduate

GPA     below   a   3.0   for   th e   academic    years   2012-2014,   combined.    See

https://www.aamc.or g/download/          321508/data/factstable24.pdf      (aggregating
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admissions data from accredited M.D. programs).

         Overall, only 35% of InfiLaw's 2013 gTaduates found perma nent full-time jobs

that required a law license. To compound the lack of quality job prospects, the

median federal student loan debts for graduates of the Infi.Law Schools was

$184,792, $174,844, and $159,208 for Summit Law, Florida Coastal, and Charlotte

Law, respectively. These amounts do not include private or undergraduate student

loans.

         Infi.Law and the InfiLaw Schools knew that admitting unqua lified students

would put their ABA accreditation a nd Title IV eligibility at risk due to low

graduate employment and bar passage rates. Yet, instead of not admitting these

students, which would decrease InfiLaw's revenue, the InfiLaw Schools, at the

direction of Infi.Law, have instead opted to continue admitting unqualified students

and engage in a widespread scheme to manipulate and conceal the negative data

that would otherwise be generated by these unscrupulous practices. Without this

manipulation, the InfiLaw Schools would not be able to maintain ABA accreditation

a nd Title IV eligibility.

         B.    The InfiLaw "Trap"

         The InfiLaw "System" h as directed its schools to operate as a taxpayer-

funded trap for unwitting students. The Dea n of Summit Law has even referred to

"building a better mousetrap" when addressing the faculty about ways to keep




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students at the school. 1 This trap      IS   baited with the demonstrably false

representation t hat a legal education from t he InfiLaw Schools, financed with

hundreds of thousands of dollars in non-dischargeable student loan debt, is an

economically-sound decision. This illusion is purposefully manufactured and

maintained by various InfiLaw initiatives that are designed to deceive the next

ge neration of potential students, as well as the ABA and ED.

       First, the InfiLaw Schools spend a disproportionate amount of their students'

tuition on marketing and recruitment efforts designed to solicit potential students.

This includes employing admissions representatives t hat sell pote ntial students on

applying to the Infi.Law Schools and special admission programs designed to

identify a nd admit students that would not be admitte d to any other ABA-

accredited law schools. One such marketing program is InfiLaw's Alternative

Admissions Model Program for Legal Education (AAMPLE) Progr am. AAMPLE is a

"conditional a dmit" program that is typically targeted at recruiting students who

score poorly on the LSAT. AAMPLE's st ated purpose is "to provide a path of

admission to InfiLaw schools for individuals whose academic indicators (i.e., LSAT

scores, GPAs), may not reflect their potential to succeed in law school." AAMPLE

consists of a 6-7 week program of two classes, which is promoted as giving students

an introduction to law school while providing an alternate mode of entry into t he

Inf:i.Law Sch ools for students with exceptionally low LSAT and GPA scores. The


1 This idiom generally refers to improving upon a commonly-used device, but was
used by Dean Shirley Mays to literally convey the intent of trapping students at
Summit Law.
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program costs $500 and can either be taken online or at the InfiLaw Schools'

campuses. InfiLaw paid for the creation of a separate website, also known as a

landing page, www.lawcareernow.com , as a means of recruiting students into the

AAMPLE Program.

       Second, from the outset, InfiLaw begins collecting data on its students with

t he goal of predicting which students are likely to fail th e bar exam. This includes

data generated by the AAMPLE Program, MBE Assessmen t tests administered by

Kapla n, students' law school grades, LSAT scores, and data from the internal bar

preparation courses administered by Barbri. This data is used by InfiLaw's

statistician s to generate Excel spreadsh eets that calculate th e probability that a

student will fail the bar exam. Students' sex a nd race are used as quantitative

factors to identify studen ts at risk of failing t he bar in t he statistical "models"

employed by the InfiLaw Schools.

      Thir d, InfiLaw attempts to keep t he students enrolled in th e InfiLaw Schools

even after it becomes apparent that t he students are unlikely to pass t he bar or be

able benefit from a legal education. Students that h ave less than a 2.5 law sch ool

GPA, or even students with less than a 2.0 GPA, are allowed to continue taking

courses-even though the InfiLaw schools own internal grading systems indicate

the students are poor-performing and likely to fail the bar. This insures t hat

InfiLaw can continue collecting Title IV money for these students. At t he same

t ime, t h e InfiLaw Schools h ave implemented policies designed to undermine high

performing students' attempts to transfer to better law schools.
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      Fourth, near the end of their legal educations, InfiLaw students are forced to

enroll in InfiLaw's internal bar exam programs that are designed to further identify

students that are at risk of failing the bar and to artificially and illegally

manufacture non-Title IV 90/10 Revenue for the InfiLaw Schools.

      Last, the schools actively try to prevent students at risk of failing the bar

from taking a bar exam until those students no longer need to be reported as part of

the schools' bar passage rates or will take a later exam that has a historically lower

passage rate. These students are encouraged to participate in extended bar

preparation programs that allow the InfiLaw Schools to falsely count the students

as being "employed" in full-time positions on the InfiLaw Schools' job placement

disclosures, which are required by the ABA and 34 C.F.R. § 668.

      C.     In-house Bar Preparation Courses

      Barbri and Kaplan are the two largest bar exam test preparation providers in

the United States. Both companies begin soliciting law students to sign up for their

bar exam preparation courses during the first year of law school. Students that

enroll in Barbri's or Kaplan's courses are required to pay a deposit in exchange for

"locking in" the bar exam preparation course price. Law students that sign up

earlier, i.e., during their first year, supposedly pay less in deposit than students

that sign-up later. The deposit is typically between $99 and $500. However,

students that wait to sign up can often obtain discounts or other incentives as

Barbri and Kaplan compete to provide the students' bar review courses.

      Barbri and Kaplan both hire student representatives to recruit other
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students for their bar preparation courses. These representatives are often current

law students and receive a free or discounted bar exam preparation course in

exchange for r ecruiting students. The cost of a test preparation course varies

significantly by state, but is often between $2000 and $4500 for the 6-8 week course.

       Both Barbri's a nd Kaplan's bar prep aration courses include a se ries of live or

recorded lectures, study mat erials, and practice exams. A significant portion of the

courses' cost is attributable to Barbri's a nd Kaplan's copyrighted bar preparation

books, outlines, and pract ice exams, which are tailored to each state's bar exam.

      Typically, if Barbri or Kaplan offers a bar preparation course in a par ticular

state, t hey offer live or pre-recorded lectures in a physical classroom staffed by

Barbri or Kaplan employees (th e "live" courses). The live courses are offered at

almost every ABA-accredited law school in the state or, if there are two law school

in the same city, at least on e live course in th at city. Barbri a nd Kaplan offer bar

exam preparation courses at every non-Infi.Law law school in Arizona, Florida, a nd

North Carolina.

       In 2011 or 2012, Infi.Vaw and the Infi.Law Schools approach ed Barbri and

Kaplan about creating a n internal bar exam preparation program that would be

offered at the Infi.Law Schools.

       The program, which was implemented at all three Infi.Law Schools, utilized

the written materials a nd lectures developed by Barbri and Kaplan for their bar

exam preparation courses.

       The Summit Law intern al bar preparation course is referred to as the Multi-
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Year Bar Accelerated Review or "MyBar" program.

       Florida Coastal's internal bar preparation course       IS   called the Coastal

Enhanced Bar Pass Program.

       Charlotte Law's internal bar preparation course       IS     call the Bar Exam

Advanced Review or "BEAR'' program.

      In or around 2012, InfiLaw and th e InfiLaw Schools entered into agr eements

with Barbri a nd Kapla n that provide that Barbri and Kaplan would stop offering

t h eir own courses at the InfiLaw Schools in excha nge for the InfiLaw Schools'

purchase of Barbri a nd Kaplan materials for th eir internal programs.

      The only other in-house bar preparation program offered by a law school is a

purely optional course offered by t he University of Missouri in Kansas City

(UMKC). The UMKC program was actu ally developed by t he law school, as opposed

to simply relabeling Barbri and Kapla n's materials, and only costs $600. Students

at UMKC are allowed to take Barbri and Kapla n bar preparation courses, and

neit her Barbri nor Kaplan was excluded from UMKC's campus in order to prevent

studen ts from signin g up for those competing courses.

      The agreements between InfiLaw and Barbri a nd Kaplan prohibit Barbri and

Kaplan from soliciting the InfiLaw Schools' students, setting up recruiting tables at

the InfiLaw Schools, or offering discounts to InfiLaw students .

      The student representatives at Summit Law (and t he other InfiLaw Schools),

with whom Barbri and Kaplan h ad entered into agreements to recruit oth er

students in exch ange for a free bar preparations courses, were converted into
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InfiLaw internal bar review student representatives.

       Attempting to sign up for a "live" Barbri or Kaplan bar preparation course

through their websites directs students to Barbri or Kaplan employees that, by

agreement with InfiLaw, direct the students back to t he InfiLaw Schools' internal

bar preparation courses. For example, on t h e Barbri website, students from the

InfiLaw Schools who are attempting to inquire about a bar preparation course are

told to contact Karen Hundley, who is actually a Vice President at Barbri. Ms.

Hundley is not a Barbri representative for any other law schools and instead

redirects the students back to the InfiLaw internal bar review programs. InfiLaw's

agreements with Barbri and Kaplan illegally fixed the price of t he "live" bar

preparation courses offered to Summit Law students, eliminated competition from

Barbri and Kaplan, and resulted in large payments from InfiLaw to Barbri and

Kaplan to ensure that the InfiLaw Schools' in-house bar review courses were the

only option available to the InfiLaw students.

       As a nother example, th ere was a student that graduated from Summit Law

and then enrolled in a master's program at the Sorbonne in Paris, France. After

completing the master's program, the student attempted to take a bar review course

provided by BarBri to prepare for the New York bar exam. BarBri informed the

individual that the only way the student could take BarBri's preparation course was

to enroll in Summit Law's internal bar preparation course in Phoenix, Arizona.

       Although the InfiLaw Schools' bar preparation courses were touted as a n

honest attempt to increase the InfiLaw Schools' bar passage ra tes and as an
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"individualized bar preparation progra m designed specifically for [Summit Law

students]" that "comprises the best features of Barbri and Kaplan," one of the

primary reasons that InfiLaw created the program was to inflate the portion of

revenue at the InfiLaw Schools that could be counted as non-Title IV or "10"

revenue. Prior to the creation of the MyBar program, the InfiLaw Schools, and in

particular Summit Law, were in danger of violating the 90/10 Rule because the vast

majority of their revenue was paid from Title IV sources.

       For 2010-2012, the InfiLaw Schools were all within 5 percentage points of

violating t he 90/10 rule . As a n example, for the 2010-2011 academic year, Summit

Law reported receiving 87.94 percent of its qualifying revenue from Title IV sources.

       The falsely reported 90/10 Rule data, which the InfiLaw Schools submitted at

the end of each year to the ED, and which the ED is required by statute to report to

Congress, is set forth in Exhibit B her eto. The InfiLaw Schools began reporting

false 90/10 Rule data at least by 2012, when the internal bar preparation course

was first launched.

      Another primary reason for the development of its internal bar revww

programs is so that InfiLaw could gather data on and identify students that were

unlikely to pass the bar exam. The goal of identifying students who were at high

risk of failing the bar exam was to persuade the students to delay or forgo the bar

exam a nd, thereby, falsely inflate the InfiLaw Schools' bar passage and employment

rates as set forth in greater detail below.

       Barbri and Kaplan entered into agreements with InfiLaw in connection with
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the InfiLaw Schools' internal bar exam programs knowing full well that one of the

purposes of the program was to inflate and falsify the Schools' non-Title IV revenue

to avoid having t he schools become automatically ineligible for Title IV funding.

       In order to immediately begin recognizing the money paid by the InfiLaw

Schools' students as non-Title IV revenue, the InfiLaw and the InfiLaw Schools ,

with assistance from Barbri and Kaplan, concocted a plan to make the students who

had already paid deposits or tuition to Barbri or Kaplan switch their enrollment to

the InfiLaw bar preparation programs for the July 2012 through July 2013 bar

exams. InfiLaw required students to make payments to the InfiLaw schools instead

of Barbri or Kaplan, and improperly counted this income as non-Title IV income in

their 90/10 calculations for 2012 through the present.

      The purpose of the internal bar review programs was to knowingly misstate

the InfiLaw Schools' 90/10 revenue calculation. For example, on September 15,

2011, the Dean of Summit Law (then called the Phoenix School of Law) informed

the Director of Academic Services at Summit Law t h at Defendant InfiLaw had

"tasked" Summit Law with "operating our own bar prep course as a real solution for

90/10." The Dean further described "this important initiative for our 90/10" as a

"top, top priority for both the school and the consortium." The Dean also insisted

that this "90/10 program" begin in December 2011 for those taking the February

2012 bar exam. After the Summit Law Director of Academic Services raised ethical

objections to forcing students to use an internal bar preparation course, Summit

Law terminated the Director's employment.
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      The $2500 each student paid to Summit Law for the MyBar course was

entirely for the use of the same Barbri materials and lectures that were used for

Barbri courses offered at the other law schools in Arizona. On information and

belief, the same materials used for the internal bar preparation courses at the other

InfiLaw Schools were merely Barbri and Kaplan materials used at other law schools

in those states that h a d been r elabeled for InfiLaw's internal review program.

      In addition to the anti-competitive and sham nature of the internal bar

preparation course revenue, the entire amount of the internal bar preparation

course fees paid to the InfiLaw Schools was really for "books and materials"

provided by Barbri and/or Kaplan. As a result, the InfiLaw Schools were prohibited

from counting this money as non-Title IV 90/10 revenue since this amount was not

included or disclosed as tuition, fees , or other institutional charges. 34 C.F.R. §

668.28(a)(7)(v).

      InfiLaw and the InfiLaw Schools' arrangements with Barbri and Kaplan

included agreements that prohibit Barbri and Kaplan from engaging in the

recruitment activities that Barbri and Kaplan engage in on other law school

campuses. This includes prohibitions against hosting informational sessions or

setting up recruitment "tables" on campus, sending emails to students regarding

Barbri and Kaplan's bar preparation programs, offering tuition assistance and

discounts to students or otherwise competing with InfiLaw in pricing or advertising

to InfiLaw Students for bar preparation courses.

      InfiLaw, the InfiLaw Schools, Barbri and Kaplan conspired to manipulate
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and falsify the InfiLaw Schools' 90/10 Rule data by entering into an illegal price

fixing and anti-competitive arrangement that limited students' ability to choose

between multiple competing live bar preparation programs, as well as eliminating

discounts and other incentives that would typically be offered to students by Barbri

and Kaplan. Specifically, the InfiLaw Schools' non-Title IV revenue was inflated by

approximately $2500 for each graduate that took the internal bar preparation

program.

      By requiring its graduates to take the InfiLaw Schools' internal bar review

course and actively preventing the students from purchasing other bar preparation

courses, the InfiLaw Schools reported false information to the ED and prospective

students r egarding the InfiLaw Schools' institutional charges. A Policy Bulletin

issued by the ED on January 7, 1999, states that all tuition, fee s, room and board,

and other charges an institution assesses a student are institutional costs, unless

demonstrated otherwise. Specifically, the ED guidance states that

      expenses for required course materials are institutional costs, if the
      student does not have a real and reasonable opportunity to purchase
      the required course materials from any place but the institution he or
      she is attending.

      ***

      If an institution wishes to classify the cost of required course materials
      as non-institutional costs, it must be able to substantiate that: 1) the
      required course materials were available for purchase at a relatively
      convenient location unaffiliated with the school; and 2) the institution
      made financial aid funds available to students in a timely manner, so
      its students could exercise the option to purchase the required course
      materials from alternative sources.


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       Fraudulently omitting the cost of the internal bar preparation courses from

the InfiLaw Schools' institutional charges resulted in inaccurate information being

submitted on every single student's Title IV student aid application. This adversely

affected students that were forced to take out private loans to complete the internal

bar preparation cour ses, and misstated the cost of attending the InfiLaw Schools.

       D.    Extended Bar Review Program

       In 2013, InfiLaw and the InfiLaw Schools developed an extended bar

preparation course t h at was designed to delay the bar exam for students t h at were

identified as being at high risk for failing th e bar. The InfiLaw Schools named t his

program the Unlock Potential or "UP" Program.

       The UP Program, which is provided in addition to the schools' internal bar

preparation course, is an extended, 6-month bar preparation program. During the

six-month UP Program, students are paid a monthly stipend of $1200 for living

expenses a nd placed in a part-time (20 hours per week), short-term, low-pay job.

Both the stipe nd and hourly pay are funded by the Infi.Law Schools.

       Even though the UP Program paid a stipend to the students, the InfiLaw

Schools still required students to pay t he $2500 bar review preparation course fee

so that the sch ools could falsely include t he fee as non-Title IV revenue while also

counting the UP Program stipend as institutional aid in t heir 90/10 calculation.

       Beginning in t he first year of law school, the InfiLaw Schools begin gathering

extensive data on students' academic performance. Specifically, InfiLaw began

administering Multi-State Bar Exam (MBE) questions to students as part of
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assessments t hat begin in the students' first year of law school. The InfiLaw Schools

use the data collected on their students, including the students' undergraduate

GPA, LSAT score and law school GPA to calculate the probability that a given

student will fail the bar exam.

      Based on the data collected on the law students, the InfiLaw Schools then

identify and recruit students that are considered likely to fail the bar exam for the

UP Progra m.

      Although technically any InfiLaw student could apply for the UP Program,

only those that are identified as being at high risk for failing the bar or were at risk

of being counted as unemployed were actually accepted into the UP Program.

      The UP Program was intentionally designed to, and h as, artificially inflated

the employment statistics reported by the InfiLaw Schools to the ABA, ED, and

prospective students.

      For example, Summit Law identified targeted and enrolled students at high

risk of bar failure to delay the July 2014 bar exam through participation in the UP

Program. These students did not sit for a bar exam in 2014, which artificially

inflated Summit Law's first-time taker bar passage rate for 2014.

      Another purpose of the UP Program is to identify students that are unlikely

to pass the bar and incentivize them to delay taking a bar exam or dissuade them

from ever taking the bar exam . In eit her case, the InfiLaw Schools h ave

manipulated and falsified their bar passage data , which is used by the ABA in

evaluating whether to continue accrediting the law schools.
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       The InfiLaw Schools knowingly misreported the employment status of the

students participa ting in the UP Program. Specifically, the InfiLaw Schools, at the

direction of InfiLaw, mischaracterized the UP Program participants as being

employed in full-time "bar p assage required" or "J.D . Advantage" positions. This

characterization of the UP Program participants' employment status is false

because the InfiLaw-funded positions provided to t h e students during the UP

Program were part-time (less t han 35 hours per week) and short-term (less than 1

year). Furthermore, it is false and misleading to count students whose primary "job"

is to continue studying for the bar as "employed." Last, the part-time (20 hours per

week) positions that were provided to students in the UP Program did not meet the

ABA definitions of"bar passage required" or "J.D. Advantage" positions.

        For example, for its 2013 and 2014 ABA employment reports, Summit Law

listed 7 (6 "bar passage required" a nd 1 "J.D. advantage" position) graduates as

employed in full-time, long-term positions funded by the law school and 26 (25 "J.D.

advantage" and 1 "bar passage required" positions) graduates employed in full-time,

short-term positions. Summit Law reported no graduates as having part-time

positions funded by the law school, which is the most generous characterization of

the UP Program participants allowed by the ABA regulations. The UP Program

participants were falsely classified as having full-time, long-term positions.

       Florida Coastal listed zero graduates employed in part-time positions funded

by the law school in its 2013 and 2014 ABA disclosures. The UP Program

participants were falsely classified in other categories .
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       Charlotte Law listed zero graduates employed in part-time positions funded

by the law school in its 2014 ABA disclosure. The UP Program participants were

falsely classified in oth er categories.

       E.     Summit Law Falsely Reported Its Bar Passage Numbers to the
              ABA
       ABA Standard 301 for the 2013-2014 ABA Standards and Rules of

Procedures (now ABA Standard 316) requires that accredited law schools prepare

students for admission to t he bar. Interpretation 301-6 states that a school may

satisfy Standard 301 by either (1) having 75% of its graduates fl.'Om the last five

years pass the bar exam that year, (2) in at least 3 of the last 5 years, h aving 75

percent of t he students graduating in those years and sitting for a bar exam pass

the exam, or (3) in 3 of the last 5 years, h aving a first-time bar passage rate that is

no more than 15 percentage points below the average first-time passage rates for

graduates of ABA-approved schools taking the exam in the same jurisdiction. For

options 1 and 2, the school must report bar passage results for as many jurisdictions

as necessary to account for at least 70% of its graduates each year, starting with t he

jurisdiction in which the highest number of graduates took the bar exam and

proceeding in descending order of frequency. For option 3, the school must report

first-time bar passage data

              from as many jurisdictions as necessary to account for at least
              70 percent of its graduates each year, starting with the
              jurisdiction in which the highest number of graduates took the
              bar exam and proceeding in descending order of frequency. When
              more than one jurisdiction is reported, the weighted average of
              the results in each of the reported jurisdictions shall be used to
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             determine compliance.

ABA Standards and Rules of Procedure for Approval of Law Schools 2013-2014,
Interpretation 301-6, available at http://www.americanbar.org/content/dam/aba/
publications/mise/legal education/Standards/2013 2014 standards chapter3.authc
heckdam.pdf (emphasis a dded).

      Similarly, Appendix 3: Guidance on Interpretation 301-6 from the ABA

reiterates that:

      The school must account for a minimum of 70% of first-time takers in each of
      the five most recently completed calendar years. It does this by starting with
      the jurisdiction in which the largest number of its graduates sit for the bar
      for the first time and proceeding in descending order of frequency until a
      minimum of 70% of first-time takers in each calendar year is accounted for .

Id. ,  available   at    http://www.americanbar.org/content/dam/abalpublications/
mise/legal education/Standards/2013 2014 standards appendix3 301 6.authcheck
dam.pdf (emphasis a dded) .

      For its 2014 ABA Standard 509 report, Summit Law reported that it had 299

fiTst-time bar takers, and disclosed its average school pass rate as 69.09% for a

sample comprised of 73.58% these students. This rate included g1·aduates taking the

February and July 2013 bar exam in Arizona (207 takers), Texas (5), Washington

(5), New Mexico (2) and Wisconsin (1). This rate was reported as 9.54% below other

first time takers from ABA-accredited law schools in those states.

      Summit Law knowingly misreported its bar passage data for the February

and July 2013 bar exams by failing to include bar passage data from California. For

the February and July 2013 California bar exams, 12 of 27 (44.4%) first-time takers

and 1 of 11 (9.1 %) repeat takers from Summit Law passed the California bar exam.

The overall passage rate on the 2013 California bar exams for first-time takers from


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ABA-accredited law schools was 71.09%. Had Summit Law followed t he

methodology required by the ABA and included California as t he jurisdiction with

the next largest population of bar exam takers, it would have reported a first-time

taker bar p assage rate of 67.09% and that its students passed at a rate 10.31% less

than first-time t akers from other AHA-accredited schools.

         For the February and July 2014 California bar exams, t here were 23 first

time takers from Summit Law. None of these students p asse d the bar. For t he

February and July 2014 Arizona bar, Summit Law ha d 131 of 239 or 54.8% of first-

time takers pass the exam compared with a 73.8% passage rate for all ABA

accredited first-time takers. These dismal bar passage rates, which fall below ABA

requirements and threaten the schools' accreditation, indicate why Summit Law

and the other InfiLaw Sch ools have resorted to manipulating t heir bar passage

rates.

         F.    Bar Passage Assurance Programs

         In a ddition to the mandatory internal bar preparation courses and UP

Progra m, InfiLaw and the InfiLaw Schools offer a "bar passage assurance" program

that provides students with a $10,000 payment if they complete both the internal

bar preparation course, UP Program, and still fail t he bar twice.

         The conditions for the $10,000 Bar Passage Assurance-i.e., failing the bar

twice, completing the intern al bar prep aration course, and completing the UP

Program-are activities that occur after students graduate (and are no longer

enrolled) in the InfiLaw Schools. The internal bar preparation course a nd UP
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Programs are not licensed by the InfiLaw Schools' states as higher education

progr a ms . As a result, it is contr ary to t he Title IV regulations and ED guidance to

count the Bar P assage Assura nce payment as institu tional aid or fail to deduct the

UP Program payments or Bar P assage Assura nce payments as refunds for the

inter nal bar preparation course fee .

       G.    The Combined Effect on lnfiLa w's 90/10 Rule Calculation

       InfiLaw and t he InfiLaw Schools created and implemente d the internal bar

preparation course and UP program with t he express goal of materially falsifying

t he Schools' 90/10 Rule calculation. The effect on th e 90/10 Rule data was

magnifie d, wit hout impacting InfiLaw's profits, because the Sch ools reduced the

"90" (Title IV revenue) by amounts it p aid to students t hrough the UP and Bar

P assage Assurance Programs while also inflating t he "10" (non-Title IV revenue) by

t he amounts it collected for the internal bar review courses and AAMPLE

Progr ams. This manipulation was material in t h at the InfiLaw Schools would h ave

been ineligible to r eceive Title IV funding h a d t he government known about t he

intentional falsification of the 90/10 Rule data each sch ool is required to provide

annually to t he ED.

      COUNT 1: PRESENTMENT OF CLAIMS IN VIOLATION OF THE
        FEDERAL FALSE CLAIMS ACT (31 U.S. C. § 3729(a)(1)(A))

       Relators re-a llege and incorporate by referen ce t h e allegation s contained in

all previous paragraphs as if fully st ated in t his Count.




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       This is a claim for treble da mages and civil penalties under t he False Claims

Act, 31 U.S.C. § 3729(a)(1)(A).

       By virtue of the acts described above, Defendan ts knowingly presented or

caused to be presented to the United States Government fa lse or fraudulent claims.

       Such claims were false or fraudulen t because the Defenda nts falsely

submitted, or caused to be submitted, claims for Title IV funding that were not

eligible for payment under the federal regulations governing the Title IV Programs.

The United States, unaware of the falsity of the claims made by the Defendants,

paid Defendants for claims that would otherwise not have been allowed.

       By knowingly failing to comply with requirements upon which payment was

con tin gent, each claim presented or caused to be presented by Defendants was false.

As a result of these false claims, the United States paid over $533 million in federal

student aid funding during t h e 2012-2013, 2013-2014, and 2014-2015 school years.

       By knowingly, willfully or reckle ssly presenting, or causing other to present,

false claims for payment to the United States, Defendants h ave defr auded t he

United Stat es in contravention of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A), to

the damage of the treasury of the United States of America, by causing th e United

States to pay out money that it was not obligated to pay. In carrying out these

wrongful acts, Defendant h as en gaged in a protracted course and pattern of

fraudulent conduct that was m a terial to the United States' decision to pay these

false claims.



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      As a direct a nd proximate result of Defendants' fraudulent and/or illegal

actions a nd pattern of fraudulent conduct, the United States has paid directly or

indirectly thousands of false claims that it would not otherwise have paid.

      Damages to the United States include, but are not limited to, three times the

full value of all such fraudulent claims.

      Each and every such fraudulent claim is also subject to a civil fine under the

False Claims Act of five thousand five hundred to eleven thousand dollars

($5,500- $11,000).

   COUNT II: FALSE STATEMENTS IN VIOLATION OF THE FEDERAL
             FALSE CLAIMS ACT (31 U.S.C. § 3729(a)(1)(B))

      2.     Relators re-allege and incorporate by reference t he allegations

contained in all previous paragraphs as if fully stated in this Count.

      This is a claim for treble damages a nd civil penalties under the False Claims

Act, 31 U.S.C. § 3729(a)(1)(B).

      By virtue of the acts described above, Defendant made, used, and caused to

be made and used, false records and statements that were material a nd caused or

contributed to improper payments of federal funding to Defendants. Specifically,

Defendants knowingly expressly and impliedly made false statements and

certifications to the ABA, ED, and prospective students that were material to the

InfiLaw Schools' Title IV eligibility, which is a condition of payment for the Title IV

aid disbursed to the students attending the InfiLaw Schools.




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       The United States, unaware of the falsity of the records, statements, a nd

certifications paid for claims that would otherwise not have been allowed.

       By knowingly, willfully or recklessly making, or causing oth ers to make, false

statements and certifications material to the United States' decision to pay on false

claims, Defendants have defra uded the United States in contravention of the False

Claims Act, 31 U.S.C. § 3729(a)(1)(B), to the damage of the treasury of the United

States of America, by causing the United States to pay out money that it was not

obligated to pay. In carrying out these wrongful acts, Defendants have engaged in a

protracted course a nd pattern of fraudulent conduct that was material to the United

States' decision to pay these false claims.

      As a direct a nd proximate result of Defendants' fraudulent and/or illegal

actions and pattern of fraudulent conduct, the United States has paid directly or

indirectly false claims that it would not otherwise have paid.

       Damages to the United States include, but are not limited to, three times the

full value of all such fraudulent claims.

       Each and every such fraudulent claim is also subj ect to a civil fine under the

False Claims Act of five thousand five hundred to eleven thousand dollars

($5,500- $11,000).

        COUNT III: RETENTION OF OVERPAYMENTS IN VIOLATION OF
         THE FEDERAL FALSE CLAIMS ACT (31 U.S.C. § 3729(a)(l)(G))

       Relators re-a llege and incorporate by reference the allegations contained in

all previous paragraphs as if fully stated in this Count.


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      This is a claim for treble damages and civil penalties under th e False Claims

Act, 31 U.S.C. § 3729(a)(1)(G).

      By virtue of the acts described above, Defendants have knowingly concealed

and/or knowingly and improperly avoided an obligation to transmit money to the

federal government. Specifically, Defendants knew or should h ave known that they

received millions of dollars in payments from TRICARE for claims that were

prohibited by the Anti-Kickback Statute.

      Once known, even if the improper payments were not fixed or clearly defined,

Defendants had an obligation to remit or report such funds to the government

within sixty (60) days. Defendants have not reported or returned the improper

payments described h erein.

      By knowingly concealing and/or knowingly and improperly avoiding its

obligation to transmit money r ecovered to the federal government, Defendants have

defra uded th e United States in contravention of the False Claims Act, 31 U.S.C. §

3729(a)(1)(G), to the damage of t he t reasury of the United States of America, by

causing the United States to be deprived of funds that rightfully belong to the

government.

      As a direct a nd proximate result of Defendants' fraudulen t a nd/or illegal

actions and fraudulent conduct, the United States has been deprived of funds to

which it is lawfully entitled and which wer e improperly paid to Defenda nts.

      Damages to the United States include, but are not limited to, three times the

full value of all such fraudulent claims.
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      Each and every such fraudulent claim is also subject to a civil fine under the

False Claims Act of five-thousand five-hundred to eleven-thousand dollars ($5,500 -

$11,000).

     COUNT IV: CONSPIRACY TO VIOLATE THE FALSE CLAIMS ACT
                     (31 U.S.C. § 3729 (a)(l)(C))

      Relators r e-allege and incorporate by refere nce the allegations contained in

all previous paragraphs as if fully stated in this Count.

      This is a claim for treble damages and civil penalties under the False Claims

Act, 31 U.S.C. § 3729 (a)(1)(C), as amended.

      By virtue of the acts described above, Defendants have knowingly conspired

to violate 31 U.S. C. § 3729(a)(1)(A), § 3729(a)(1)(B), a nd§ 3729(a)(1)(G).

      Specifically, InfiLaw and the InfiLaw Schools entered into agreements with

Barbri and Kaplan to manipulate and misstate t h e InfiLaw Schools' 90/10 Revenue

and bar passage rates. Barbri and Kaplan entered into t h ese agreemen ts knowing

th at the purpose a nd effect of t h e agreements was to manipulate the 90/10 Rule

data to r etain Title IV eligibility in violation of 31 U.S.C. § 3729(a)(1)(A), §

3729(a)(1)(B), a nd § 3729(a)(1)(G).

      Defendants knowingly, recklessly, or with deliberate indifference agreed to

perpetuate a fraudulent scheme to obtain and retain ineligible Title IV funding in

violation of 31 U.S.C. § 3729(a)(1)(A), § 3729(a)(1)(B), and§ 3729(a)(1)(G).

      The United States paid claims that would otherwise not have been allowed as

a result of the actions taken by Defendants in furtherance of a conspiracy to violate


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31 U.S.C. § 3729(a)(1)(A), § 3729(a)(1)(B), and§ 3729(a)(1)(G).

       Defenda nts are jointly a nd severally liable for every violation of the False

Claims Act identified herein because these violations were committed in

furtherance of a scheme to violate the False Cla ims Act, which was undertaken with

the mutual agreement of each Defendant and knowledge of, or reckless indifference

toward, the scheme's illegality.

       Damages to the United States include, but are not limited to, three times the

full value of all such fraudulent claims.

       Each and every such fi·audulent claim is also subject to a civil fine under the

False Claims Act of five thousand five hundred to eleven thousand dollars ($5,500-

$11,000).

       WHEREFORE, Relators          request      that judgment    be   entered   against

Defendants, ordering that:

       a.     Defendants cease a nd desist from violating the F alse Claims Act, 31

U.S.C. § 3729, et seq.;

       b.     Defendants pay not less than $5,500 a nd not more than $11,000 for

each violation of 31 U .S.C. § 3729, plus three times the amount of damages the

United States has sustained becau se of Defenda nts' actions;

       c.     Relators are awarded the maximum amounts allowed pursuant to 31

U.S.C. § 3730(d);

       d.     Relators are awarded all costs of t his action, including attorneys' fees

and costs pursuant to 31 U.S.C. § 3730(d);
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       e.     Defendants are enjoined from concealing, removm g, encumbering or

disposing of assets which may be required to pay t h e civil monetary penalties

imposed by t he Court;

       f.     Defendants disgor ge all sums by which t hey have been enriched

unjustly by t h eir wron gful conduct;

       g.     The United States and Relators recover su ch other relief as the Court

deems just a nd proper .




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                                  JURY DEMAND

       A trial by jury is hereby demanded.


Dated: November / G o15




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                            EXHIBIT B
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                           EXHIBIT C
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Redline Comparing Relator's Complaint, Paragraphs 146–174 with Complaint in U.S. ex. rel.
 O'Connor, et al. v. Arizona Summit Law School, et al., No. 3-15-CV-1351-J-39JBT (M.D.
                                 Fla. 2015) at pp. 26–34.

          C.      In-house Bar Preparation Courses

          146.    Barbri and Kaplan are the two largest bar exam test preparation providers in the

   United States. Both companies begin soliciting law students to sign up for their bar exam

   preparation courses during the first year of law school. Students that enroll in Barbri’s or

   Kaplan’s courses are required to pay a deposit in exchange for “locking in” the bar exam

   preparation course price. Law students that sign up earlier, i.e., during their first year, supposedly

   pay less in deposit than students that sign-up later. The deposit is typically between $99 and

   $500. However, students that wait to sign up can often obtain discounts or other incentives as

   Barbri and Kaplan compete to provide the students’ bar review courses.


          147.    Barbri and Kaplan both hire student representatives to recruit other students for

   their bar preparation courses. These representatives are often current law students and receive a

   free or discounted bar exam preparation course in exchange for recruiting students. The cost of a

   test preparation course varies significantly by state, but is often between $2000 and $4500 for the

   6-8 week course.


          148.    Both Barbri’s and Kaplan’s bar preparation courses include a series of live or

   recorded lectures, study materials, and practice exams. A significant portion of the courses’ cost

   is attributable to Barbri’s and Kaplan’s copyrighted bar preparation books, outlines, and practice

   exams, which are tailored to each state’s bar exam.

          149.    Typically, if Barbri or Kaplan offers a bar preparation course in a particular state,
   they offer live or pre-recorded lectures in a physical classroom staffed by Barbri or Kaplan

   employees (the “live” courses). The live courses are offered at almost every ABA-accredited law

   school in the state or, if there are two law school in the same city, at least one live course in that

   city. Barbri and Kaplan offer bar exam preparation courses at every non-InfiLaw law school in

   Arizona, Florida, and North Carolina.
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         150.   In 2011 or 2012, InfiLaw and the InfiLaw Schools approached Barbri and Kaplan

about creating an internal bar exam preparation program that would be offered at the InfiLaw

Schools. The program, which was implemented at all three InfiLaw Schools, utilized the written

materials and lectures developed by Barbri and Kaplan for their bar exam preparation courses.


         151.   The Summit Law internal bar preparation course iswas referred to as the

Multi-Year Bar Accelerated Review or “MyBar” program. Florida Coastal’s internal bar

preparation course is called the Coastal Enhanced Bar Pass Program. Charlotte Law’s internal bar

preparation course iswas called the Bar Exam Advanced Review or “BEAR” program.


         152.   In or around 2012, InfiLaw and the InfiLaw Schools entered into agreements with

Barbri and Kaplan that provide that Barbri and Kaplan would stop offering their own courses at

the InfiLaw Schools in exchange for the InfiLaw Schools’ purchase of Barbri and Kaplan

materials for their internal programs. The only other in-house bar preparation program offered by

a law school is a purely optional course offered by the University of Missouri in Kansas City

(UMKC). The UMKC program was actually developed by the law school, as opposed to simply

relabeling Barbri and Kaplan’s materials, and only costs $600. Students at UMKC are allowed to

take Barbri and Kaplan bar preparation courses, and neither Barbri nor Kaplan was excluded

from UMKC’s campus in order to prevent students from signing up for those competing courses.

         153.   The agreements between InfiLaw and Barbri and Kaplan prohibit Barbri and

Kaplan from soliciting the InfiLaw Schools’ students, setting up recruiting tables at the InfiLaw

Schools, or offering discounts to InfiLaw students.


         154.   The student representatives at Summit Law (and the other InfiLaw Schools), with

whom Barbri and Kaplan had entered into agreements to recruit other students in exchange for a

free bar preparations courses, were converted into InfiLaw internal bar review student

representatives.




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         155.   Attempting to sign up for a “live” Barbri or Kaplan bar preparation course through

their websites directs students to Barbri or Kaplan employees that, by agreement with InfiLaw,

direct the students back to the InfiLaw Schools’ internal bar preparation courses. For example, on

the Barbri website, students from the InfiLaw Schools who are attempting to inquire about a bar

preparation course are told to contact Karen Hundley, who is actually a Vice President at Barbri.

Ms. Hundley is not a Barbri representative for any other law schools and instead redirects the

students back to the InfiLaw internal bar review programs.


         156.   InfiLaw’s agreements with Barbri and Kaplan illegally fixed the price of the “live”

bar preparation courses offered to Summit Law students, eliminated competition from Barbri and

Kaplan, and resulted in large payments from InfiLaw to Barbri and Kaplan to ensure that the

InfiLaw Schools’ in-house bar review courses were the only option available to the InfiLaw

students.


         157.   As another example, there was a student that graduated from Summit Law and

then enrolled in a master’s program at the Sorbonne in Paris, France. After completing the

master’s program, the student attempted to take a bar review course provided by BarBri to

prepare for the New York bar exam. BarBri informed the individual that the only way the student

could take BarBri’s preparation course was to enroll in Summit Law’s internal bar preparation
course in Phoenix, Arizona.


         158.   Although the InfiLaw Schools’ bar preparation courses were touted as an honest

attempt to increase the InfiLaw Schools’ bar passage rates and as an “individualized bar

preparation program designed specifically for [Summit Law students]” that “comprises the best

features of Barbri and Kaplan,” one of the primary reasons that InfiLaw created the program was

to inflate the portion of revenue at the InfiLaw Schools that could be counted as non-Title IV or

“10” revenue.




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         159.   Prior to the creation of the MyBar program, the InfiLaw Schools, and in particular

Summit Law, were in danger of violating the 90/10 Rule because the vast majority of their

revenue was paid from Title IV sources.


         160.   For 2010-2012, the InfiLaw Schools were all within 5 percentage points of

violating the 90/10 rule. As an example, for the 2010-2011 academic year, Summit Law reported

receiving 87.94 percent of its qualifying revenue from Title IV sources.


         161.   The falsely reported 90/10 Rule data, which the InfiLaw Schools submitted at the

end of each year to the ED, and which the ED is required by statute to report to Congress, is set

forth in Exhibit BA hereto. The InfiLaw Schools began reporting false 90/10 Rule data at least by

2012, when the internal bar preparation course was first launched.


         162.   Another primary reason for the development of its internal bar review programs is

so that InfiLaw could gather data on and identify students that were unlikely to pass the bar

exam. The goal of identifying students who were at high risk of failing the bar exam was to

persuade the students to delay or forgo the bar exam and, thereby, falsely inflate the InfiLaw

Schools’ bar passage and employment rates as set forth in greater detail below.


         163.   Barbri and Kaplan entered into agreements with InfiLaw in connection with the
InfiLaw Schools’ internal bar exam programs knowing full well that one of the purposes of the

program was to inflate and falsify the Schools’ non-Title IV revenue to avoid having the schools

become automatically ineligible for Title IV funding.


         164.   In order to immediately begin recognizing the money paid by the InfiLaw

Schools’ students as non-Title IV revenue, the InfiLaw and the InfiLaw Schools, with assistance

from Barbri and Kaplan, concocted a plan to make the students who had already paid deposits or

tuition to Barbri or Kaplan switch their enrollment to the InfiLaw bar preparation programs for

the July 2012 through July 2013 bar exams. InfiLaw required students to make payments to the



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InfiLaw schools instead of Barbri or Kaplan, and improperly counted this income as non-Title IV

income in their 90/10 calculations for 2012 through the present.


         165.   The purpose of the internal bar review programs was to knowingly misstate the

InfiLaw Schools’ 90/10 revenue calculation. For example, on September 15, 2011, the Dean of

Summit Law (then called the Phoenix School of Law) informed the Director of Academic

Services at Summit Law that Defendant InfiLaw had “tasked” Summit Law with “operating our

own bar prep course as a real solution for 90/10.” The Dean further described “this important

initiative for our 90/10” as a “top, top priority for both the school and the consortium.” The Dean

also insisted that this “90/10 program” begin in December 2011 for those taking the February

2012 bar exam. After the Summit Law Director of Academic Services raised ethical objections to

forcing students to use an internal bar preparation course, Summit Law terminated the Director’s

employment.


         166.   The $2500 each student paid to Summit Law for the MyBar course was entirely

for the use of the same Barbri materials and lectures that were used for Barbri courses offered at

the other law schools in Arizona.


         167.   On information and belief, the same materials used for the internal bar preparation

courses at the other InfiLaw Schools were merely Barbri and Kaplan materials used at other law
schools in those states that had been relabeled for InfiLaw’s internal review program.


         168.   In addition to the anti-competitive and sham nature of the internal bar preparation

course revenue, the entire amount of the internal bar preparation course fees paid to the InfiLaw

Schools was really for “books and materials” provided by Barbri and/or Kaplan. As a result, the

InfiLaw Schools were prohibited from counting this money as non-Title IV 90/10 revenue since

this amount was not included or disclosed as tuition, fees, or other institutional charges. 34

C.F.R. § 668.28(a)(7)(v).




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         169.   InfiLaw and the InfiLaw Schools’ arrangements with Barbri and Kaplan included

agreements that prohibit Barbri and Kaplan from engaging in the recruitment activities that

Barbri and Kaplan engage in on other law school campuses. This includes prohibitions against

hosting informational sessions or setting up recruitment “tables” on campus, sending emails to

students regarding Barbri and Kaplan’s bar preparation programs, offering tuition assistance and

discounts to students or otherwise competing with InfiLaw in pricing or advertising to InfiLaw

Students for bar preparation courses.


         170.   InfiLaw, the InfiLaw Schools, Barbri and Kaplan conspired to manipulate and

falsify the InfiLaw Schools’ 90/10 Rule data by entering into an illegal price fixing and

anti-competitive arrangement that limited students’ ability to choose between multiple competing

live bar preparation programs, as well as eliminating discounts and other incentives that would

typically be offered to students by Barbri and Kaplan.


         171.   Specifically, the InfiLaw Schools’ non-Title IV revenue was inflated by

approximately $2500 for each graduate that took the internal bar preparation program.


         172.   By requiring its graduates to take the InfiLaw Schools’ internal bar review course

and actively preventing the students from purchasing other bar preparation courses, the InfiLaw

Schools reported false information to the EDDoE and prospective students regarding the InfiLaw
Schools’ institutional charges. A Policy Bulletin issued by the EDDoE on January 7, 1999, states

that all tuition, fees, room and board, and other charges an institution assesses a student are

institutional costs, unless demonstrated otherwise. Specifically, the EDDoE guidance states that

expenses for required course materials are institutional costs, if the student does not have a real

and reasonable opportunity to purchase the required course materials from any place but the

institution he or she is attending.


         ***




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         173.   If an institution wishes to classify the cost of required course materials as

non-institutional costs, it must be able to substantiate that: 1) the required course materials were

available for purchase at a relatively convenient location unaffiliated with the school; and 2) the

institution made financial aid funds available to students in a timely manner, so its students could

exercise the option to purchase the required course materials from alternative sources.


         174.   Fraudulently omitting the cost of the internal bar preparation courses from the

InfiLaw Schools’ institutional charges resulted in inaccurate information being submitted on

every single student’s Title IV student aid application. This adversely affected students that were

forced to take out private loans to complete the internal bar preparation courses, and misstated

the cost of attending the InfiLaw Schools.




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                     file://\\gibsondunn\gdcip\Client Files_GDCIP Projects -
 Document 1 ID       Phoenix\2021\04. April\15\B59660\2.
                     DRAFT\QC\2015.11.12_O'Connor Compl.docx
 Description         2015.11.12_O'Connor Compl
                     file://\\gibsondunn\gdcip\Client Files_GDCIP Projects -
                     Phoenix\2021\04. April\15\B59660\2. DRAFT\QC\United
 Document 2 ID
                     States of America ex re. Edward Allen_KINC_
                     3.29.2021.docx
                     United States of America ex re. Edward Allen_KINC_
 Description
                     3.29.2021
 Rendering set       Standard

 Legend:
 Insertion
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 Moved deletion
 Inserted cell
 Deleted cell
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 Padding cell

 Statistics:
                     Count
 Insertions                                 36
 Deletions                                  13
 Moved from                                  0
 Moved to                                    0
 Style change                                0
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA
    ex rel. PAULA C. LORONA, and
    REID POTTER,

           Plaintiff,
                                                         Case No. 3:15-cv-959-J-34JRK
    v.

    INFILAW CORPORATION,                                 Pursuant to 31 U.S.C. § 3730(b)(2)
    ARIZONA SUMMIT LAW SCHOOL, LLC,                      and Court Order (Doc. S-7)
    FLORIDA COASTAL SCHOOL OF LAW,
    CHARLOTTE SCHOOL OF LAW, and
    BARBRI, INC.,

           Defendants.
                                                 /

                         THIRD AMENDED COMPLAINT
           OF QUI TAM PLAINTIFFS PAULA C. LORONA AND REID POTTER

           Plaintiffs/Relators Paula C. Lorona, and Reid Potter by their undersigned attorneys

    and on behalf of the United States of America, state the following as their Third Amended

    Complaint based upon their non-public, indirect, and independent knowledge:

    I.     INTRODUCTION

           1.      This action is brought by Plaintiff/Relator Paula C. Lorona (“Lorona”) and

    Plaintiff/Relator Reid Potter (“Potter”) (collectively referred to as “Relators”) on behalf of

    the United States of America to recover compensatory and punitive damages and civil

    penalties pursuant to the False Claims Act, 31 U.S.C. § 3729 et seq.




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    II.    PARTIES

           2.      Lorona is a resident of Maricopa County, Arizona, and all times pertinent to

    this Complaint, Lorona was either employed by or enrolled as a student at Arizona Summit

    Law School (“ASLS”), formerly known as Phoenix School of Law (“PSL”), in Phoenix,

    Arizona.

           3.      Potter is a resident of Pima County, Arizona, and at all times pertinent to this

    Complaint, Potter was either employed by or enrolled as a student at ASLS in Phoenix,

    Arizona.

           4.      Defendant ASLS is a for-profit Delaware limited liability company with its

    primary place of business in Phoenix, Arizona.

           5.      Defendant Charlotte School of Law (“CSL”) is a for-profit Delaware limited

    liability company with its primary place of business in Charlotte, North Carolina.

           6.      Defendant Florida Coastal School of Law (“FCSL”) is a for-profit Florida

    corporation with its primary place of business in Jacksonville, Florida.

           7.      Defendant Infilaw Corporation (“Infilaw”) is a Delaware corporation with its

    primary place of business in Naples, Florida. Infilaw is the parent company of ASLS, CSL,

    and FCSL (collectively, the “Defendant Schools”), and controls and dominates the business

    activities of ASLS, CSL, and FCSL. Infilaw therefore conducts business activities in the

    states in which those schools are located: Arizona, North Carolina, and Florida.

           8.      Infilaw made and directed all significant business decisions of ASLS. For

    example, when certain members of the ASLS faculty and staff expressed concern about the

    caliber of students being admitted to ASLS, ASLS President Scott Thompson responded in a




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    meeting attended by Lorona that he had been “instructed to put asses in seats,” presumably

    by Infilaw. Upon information and belief, Infilaw made and directed all significant business

    decisions of CSL and FCSL, as well.

           9.     Infilaw controlled the finances of ASLS by (a) controlling and managing the

    budget and budgeting process; (b) requiring Infilaw approval of all promotions, raises,

    performance review, and any other financial incentives for faculty and staff at ASLS; (c)

    processing and maintaining control over the ASLS payroll; (d) managing the 401(k) plan and

    other financial benefits of ASLS employees, including tuition waivers for employees who

    were also students; and (e) approving and disapproving reimbursement for credit cards and

    expenses for ASLS employees traveling on ASLS business.

           10.    On information and belief, Infilaw also controlled the finances of CSL and

    FCSL by (a) controlling and managing the budget and budgeting process; (b) requiring

    Infilaw approval of all promotions, raises, performance review, and any other financial

    incentives for faculty and staff at CSL and FCSL; (c) processing and maintaining control

    over the CSL and FCSL payroll; (d) managing the 401(k) plan and other financial benefits of

    CSL and FCSL employees, including tuition waivers for employees who were also students;

    and (e) approving and disapproving reimbursement for credit cards and expenses for CSL

    and FCSL employees traveling on business.

           11.    Accordingly, Infilaw is liable not only for its own misconduct, but also for the

    misconduct of the Defendant Schools as alleged herein.




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           12.    Defendant Barbri, Inc. (“Barbri”) is a Delaware corporation with its primary

    place of business in Dallas, Texas. Barbri provides preparation courses and materials for

    individuals taking state bar exams, most of whom are recent law school graduates.

    III.   JURISDICTION AND VENUE

           13.    This Court has subject-matter jurisdiction over this action pursuant to 28

    U.S.C. § 1331 and 31 U.S.C. § 3732, the latter of which specifically confers jurisdiction for

    actions brought pursuant to 31 U.S.C. §§ 3729 and 3730.

           14.    This Court also may exercise subject-matter jurisdiction over this action

    because, pursuant to 31 U.S.C. § 3730(e), there has been no statutorily relevant public

    disclosure of the allegations or transactions alleged in this Third Amended Complaint. Even

    if a statutorily relevant disclosure has occurred, both Potter and Lorona qualify as an

    “original source” of the allegations in the Third Amended Complaint, as that term is defined

    by 31 U.S.C. §§ 3730(e)(4)(A) and 3730(e)(4)(B) because they have voluntarily disclosed to

    the Government information on which the allegations in this action are based, and because

    they have independent knowledge that materially adds to the publicly disclosed transactions.

           15.    On or about July 31, 2012, Potter provided information regarding this Third

    Amended Complaint to the United States Department of Justice (“DOJ”) through the DOJ’s

    whistleblower hotline.

           16.    On December 12, 2012, Potter provided documentation relating to this Third

    Amended Complaint to the United States Department of Education (“DOE”).




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           17.      On June 3, 2015, Lorona provided documentation relating to this Third

    Amended Complaint to the Inspector General’s Hotline – Office of Inspector General

    (“OIG”), DOE.

           18.      On July 17, 2015, Lorona met with an Assistant United States Attorney from

    the United States Attorney’s Office, Middle District of Florida, to discuss the allegations

    herein. At the same time, Lorona provided to the AUSA a draft of the initial Complaint and a

    disclosure statement summarizing and supported by all known material evidence in

    accordance with the provisions of 31 U.S.C. § 3730(b)(2).

           19.      On August 5, 2015, Lorona provided to the Attorney General of the United

    States and the United States Attorney for the Middle District of Florida a copy of the initial

    Complaint and a disclosure statement summarizing and supported by all known material

    evidence in accordance with the provisions of 31 U.S.C. § 3730(b)(2).

           20.      On March 3, 2016, Potter and Lorona provided to the Attorney General of the

    United States and the United States Attorney for the Middle District of Florida a copy of the

    Third Amended Complaint and a supplemental disclosure statement summarizing and

    supported by all known material evidence in accordance with the provisions of 31 U.S.C. §

    3730(b)(2).

           21.      This Court has personal jurisdiction over the Defendants pursuant to 31

    U.S.C. § 3732(a) because one or more of the Defendants can be found, resides, transacts

    business, and committed violations of the False Claims Act within this District. Venue is

    likewise proper in this Court pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. § 1391(b) for the

    same reasons.




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    IV.    EMPLOYMENT OF LORONA BY ASLS AND INFILAW

           22.        Lorona was hired by ASLS in November 2009 as an administrative assistant

    to the General Counsel of ASLS, and later received promotions to financial aid representative

    in 2010, assistant director of financial aid in 2011, and student accounts/accounting manager

    in 2011.

           23.        In those capacities, Lorona observed and participated in ASLS’ application for

    accreditation from the American Bar Association and the financial inner-workings of ASLS

    and Infilaw, including student loan disbursement, the application for and receipt of Title IV

    funds, and the certification of compliance with all DOE and Title IV regulations and

    requirements. More specifically, Lorona’s responsibilities as an employee of ASLS included

    submission of requests for federal funds through the Common Origination and Disbursement

    System (COD), used by the DOE to create, deliver, and report Federal Pell Grants, TEACH

    Grants, and Federal Direct Loans.

           24.        Upon Lorona’s submission of COD requests on behalf of ASLS and Infilaw,

    the DOE deposited the requested funds in the ASLS bank account at SunTrust Bank. Each

    night, SunTrust would then ‘sweep’ those funds into bank accounts maintained by Infilaw.

    Once funds were swept into accounts maintained by Infilaw, Lorona would make

    disbursements to individual students by creating and uploading a file to SunTrust’s website,

    which would cause SunTrust to transfer the Title IV funds from Infilaw’s account to an

    ASLS account. ASLS would then directly distribute the funds to the student who applied for

    Title IV funds.




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           25.     Before her employment with ASLS, Lorona reviewed materials, statistics, and

    bar passage rates published by ASLS and decided to work at ASLS because it would help her

    attend law school. Indeed, as an employee, Lorona was given a full tuition waiver and a pro

    rata early tuition waiver to attend ASLS.

    V.     EMPLOYMENT OF POTTER BY ASLS AND INFILAW

           26.     Potter is a former student of ASLS. After graduating from law school, Potter

    was hired by ASLS in 2011 and continued to work for ASLS until September 2014 in ASLS’

    Academic Services department.

           27.     In his role, Potter was directly involved with guiding students through their

    bar exam preparation.

           28.     Potter was also involved in meetings with ASLS and Infilaw officials

    regarding academic success programs including without limitation ASLS’ bar exam

    preparation programs, and ASLS’ use of those programs to secure and maintain federal funds

    as discussed herein.

           29.     Additionally, Potter, in all cases directed by his superiors, collected funds

    from students for bar exam preparation fees in exchange for refunds given to the students by

    Barbri. Potter was involved in discussions with representatives of Infilaw, ASLS and Barbri

    who devised this exchange, and knew that its purpose was to disguise funds ASLS received

    from federal student loan programs so that ASLS could continue to receive such funds.

    VI.  ELIGIBILITY       FOR TITLE IV FUNDS   -- SUBMISSION   OF   PROGRAM PARTICIPATION
    AGREEMENTS




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           30.     To be eligible for Title IV/ Higher Education Act (“HEA”) funds, institutions

    such as the Defendant Schools must comply with HEA and DOE requirements by executing

    a Program Participation Agreement (“PPA”) under 34 C.F.R. § 668.14(a)(1).

           31.     By submitting a PPA, institutions certify that they will “comply with all

    statutory provisions of or applicable to Title IV of the HEA, all applicable regulatory

    provisions prescribed under that statutory authority, and all applicable special arrangements,

    agreements, and limitations entered into under the authority of statutes applicable to Title IV

    of the HEA, including the requirement that the institution will use funds it receives under any

    Title IV, HEA program and any interest or other earnings thereon, solely for the purposes

    specified in and in accordance with that program.”

           32.     At ASLS, PPAs were completed and executed in the financial aid department

    and the President’s Office, giving Relator Lorona unparalleled access to the documents and

    the process under which they were certified. The PPAs were executed by Thompson, but they

    were prepared by other employees within the President’s Office and financial aid department.

           33.     The ASLS’ PPAs certified compliance with all regulations and requirements,

    despite full knowledge of ASLS and Infilaw leadership and staff that the regulations and

    requirements were regularly being violated as alleged herein. The submission of those PPAs

    caused the federal government to distribute Title IV/HEA funds to ASLS, in violation of the

    False Claims Act.

           34.     Upon information and belief, the other Defendant Schools prepared, executed,

    and submitted similar PPAs, in conjunction with Infilaw, to certify compliance with all Title

    IV/HEA regulations and requirements, despite full knowledge of Defendant Schools and




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    Infilaw leadership and staff that the regulations and requirements were regularly being

    violated. The submission of those PPAs caused the federal government to distribute Title

    IV/HEA funds to Defendant Schools and Infilaw, in violation of the False Claims Act.

           35.     Virtually all of Defendant Schools’ income is derived from Title IV, HEA

    program funds. The Defendant Schools’ survival is dependent on their ability to maintain the

    appearance that they are in compliance with Title IV, HEA program rules and regulations.

    VII.   DEFENDANTS’ SCHEMES TO CIRCUMVENT THE 90/10 RULE

           36.     In order to participate in any Title IV, HEA program, for-profit institutions

    must enter into a written program participation agreement with DOE, which conditions

    participation in Title IV on compliance with Title IV and DOE rules and regulations.

           37.     Under one of those regulations, Title IV and the HEA require that a for-profit

    institution “derive at least 10 percent of its revenues for each fiscal year from sources other

    than Title IV, HEA program funds.” 34 C.F.R. § 668.14(b)(16). This is commonly known as

    the “90/10 Rule.” To calculate revenue under the 90/10 Rule, institutions must use the cash

    basis of accounting, counting only revenue actually received. 34 C.F.R. § 668.28(a)(2).

           38.     DOE rules / regulations under 34 C.F.R. § 668.1 et seq. require that for-profit

    institutions participating in any Title IV, HEA program, report to the DOE annually the

    amount and percentage of its income derived from Title IV, HEA program funds, and the

    amount and percentage of its income derived from other sources.

           39.     In or about early 2010, Defendants became concerned that they would not

    satisfy the 90/10 Rule because a large proportion of the students attending ASLS, FCSL, and

    CSL were receiving substantial Title IV/HEA funding through loans. Because tuition and




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    fees charged by the Defendant Schools is among the highest in the nation, students attending

    those schools typically borrowed well over $100,000 to fund their educations.

           40.    Publicly available reports found on the DOE website demonstrate why it was

    crucially important for Defendants to keep the Title IV/HEA funding stream alive. For

    example, in the 2009-2010 funding year, ASLS reported an 84.25%/15.75% split between

    Title IV/HEA revenue and non-Title IV revenue and reported Title IV/HEA revenue of

    $22,111,393.00; FCSL reported 82.94% Title IV/HEA revenue of $65,758,846.00; and CSL

    reported revenue of $19,224,762.00, without reporting a 90/10 Rule split.

           41.    In the public data available for the 2012-2013 funding year, ASLS reported an

    87.70%/12.30% split with Title IV/HEA revenue of $60,030,378.00; FCSL reported an

    86.63%/13.37% split with Title IV/HEA revenue of $78,751,382.00; and CSL reported an

    87.20%/12.80% split with Title IV/HEA revenue of $63,134,358.00.

           42.    In the most recent public data available covering the 2013-2014 funding year,

    ASLS reported an 88.04%/11.96% split with Title IV/HEA revenue of $53,281,915.00;

    FCSL reported an 84.95%/15.05% split with Title IV/HEA revenue of $67,556,056.00; and

    CSL reported an 87.87%/12.13% split with Title IV/HEA revenue of $74,954,327.00.

           43.    In fact, the numbers for ASLS were so precarious that Potter was told by a

    CSL representative, Odessa Alm, in or about July 2012 that ASLS had a “90/10 Problem.”

           A.     INSTITUTIONAL LOANS

           44.    From 2010 through and including 2013, Lorona participated in weekly

    meetings with other Defendants Schools and Infilaw employees, including Alicia Togno,

    Debbie Richards, Shirley Mays, Penny Willrich, Scott Thompson, Jim Lemire, Denise




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    Barlow, CSL representatives (via phone), FCSL representatives (via phone), and Infilaw

    employees and representatives (via phone). The central topic of discussion at each of those

    weekly meetings was how to create the appearance that Defendants were complying with the

    90/10 Rule. Infilaw leadership and representatives consistently represented at those meetings

    that it would be beneficial for the statistics to appear as though the revenue was split 80/20,

    so that the government would not become suspicious and begin an investigation into actual

    compliance.

           45.     During one of the Friday meetings in 2011 Scott Thompson, the President of

    ASLS and former Chief Financial Officer for Infilaw, introduced and proposed to Lorona and

    the other participants the concept of offering Institutional Loans (“ILs”) to students as a

    solution to the 90/10 Rule. Thompson stated that from Infilaw’s perspective the sole reason

    to offer ILs was to give the appearance that the Defendant Schools were in compliance with

    the 90/10 Rule.

           46.     Infilaw viewed the ILs as a potential solution to the 90/10 Rule because

    revenue generated from institutional aid may be counted as non-Title IV/HEA revenue under

    34 C.F.R. § 668.28(a)(5), as long as the institutions offering the loans meet certain guidelines

    and requirements. Among these requirements is that the ILs be subject to regular loan

    repayment and collection.

           47.     Infilaw and the Defendant Schools marketed the ILs in the same manner as

    Title IV/HEA or GradPlus loans, even though they did not have the same benefits. Unlike

    Title IV/HEA and GradPlus loans, ILs are not deferrable by students after graduation, nor

    may students apply for financial hardships or forbearances of the ILs.




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           48.     Despite never having been in the lending business, Infilaw and the Defendant

    Schools began to roll out ILs in 2012 for the Fall 2011 – Spring 2012 financial aid year. As

    part of this process, Infilaw required the Defendant Schools to obtain credit reports on all

    students and report the top credit scores. Once the reports had been run, the Defendant

    Schools, under Infilaw’s direction, began contacting students with the top credit scores in an

    attempt to convince them to sign up for ILs. This effort was immediately successful, and

    students began signing up.

           49.     Once that limited rollout ended, Infilaw and the Defendant Schools decided to

    then offer the ILs to students who could not get approved for private loans elsewhere.

           50.     The Defendant Schools began soliciting and providing ILs to almost any

    student without regard to creditworthiness or ability to repay, including students with

    bankruptcies and foreclosures (“Low Credit ILs”).

           51.     After a year of funding Low Credit ILs with no prospect of repayment, the

    Defendant Schools counted and reported to the DOE the amount of the corresponding

    receivables from these loans as income “from sources other that Title IV, HEA program

    funds.” This created the illusion that the Defendant Schools derived a much higher

    percentage of their income from non-Title IV sources so that the Defendant Schools appeared

    to be well in compliance with the 90/10 Rule.

           52.     In reality, neither Infilaw nor the Defendant Schools ever made any serious

    attempts to collect from the Low Credit IL students. From the perspective of Infilaw and the

    Defendant Schools, all that mattered was the ability to count and report the loan as income.

    Even more nefariously, the Defendant Schools began withdrawing future IL support for the




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    Low Credit ILs students who had accrued tremendous amounts of debt and had been

    determined by Defendants Schools to have a low chance to pass the bar exam, thereby

    destroying their ability to continue to attend school.

           53.      Defendants knew, and ignored, the fact that most of the students receiving

    ILs could not and would not repay the loans. In fact, because Defendants had so much Title

    IV money, they were able to purposefully shun collection efforts in order to avoid calling

    attention to the fact that the loans were not in fact collectible and because they had

    discovered they could, in effect, use the uncollectible ILs as a way to create fake income and

    trump up their “10” money to avoid the appearance of violating the guidelines and the 90/10

    Rule and continue to receive the large amount of “90” money they were receiving.

           54.     For example, certain students could not make payments on their ILs and

    ASLS upon information and belief never collected a dollar from them. But Scott Thompson

    forced Lorona to continue to allow them to attend school so that he could count the students’

    receivables towards the “10” money of the 90/10 Rule. Obviously ASLS could not legally or

    ethically count such non-existent revenue in determining compliance with the 90/10 Rule.

    Upon information and belief, IL default rates exceeded 40% in the 2013 fiscal reporting year.

           55.     Under the cash basis of accounting, revenue can be recorded only when cash

    is received, rather than when it is earned. Thus, counting future payment of ILs (which

    Defendants knew they would not collect) as revenue under the 90/10 Rule violated Title

    IV/HEA and created the false impression that Defendants were complying with the 90/10

    Rule. In substance, the ILs were mostly a sham designed solely to make it appear that

    Defendants were complying with the 90/10 Rule.




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           56.     There is no principle of accounting that permits an individual or entity to

    credit as income a debt or receivable that cannot or will not be collected.

           57.     Lorona was privy to this scheme and its mechanics during her time at ASLS

    due to her position and employment, and was instructed to complete the financial

    transactions necessary to fund ILs. Once a student was convinced to sign up for an IL, the

    Defendant Schools would “refund” the Title IV/HEA funds previously received from DOE

    and replace those loan funds with IL funds from the institution, most of which was

    previously received Title IV/HEA funds from other students’ financial aid submissions. This

    allowed the Defendants Schools to transfer funds from the 90% side to the 10% side in a

    dollar-for-dollar manner, making it appear they were complying with the 90/10 Rule. Checks

    were kept to a certain maximum value, as to prevent undue attention from governmental and

    regulatory bodies.

           58.     Lorona was aware of and viewed internal calculations of revenue under the

    90/10 Rule (as opposed to the publicly reported data), most of which demonstrated that

    ASLS was consistently in violation of the 90/10 Rule. In fact, Lorona was provided

    documents demonstrating a violation of the 90/10 Rule and instructed to convert some Title

    IV/HEA loans into ILs for the sole purpose of converting revenue to create the appearance of

    compliance with the 90/10 Rule. Upon information and belief, the same documents existed at

    the other Defendants Schools.

           59.     Knowing that the ILs were not going to be as helpful to students as Thompson

    attempted to market them, and further knowing that the ILs were just a way to create the false

    impression that the Defendant Schools were complying with the 90/10 Rule, Debbie Barlow,




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    an Infilaw employee or contractor, commented that “if it looks like a duck and quacks like a

    duck, it must be a duck.”

           60.     At some point after the first year of the ILs, Infilaw and the Defendant

    Schools realized that the ILs alone were insufficient to maintain the continuing illusion of

    90/10 Rule compliance. Infilaw and the Defendant Schools searched for other, additional

    ways to boost their reported income “from sources other than Title IV, HEA program funds.”

           B.      MYBAR AND INADEQUATE BAR PREPARATION

           61.     In or about late 2011, as another solution to satisfying the 90/10 Rule, Infilaw

    tasked the Defendant Schools – beginning with ASLS – with creating and implementing their

    own bar exam preparation programs to compete with established programs from Barbri and

    other providers. The Dean of ASLS, Shirley Mays, sent an email on or about September 15,

    2011, stating that she had an insightful 90/10 meeting and that ASLS’s own bar prep course

    “has bubbled to the top as a real solution for 90/10.”

           62.     ASLS undertook to form a bar preparation program, and tasked the Director

    of Critical Legal Skills Program (“DCLSP”) to implement it. The DCLSP was not receptive

    to the implementation of a new bar course in less than 3 months in order to prepare

    December 2011 graduates to take the February 2012 bar examination. Additionally, the

    DCLSP expressed concerns with relying on a February 2012 pilot program for myriad other

    reasons, including an impending switch to the Uniform Bar Exam in Arizona.

           63.     Undeterred, in October 2011 Dean Mays stated that regardless of the

    DCLSP’s legitimate concerns, the bar preparation program was an important initiative for

    satisfying the 90/10 Rule. The DCLSP faced extreme pressure from Infilaw and ASLS




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    leadership, putting her in an untenable situation – sacrifice education quality and quality bar

    preparation, or be forced out.

           64.     As pressure and time mounted, and ASLS could not definitively state its plan

    regarding bar preparation, students began enrolling in other bar preparation courses and

    inquiring as to scholarships for established bar courses like Barbri. In prior years, ASLS

    maintained a fund of $50,000 to assist students in dire financial need to enroll in established

    bar preparation courses. In late 2011, however, Dean Mays informed the DCLSP that the

    $50,000 usually available for students in dire need was no longer available, thus attempting

    to close avenues to bar preparation programs other than their new program.

           65.     In other attempts to derive non-Title IV/HEA funding to satisfy the 90/10

    Rule, Penny Willrich suggested that ASLS force its students to take its bar preparation

    program, provide no bar preparation materials to the students unless they sign up for ASLS

    bar preparation program, and even charge students parking fees during the bar preparation

    program to count toward non-Title IV/HEA funds.

           66.     As ASLS formalized its new program, it named the program “myBAR” which

    stood for Multi-Year Bar Advanced Review.

           67.     ASLS began paying students who participated in myBAR thousands of

    dollars as “bonuses” for completing mini-courses called modules, thus effectively refunding

    the students’ myBAR fees. This cleverly-packaged arrangement allowed ASLS to claim

    tuition received from myBAR fees as non-Title IV/HEA revenue, while hiding the fact that

    the revenue was refunded Title IV/HEA funds.




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           68.    Upon information and belief, all Defendant Schools have counted myBAR

    program fees as non-Title IV/HEA revenue toward satisfying the 90/10 Rule.

           69.    Due to the restrictions and restraints imposed by Infilaw and ASLS leadership,

    myBAR was woefully inadequate as a bar preparation course. As such, the program does not

    meet the requirements of 34 C.F.R. § 668.28, as it does not prepare ASLS students to take the

    bar. ASLS admitted this in an email on December 23, 2014, indicating that the anticipated

    bar passage rate for an ASLS student on the February 2015 bar exam was 47%, compared to

    a state average of 70%. Nevertheless, ASLS continues to falsely market the ‘efficacy’ of its

    bar preparation programs, including sending emails to students touting higher bar passage

    rates for myBAR, as opposed to established bar preparation courses.

           70.    The Defendant Schools’ bar preparation programs incomes are not income

    from school activities necessary and required for students enrolled in their programs, nor do

    the programs actually prepare their students properly to take an examination for an industry-

    recognized credential or certification issued by an independent third party. The funds

    received from the bar preparation programs of the Defendant Schools therefore cannot be

    considered non-Title IV/HEA revenue to apply towards the 90/10 Rule.

           71.    Recognizing that the bar preparation for its students was dismal and students

    were unlikely to pass the bar, ASLS and Infilaw leadership decided to “game” the bar

    passage requirements imposed by the American Bar Association (“ABA”) by requesting that

    students defer taking the bar exam in exchange for a monetary payment or stipend. For

    students the ASLS leadership could not convince to defer taking the bar exam, ASLS




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    leadership began telling students to enroll in myBAR, rather than Barbri or other established

    providers.

           72.     For the February 2015 bar exam, ASLS tracked 197 students who were ready

    to take the bar exam for the first-time. Of those students, ASLS targeted 37 students who

    they believed could not pass the bar. Additionally, of those 197 students, 39 of them had

    been previously paid to defer taking the July 2014 bar exam. In fact, Dean Mays said that

    ASLS does not care about students who have already failed. Instead ASLS was only

    concerned about first-time bar exam sitters, who look better in ASLS statistics.

           73.     As of January 14, 2015, ASLS predicted only a 50.9 percent anticipated

    passage rate for first-time bar test takers and had some students marked as a less than ten

    percent chance of passing – including students with a less than 6% chance of passing.

           74.     Additionally, ASLS all but ignored any students who were preparing to take

    the bar exam for a second time or more as discussed herein.

           75.     The actual pass rate for ASLS graduates taking the July 2015 Arizona bar

    examination was a woeful 26.4% - despite ASLS continuing to market the efficacy of their

    myBAR program.

           C.      THE CHECK EXCHANGE WITH BARBRI AND DEFENDANT SCHOOLS

           76.     Barbri begins soliciting law students to sign up for their bar exam preparation

    courses during the first year of law school. Students that enroll in Barbri’s courses are

    required to pay a deposit in exchange for ensuring that the student is given the best possible

    bar exam preparation course price as the cost increases for each year a student waits to pay

    the deposit. Additionally, Barbri typically hires student representatives to recruit other




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    students for their bar preparation courses. These representatives are often current law

    students and receive a free or discounted bar exam preparation course in exchange for

    recruiting and soliciting students.

           77.     Barbri’s bar preparation courses include a series of live or recorded lectures,

    study materials, and practice exams. A significant portion of the courses’ cost is attributable

    to Barbri’s copyrighted bar preparation books, outlines, and practice exams, which are

    tailored to each state’s bar exam. These live or pre-recorded lectures are offered in a physical

    classroom staffed by Barbri employees. Barbri offers their bar exam preparation courses at

    every non-Infilaw law school in Arizona, Florida, and North Carolina.

           78.     In 2011 or 2012, Infilaw and the Defendant Schools approached Barbri about

    creating an internal bar exam preparation program that would be offered at the Defendant

    Schools.

           79.     The program implemented at all three Defendant Schools, utilized the written

    materials and lectures developed by Barbri for their bar exam preparation courses.

           80.     The ASLS internal bar preparation course is called the myBAR program

    (formerly “IBPP”); FCSL’s internal bar preparation course is called the Coastal Enhanced

    Bar Pass Program; and CSL’s internal bar preparation course is called the Bar Exam

    Advanced Review or “BEAR” program.

           81.     In or around 2012, Infilaw and the Defendant Schools entered into agreements

    with Barbri that provide that Barbri would stop offering their own courses at the Defendant

    Schools in exchange for the Defendant Schools’ purchase of Barbri materials for their

    internal programs.




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           82.     The contract between Infilaw and Barbri prohibits Barbri from soliciting the

    Defendant Schools’ students, setting up recruiting tables at the Defendant Schools, or

    offering discounts to Infilaw students.

           83.     The student representatives at the Defendant Schools, with whom Barbri had

    entered into agreements to recruit other students in exchange for free bar preparations

    courses, were upon information and belief converted into Infilaw internal bar review student

    representatives.

           84.     Barbri and Infilaw entered into an agreement (the “Barbri Agreement”), dated

    July 2, 2012, that provides that Barbri will provide all the materials for the Defendant

    Schools’ internal bar review programs. The contract was stated to cover a term from July 2,

    2012 until July 31, 2015 (the “Barbri Initial Term”). Stephen Fredette, the chairman and

    CEO of Barbri, signed the contract on behalf of Barbri. Chidi Ogene, general counsel for

    Infilaw, signed the contract on behalf of Infilaw. Infilaw was required under the agreement to

    report various student data to Barbri, including the results of diagnostic testing administered

    in connection with the bar preparation courses. Infilaw agreed to pay Barbri a fixed fee for

    Barbri’s materials and instruction services. The total sum payable to Barbri over the Barbri

    Initial Term amounted to more than twelve million dollars ($12,000,000).

           85.     Scott Thompson told Potter in or about July 2012 that ASLS needed to create

    “10” revenue with the check exchange program and that a paper trail needed to be created for

    it in order to mask the fact that the majority of students were using their Title IV distributions

    to pay for bar preparation.




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            86.    Tellingly, at the time of the Barbri Agreement’s execution, the Defendant

    Schools’ students taking the Summer 2012 bar review course had already paid or contracted

    directly with Barbri to take Barbri’s bar review course and the Barbri course was already half

    over.

            87.    A substantial and material amount of the funds the Defendant Schools’

    students paid to Barbri for Barbri’s Summer 2012 bar review came from Title IV funds

    which had been previously distributed to students who then paid Barbri from those funds.

            88.    After the Barbri Agreement was signed, students who navigated to the Barbri

    bar preparation course through Barbri’s website were then told by Barbri employees that due

    to an agreement with Infilaw they must register in the Defendant Schools’ internal bar

    preparation courses. Infilaw’s agreements with Barbri fixed the price of the “live” bar

    preparation courses offered to Defendant Schools’ students, eliminated any competition by

    Barbri, and resulted in large payments from Infilaw to Barbri to ensure that the Defendant

    Schools’ in-house bar review courses were the only option available to the Infilaw students.

            89.    Although the Defendant Schools’ bar preparation courses were touted as an

    honest attempt to increase the Defendant Schools’ bar passage rates and as an “individualized

    bar preparation program designed specifically for [ASLS students]” that “comprises the best

    features of Barbri and Kaplan,” the real reason that Infilaw created the program was to inflate

    the portion of revenue at the Defendant Schools that could be counted as non-Title IV or

    “10” revenue. Prior to the creation of the myBAR program, the Defendant Schools, and in

    particular ASLS, were in danger of violating the 90/10 Rule because the vast majority of

    their revenue was paid from Title IV sources.




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             90.   In order for Defendant Schools to immediately begin recognizing the money

    already paid by the Defendant Schools’ students to Barbri as non-Title IV “10” money

    revenue, Infilaw and the Defendant Schools (with assistance from Barbri) concocted a plan to

    make the students who had already paid deposits and contracted with Barbri switch their

    enrollment to the Infilaw bar preparation programs for the July 2012 through July 2013 bar

    exams.

             91.   As part of this plan, Barbri, Infilaw and the Defendant Schools came up with

    an elaborate scheme to falsely count the full amount of the internal bar review course cost as

    non-Title IV revenue, the Defendant Schools required students that had already made

    payments to Barbri for the summer 2012 course, or as deposits for future courses, to engage

    in a “check exchange” program with the law schools. Barbri agreed to refund each student’s

    past payments by sending the checks directly to the Defendant Schools. The Defendant

    Schools would then distribute the checks to the students in exchange for the student writing a

    personal check payable to the school for the same amount.

             92.   Even though the July 2012 bar preparation course students had already paid

    Barbri; had already attended Barbri-led classes; and were nearly complete with the Barbri

    program, Barbri nevertheless – in the initial check exchange with ASLS – sent refund checks

    to ASLS to perform a check exchange for these students so that ASLS could count the

    revenue as “10” money – and never provide any services for the money.

             93.   During this time, Relator Potter had multiple conversations with

    representatives of CSL and FCSL to discuss the check exchange for their respective schools




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    and was consistently told that ASLS had a 90/10 problem and the check exchange was a

    solution to ASLS’ 90/10 problem.

           94.     Scott Thompson told Reid Potter and Glenys Spence in an email dated July

    29, 2012 that “It is important we get the $ deposited as 90/10 is a cash basis calculation, so

    the $ need to be in our account by 7/31.”

           95.     In an email sent by ASLS’ employee Glenys Spence on August 21, 2012 she

    wrote that she had a lot of questions regarding marketing the internal bar review program as

    she believed that Barbri was still marketing their program to ASLS students “which does not

    bode well for 90/10.”

           96.     Another primary reason for the development of its internal bar review

    programs is so that Infilaw could gather data on and identify students that were unlikely to

    pass the bar exam. The Barbri Agreement provided for assessment tests to be administered to

    the Infilaw students and for this data to be reported to Infilaw. The goal of identifying

    students who were at high risk of failing the bar exam was to persuade the students to delay

    or forego the bar exam and, thereby, falsely inflate the Defendant Schools’ bar passage and

    employment rates as set forth in greater detail in the next section. Barbri entered into its

    agreement with Infilaw in connection with the Defendant Schools’ internal bar exam

    programs knowing full well that the purpose of the program was to inflate and falsify the

    Schools’ non-Title IV revenue to avoid having the schools become automatically ineligible

    for Title IV funding.

           97.     Relator Reid Potter was present during discussions with Barbri employees

    where this purpose (and its potential illegality) was discussed.




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            98.     For example, on or around September 6, 2012, Relator Potter and another

    employee of ASLS, Glenys Spence, held a telephone call with Barbri employee Mary Goza.

    During the call, the participants discussed rebranding Barbri’s bar preparation materials as

    being affiliated with ASLS’s bar exam preparation course. The ASLS and Barbri employees

    also discussed how to transition Barbri’s law student representatives, who recruited law

    students to sign up for Barbri’s course in exchange for a free bar preparation course, to

    recruit students for ASLS’s internal program. Mary Goza was aware that inflating ASLS’s

    non-Title IV revenue was the main purpose of the MyBar Program.

            99.     ASLS’ Dean, Shirley Mays sent an email to Glenys Spence on September 19,

    2012 stating that ASLS cannot accept deposits for the internal review program “due to 90/10

    presumptions” and instead requested that students sign a contract or letter of intent.

            100.    This was because ASLS had decided that to better hide the sham nature of the

    “10” revenue from students paid for the myBAR program, they would not collect fees for

    myBAR until after students had graduated and received a change of status from “enrolled” to

    “graduated” in ASLS’ student management database.

            101.    This was confirmed in another email – this one sent on May 9, 2013 by Nina

    Segovia to Scott Thompson, Glenys Spence, Shirley Mays, and Reid Potter stating in

    reference to a myBAR Frequently Asked Questions (the “myBAR FAQ”) document attached

    to the email: “SCOTT – The question about ‘deposits’ for myBAR is listed in question #4. If

    we opt to ask for a deposit, this will mean that we can’t use the money as ‘10’ money (on

    average $250 per 100 sign-ups = $25,000). Please let us know if you’d like to go with option

    ‘a’ or option ̶ ‘b’ This is a critical question.”




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           102.      Question 4 of the myBAR FAQ stated:

           When do I have to pay for myBAR?
           a) Recommended: You will pay for your myBAR program after you graduate and
           before the course starts. Unlike with BARBRI, you do not need to pay a deposit to
           obtain your books.
           b) You will need to provide a $100 deposit as a 1L and $150 as a 2L at the time of
           registration.
           103. In fact, students attempted to pre-pay their myBAR fees prior to graduation,

    but were rebuffed and told that ASLS could not collect money for myBAR until after they

    had graduated.

           104.      Students at Defendant Schools were repeatedly told that they would only be

    invoiced for the bar preparation programs once they graduate and not prior.

           105.      In an email dated August 18, 2013 with a subject of “myBAR Policies,” the

    procedure was documented as: “Students will pay $250 ($100 as a 1L and $150 as a 2L).

    That money is refunded after graduation. Once the student graduates, he or she will pay the

    full $2,550 and get the $250 back.”

           106.      Barbri’s incentive to help implement the scheme was to realize an increase in

    revenue that they normally would not have seen. As detailed herein, Barbri would realize

    more revenue from the Barbri Agreement with Infilaw during the Barbri Initial Term than

    they would actually realize if they had signed up individual students – as they do with all

    other law schools.

           107.      Scott Thompson stated in an email dated January 8, 2013 that ASLS had paid

    Barbri based upon the Barbri Agreement and that he was expecting student refunds within a

    week so that the check exchange process could start with students who were now listed as

    “graduated” in the student database.




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               108.   An email sent from Mary Goza to ASLS’ employees on or about January 18,

    2013 details that Barbri not only knew about the scheme to move money to the “10” side of

    the 90/10 equation, but that they were instrumental in designing and deploying the scheme.

    In that email, Ms. Goza lays out the “CHECK EXCHANGE PROCESS” as:

               CHECK EXCHANGE PROCESS:

               1) A spreadsheet was sent to each school showing the amount each student paid to
               BARBRI. When we get confirmation on those lists we will process checks (FCSL is
               still outstanding).

               2) A check made payable to each student will be issued and sent to each school. We
               cannot do a lump sum check because the students are enrolled in the BARBRI system
               and therefore the account is in the student’s name.

               3) Each school will be responsible for notifying the impacted students and completing
               the check exchange.

               4) Each school will distribute the checks to each student, and in return the student will
               provide a personal check payable to the school for the same amount. To ensure
               compliance with 90/10, the student should not merely sign over the check to the
               school, but instead provide direct funds. The process will include out of state
               students, thus the school must notify and complete the exchange with the out of state
               students. (Emphasis added).

               109.   A memo distributed by Infilaw to the Defendant Schools even detailed and

    copied the check exchange program narrative nearly verbatim from Mary Goza’s email,

    stating:

               MyBar CHECK EXCHANGE PROCESS:

               A spreadsheet was sent to each school showing the amount each student paid to
               BARBRI. When we get confirmation on those lists we will process checks (FCSL is
               still outstanding).

               A check made payable to each student will be issued and sent to each school. We
               cannot do a lump sum check because the students are enrolled in the BARBRI system
               and therefore the account is in the student's name.




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           Each school will be responsible for notifying the impacted students and completing
           the check exchange.

           Each school will distribute the checks to each student, and in return the student will
           provide a personal check payable to the school for the same amount. To ensure
           compliance with 90/10, the student should not merely sign over the check to the
           school, but instead provide direct funds. The process will include out of state
           students, thus the school must notify and complete the exchange with the out of state
           students.
           110. For the summer 2012 bar review course, ASLS received checks for

    approximately 70 graduates representing approximately $184,000. This was income that was

    owed and had already been paid to Barbri based on the students’ agreements with Barbri.

    Through the check exchange program ASLS illegally counted a large and material amount of

    this money as non-Title IV income in its 2012 annual audit submitted to the DOE.

           111.   In an email dated January 30, 2013, Mary Goza stated that both CSL and

    ASLS will receive student refund checks from Barbri on February 4, 2013.

           112.   ASLS obtained from Barbri lists of students that had made payments to Barbri

    for summer 2013 bar review courses. These students had already taken a Barbri bar

    preparation course and already taken the summer 2013 bar exam. But in its efforts to falsify

    its 90/10 Revenue calculation, ASLS contacted these students, attempted to make them cash

    a “refund” check from Barbri, and then immediately write a check in the same amount to

    ASLS for its myBAR program. Students that would not comply with this obvious charade

    were threatened that ASLS would withhold their character and fitness certification for those

    students who had passed their bar exams and were applying for bar admission. Barbri sent

    refund checks for approximately 63 former students to ASLS and ASLS was successful in

    convincing many of these students to participate in the check exchange process. The checks




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    from these students were falsely reported by Infilaw as non-Title IV revenue on its 2013

    annual audit submitted to the DOE.

           113.    In order to force students to enter into the check exchange process, i.e., to

    enter into a sham transaction with Barbri and the Defendant Schools, the schools resorted to

    making threats to students and recent graduates, including that the school would withhold

    transcripts required for the students’ bar admission (assuming they passed the bar) or would

    report any unpaid debt to character and fitness.

           114.    In fact, the Defendant Schools’ were so concerned with ensuring the funds

    were collected to knowingly inflate and misstate the 90/10 revenue calculations, that they

    even resorted to sending threatening emails to students the night prior to bar exams to inform

    them that the payment must be made to Defendant Schools as the Defendant Schools “would

    like to avoid any questions during Character and Fitness review.”

           115.    The purpose of the internal bar exchange programs and check exchange

    process was to knowingly misstate the Defendant Schools’ 90/10 revenue calculation. For

    example, on September 15, 2011, the Dean of ASLS (then called the Phoenix School of Law)

    informed the Director of Academic Services at ASLS that Defendant Infilaw had "tasked"

    ASLS with "operating our own bar prep course as a real solution for 90/10." The Dean

    further described "this important initiative for our 90/10" as a "top, top priority for both the

    school and the consortium." The Dean also insisted that this "90/10 program" begin in

    December 2011 for those taking the February 2012 bar exam. After the ASLS’ Director of

    Academic Services raised ethical objections to forcing students to use an internal bar

    preparation course, ASLS terminated the Director’s employment.




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           116.    The sham nature of the revenue recognized by the Defendant Schools in 2011

    through 2013 for the Schools’ internal bar preparation course is evidenced by the

    conversations that occurred between Barbri, Infilaw and the Defendant Schools regarding

    rebranding or reprinting Barbri’s materials with Infilaw or the Defendant Schools’ branding.

    When Barbri informed employees of ASLS that the bar exam course materials had already

    been printed for 2012 with the Barbri logo and branding, it was suggested that ASLS print

    stickers and manually attach them to the Barbri books to make them look as if ASLS and

    Infilaw had a role in developing the materials. In reality, the $2500 each student paid to

    ASLS for the myBAR course was entirely for the use of the same Barbri materials and

    lectures that were used for Barbri courses offered at the other law schools in Arizona.

           117.    In addition to the anti-competitive and sham nature of the internal bar

    preparation course revenue, the entire amount of the internal bar preparation course fees paid

    to the Defendant Schools was really for “books and materials” provided by Barbri. As a

    result, the Defendant Schools were prohibited from counting this money as non-Title IV

    90/10 revenue since this amount was not included or disclosed as tuition, fees, or other

    institutional charges. 34 C.F.R. § 668.28(a)(7)(v).

           118.    Infilaw and the Defendant Schools’ arrangements with Barbri contained

    unwritten agreements that prohibited Barbri from hosting informational sessions or setting up

    recruitment “tables” on campus, sending emails to students regarding Barbri’s bar

    preparation programs, offering tuition assistance and discounts to students or otherwise

    competing with Infilaw in pricing or advertising to Infilaw students for bar preparation




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    courses. ASLS prevented any other bar review programs from marketing to students on

    campus.

           119.      The Defendant Schools’ were so committed to the scheme, that even when

    students who got wind of the scheme requested to not be a part of it, Scott Thompson tasked

    Relator Reid Potter to “reach out to the student and explain the situation and correct the

    inaccuracies.”

           120.      Scott Thompson further requested Relator Potter go “door-to-door” to

    students’ households to perform the check exchange with students who had not done already

    exchanged checks.

           121.      Scott Thompson demanded that Relator Potter setup a table in front of bar

    study classrooms and not allow individual students to attend who had not participated in the

    check exchange – until after they had successfully exchanged checks with the student.

           122.      The urgency to collect the checks reached a fever pitch when Scott Thompson

    sent an email on March 5, 2013 stating that he was “very concerned about the status of our

    collections” on the internal bar review program, as “this is a very important piece of ’10

    money’.”

           123.      Thompson sent another email on March 16, 2013 again stating that collecting

    the money is “important to ‘10’ money” and that the collections should be completed by end

    of March 2013.

           124.      Thompson was alarmed that ASLS’ initial projections for myBAR revenue

    was higher than what was occurring in practice and sent an email on May 10, 2013 stating “




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    Once we get the reconciliation solved, we can work on a process to optimize ‘10 money’ as I

    believe we are missing opportunities.”

           125.    Thompson became increasingly concerned with collections efforts and sent an

    email on May 21, 2013 stating that he may work with Barbri to get students who were still

    directly enrolled in Barbri’s courses into ASLS’ myBAR program so that “we can get the

    ‘10’ money.”

           126.    Infilaw, the Defendant Schools, and Barbri conspired to manipulate and

    falsify the Defendant Schools’ 90/10 Rule data by entering into an illegal price fixing and

    anti-competitive arrangement that limited students’ ability choose between multiple

    competing live bar preparation programs, as well as eliminating discounts and other

    incentives that would typically be offered to students by Barbri and other established

    programs.

    VIII. SUBSTANTIAL MISREPRESENTATIONS REGARDING THE NATURE OF
    DEFENDANT SCHOOLS’ EDUCATIONAL PROGRAMS, FINANCIAL CHARGES,
    AND EMPLOYABILITY OF GRADUATES.

           127.    Title IV/HEA prohibits an institution from engaging in “substantial

    misrepresentation of the nature of its educational program, its financial charges, or the

    employability of its graduates.” 34 C.F.R. § 668.71(b). That prohibition extends to

    misrepresentations “in all forms, including those made in advertising, promotional materials,

    or in the marketing or sale of courses or programs of instruction offered by the institution.”

    Id. Violation of this prohibition may subject an institution to loss of its eligibility and access

    to Title IV, HEA funds. As alleged herein, the Defendant Schools repeatedly violated this

    regulation by publishing materially false and misleading representations about bar passage,




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    academic, and career prospects, and pushing unsuspecting students into loans that could not

    be repaid.

           A.      ALTERNATIVE ADMISSIONS MODEL FOR LEGAL EDUCATION (AAMPLE)

                     1.   ASLS PUBLISHED ADMISSION STATISTICS AND BAR PASSAGE RATES
                          ON ITS WEBSITE AND OTHER MARKETING MATERIALS.

           128.    Before her employment and before enrolling at ASLS, Lorona reviewed

    statistics set forth in marketing materials physically placed throughout the admissions area of

    the ASLS facility. This marketing material included the annual “Viewbook” which contained

    favorable statements from previous students about the caliber of the students attending ASLS

    and the quality of the education they received from ASLS. The “Viewbook” was also

    available online on ASLS’ website.

           129.    ASLS posted on its website and in its “Viewbook” enrollment statistics,

    including Law School Admission Test (“LSAT”) scores and undergraduate GPAs, of its

    students. ASLS updated this information at least annually on its website and in the

    “Viewbook.” ASLS also provided this information to the Law School Admission Council

    (“LSAC”), which similarly posted it on its website for review by students and potential

    students of ASLS. Lorona reviewed these statistics both online and in the paper copy

    marketing materials and “Viewbooks” available in the admissions area of ASLS facilities.

           130.    Lorona also reviewed additional information on ASLS’ graduates provided by

    ASLS in its student application packet. From this information, Lorona was impressed to learn

    that only two out of 70 students that were actively seeking employment were unemployed.

    She also learned from the application packet that the median salary for ASLS graduates was

    $60,000, with a median student loan debt of $101,310.



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           131.    ASLS’ law school application instructions that ASLS provided to Lorona

    online contained in its Section 10 explicit assurance that: “Phoenix School of Law’s

    [ASLS’s] admissions process is governed by the ABA Standards for Approval of Law

    Schools and Interpretations. In particular, Standard 501 provides that: (a) A law school’s

    admission policies shall be consistent with the objectives of its educational program and the

    resources available for implementing those objectives. (b) A law school shall not admit

    applicants who do not appear capable of satisfactorily completing its educational program

    and being admitted to the bar.”

           132.    Relator Lorona read and relied upon these assurances in deciding to enroll at

    ASLS as a law student. ASLS repeated these assurances in its online application page

    through at least 2012.

           133.    Lorona also read on ASLS’ website prior to enrolling at ASLS as a student

    that ASLS’ graduates had bar passage rates exceeding 80%.

           134.    Based upon all the foregoing information, which ASLS provided to Lorona

    prior to her enrollment, Lorona decided that ASLS would be a good place for her to work and

    attend law school.

           135.    Specifically, Lorona reasonably believed based upon this information that if

    she completed ASLS’ law school program she had a very good chance of passing the bar

    examination and would easily be able to find employment at a law firm or even in the public

    sector making approximately $60,000 per year.

           136.    In August 2009, Lorona applied for traditional enrollment at ASLS and was

    accepted as a traditional evening student.




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            137.   Throughout the time she was a law student of ASLS, ASLS continued to post

    on its website and in its “Viewbook” statistics including LSAT scores and grade point

    averages of ASLS students. ASLS updated the reported statistics at least annually. ASLS also

    continued to provide those statistics to LSAC, which with ASLS’ knowledge and permission,

    continued to post them on LSAC’s website for review by students and potential students of

    ASLS.

            138.   LSAT scores and undergraduate GPAs are commonly accepted indicators of

    the likelihood of a student’s success in law school and ability to pass the bar examination.

            139.   Throughout the time Lorona was a student at ASLS she continued to read and

    rely upon the admission statistics, including LSAT scores and undergraduate GPAs of ASLS

    students as reported on ASLS’ website and marketing materials, including the “Viewbook”

    and on LSAC’s website.

            140.   Lorona took comfort in the fact that the reported statistics regarding LSAT

    scores and undergraduate GPAs of ASLS students remained stable throughout this time, and

    compared favorably to comparable statistics regarding students enrolled at other law schools.

            141.   For example, median LSAT scores and undergraduate GPAs for ASLS

    students as reported on ASLS website in the “Viewbook” as of Spring 2008 were 153 and

    3.18 respectively.

                     2.    ADMISSION OF LARGE NUMBERS OF STUDENTS THROUGH THE
                           AAMPLE PROGRAM MATERIALLY DECREASED THE MEDIAN AND
                           AVERAGE LSAT SCORES AND UNDERGRADUATE GPAS OF ASLS’
                           STUDENT BODY.

            142.   By 2005, ASLS was admitting students to its law school through a program

    known as Alternative Admissions Model for Legal Education (“AAMPLE”).



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           143.    Admission and enrollment through AAMPLE does not require grade point

    average or LSAT scores within the range of traditional admissions. AAMPLE students are

    admitted through alternative means. As such, and unbeknownst to Lorona, LSAT and

    undergraduate GPA statistics were not included in the admissions statistics ASLS posted on

    its website, published in its marketing materials, including the “Viewbook” and provided to

    the LSAC for review by potential and existing ASLS students.

           144.    In early 2011, Lorona expressed concern in meetings with Dean Mays,

    Thompson, the admissions staff, and financial aid staff that the school was deceptively

    marketing to incoming students, in violation of 34 C.F.R. § 668.6. Lorona also expressed

    concern that ASLS was also providing misleading data to investors and incoming students

    regarding potential career success and student financial obligations.

           145.    ASLS advertises its AAMPLE program as offering “motivated and

    determined individuals with lower traditional indicators (i.e. LSAT and/or GPA) the

    opportunity to earn a seat into the competitive Juris Doctorate program at ASLS.” Dean

    Mays claimed that students matriculating through AAMPLE are just as successful as

    traditional students, a claim that is belied by all available data. Students entering law school

    through AAMPLE may appear to be successful when the class is largely made up of

    AAMPLE students because law school grades are curved, resulting in some students being

    successful despite lack of ability.

           146.    Indeed, Lorona told Dean Mays and others that the statements were not true

    and that the AAMPLE students are not as likely to pass classes, graduate, pass the bar exam,

    and obtain gainful employment. Lorona’s concerns were based on ASLS cumulative data as




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    well as her own personal observations from the classroom, meeting with AAMPLE students,

    meeting with traditionally admitted students, downward trending bar passage rates, and

    discussions with the career placement department regarding AAMPLE student employment.

           147.    In response to Lorona’s statements, Dean Mays became upset and had the

    Registrar’s Office create reports showing the grade point average of student admitted through

    alternative admissions programs versus traditional admissions. Such reports were intended to

    mislead prospective students and current students as to the caliber of students attending

    ASLS. Due to the grading curve and percentage of AAMPLE students in relation to

    traditionally admitted students, these reports gave the illusion that the AAMPLE students

    were performing at the same level as traditional students.

           148.    When AAMPLE was created, Thompson stated that the program would go

    forward because he had been “instructed to put asses in seats.” AAMPLE students were

    initially required to pay $3,500.00 to attend the AAMPLE program, but ASLS eventually

    reduced that amount to $300.00 to encourage more and more students to enroll and

    eventually matriculate into ASLS, regardless of their academic standing or prospects.

           149.    Additionally, in the beginning, ASLS would offer admission to only the top

    few students emerging from the AAMPLE program. After realizing the program was a

    source of enrollment and revenue, ASLS began offering admission to all AAMPLE students,

    even though AAMPLE does not require GPAs or LSAT scores within traditional ranges.

           150.    As evidence of Infilaw’s commitment to bring any warm body it could find to

    fill seats, Infilaw developed at least one lead generation website to bring students in to the




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    Defendant Schools. Infilaw paid for the creation of this separate website, located at

    www.lawcareernow.com, as a means of recruiting students into the AAMPLE program.

           151.    The AAMPLE program is advertised on the site as “a 6 - 7 week online

    program offering two actual law school courses, Fourth Amendment and Negotiable

    Instruments, that allow prospective law school students to experience the structure and rigor

    of law school, gain a true understanding of what to expect in the classroom and how to

    succeed.” The site further advertises “Success in the AAMPLE program, will provide you

    with acceptance at one of the participating law schools.” The participating law schools are

    ASLS, FCSL, and CSL.

           152.    ASLS typically does not include AAMPLE students in their statistics and data

    that are publicly reported regarding career placement, bar passage, and financial obligations.

           153.    The percentage of AAMPLE applicants who were admitted to ASLS

    increased from 11% in 2005 to 80% in Spring 2011. The number and percentage of

    AAMPLE students included in ASLS’ student body likewise increased substantially and

    materially during that time period.

           154.    However, ASLS did not disclose on its website or in marketing materials or

    the “Viewbook,” or in the information it provided to LSAC for posting on its website that the

    reported admissions statistics, including LSAT scores and undergraduate GPAs, did not

    include the LSAT scores or undergraduate GPAs of AAMPLE students. As such, the

    statistics ASLS reported were materially false and misleading.

           155.    Lorona did not know that the reported LSAT scores and undergraduate grade

    point averages of ASLS students that she reviewed on ASLS website and marketing




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    materials, including the “Viewbook,” excluded AAMPLE students. This omission was

    material, and rendered the reported statistics materially false and misleading.

           156.    Defendants thus misrepresented their admission requirements and the caliber

    of students being admitted to ASLS.

           157.    Reporting enrollment and success statistics based only on the non-AAMPLE

    portion of the student population is grossly misleading to incoming and existing students.

           158.    The actual impact of the admission of ever-increasing numbers of AAMPLE

    students was not known to Lorona until ASLS’ recent disclosure of abysmal and

    progressively lower bar examination passage rates, culminating in the July 2015 bar passage

    rate of 26.4% for first-time and repeat takers.

           159.    Actual bar pass rates (combined first-time and repeat takers) of ASLS

    graduates during Lorona’s tenure as a student of ASLS were as follows: February 2012

    63.8%; July 2012 73.1%; February 2013 72.9%; July 2013 63.3%; February 2014 48.8%;

    July 2014 49.5%; and, February 2015 52.6%.

           160.    Lorona took the February 2015 bar examination.

           161.    The actual bar pass rate of ASLS graduates taking the July 2015 bar

    examination was 26.4%. The bar pass rate for Arizona State University Sandra Day

    O’Connor College of law and University of Arizona James E. Rogers College of Law

    graduates taking the July 2015 bar examination were 81.8% and 77%, respectively.

           162.    However, prior to and continuing through the time that Lorona was a student

    of ASLS, ASLS continued to tout “Ultimate Bar Pass Rate[s]” exceeding 80%. For example,

    ASLS’ “Viewbook” marketing brochure which was used to market to and attract students to




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    ASLS in at least the years 2013 and 2014 prominently touts an “Ultimate Bar Pass Rate” of

    86% for ASLS graduates, and in fine-print purportedly bases this on “[g]raduates who passed

    the Arizona Bar Exam on the first or subsequent attempts.”

           163.    In an October 16, 2014 email to ASLS students, including Lorona, Dean Mays

    reported an “Ultimate pass rate” of 80.8%.

           164.    Throughout her tenure as a law student of ASLS Lorona read and relied upon

    and continued to read and rely upon ASLS’s representations of an “Ultimate Bar Pass Rate”

    exceeding 80%.

           165.    Moreover, as the bar pass rate of ASLS graduates continued to decline,

    enrollment at ASLS appeared to increase substantially during Lorona’s tenure. Thus, the

    “Ultimate” bar pass rates touted by ASLS were extremely misleading at best.

           166.    The Bar Examination statistics and pass rates maintained by the Arizona

    Supreme Court indicate that the passage rate for individuals taking the Arizona Bar

    Examination for a second time or subsequent times is substantially lower than the passage

    rate for individuals taking the Arizona Bar Examination for the first-time.

           167.    Throughout the time Lorona was a law student of ASLS, Lorona continued to

    rely on ASLS’ representations regarding the success of its graduates in finding employment

    in in average salary of its graduates. This information could be found in ASLS’ marketing

    materials and website.

           168.    ASLS stated on its website from at least 2010 through 2013 that: PSL’s

    [ASLS’s] Bar Exam passage rates are high, and the school places 97% of its graduates into

    jobs within nine months of graduation.




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              169.   Lorona read and took continuing comfort in this representation, and it gave

    her assurance and confidence that she would be able to obtain employment with her ASLS

    degree.

              3.     DEFENDANTS KNEW BUT FAILED TO DISCLOSE THAT THE PERCENTAGE OF
                     ITS STUDENTS LIKELY TO PASS THE BAR EXAM WAS DECLINING RAPIDLY
                     AND MATERIALLY

              170.   Infilaw and ASLS studied bar passage rates for its students and developed a

    formula to predict bar exam failure. The failure predictor formula includes LSAT scores,

    undergraduate GPA, and law school GPA, among the factors. This data is used by Infilaw’s

    statisticians to generate Excel spreadsheets that depict the failure chance of each student

    including using students’ sex and race as quantitative factors to identify students at risk of

    failing the bar in the statistical “models” employed by the Defendant Schools.

              171.   The test used by virtually every ABA-accredited law school is the LSAT.

    Prospective law students that take the LSAT are given a score that ranges from 120 to 180

    and scores from each test administration are curved to account for test-to-test variation in

    difficulty. The median LSAT score is between a 151 and 152, meaning that 50% of students

    scored 152 and above while approximately 50% score 151 or below. An LSAT score of 140

    corresponds to the 13.4 percentile, meaning that only 13.4% of test takers scored 140 or

    below. An LSAT score of 135 corresponds to approximately the bottom 5th percentile.

              172.   The LSAC has also commissioned a study into correlation between bar

    passage rates, on the one hand, and LSAT scores, undergraduate GPA, and law school GPA,

    on the other hand. LSAC found that LSAT scores correlate to bar passage at a.30 correlation,

    and law school GPA held a.38 correlation.




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           173.    The Defendant Schools’ median LSAT scores have fallen precipitously over

    the last 5 years. For example, the ASLS median LSAT score was 150 in 2010, but fell to 144

    by Fall 2014. CSL’s median LSAT score was 149 in 2010, but fell to 142 by Fall 2014. And

    FCSL’s median LSAT score was 149 in 2010, but fell to 143 by Fall 2014. This means 25%

    of FCSL’s starting class, 106 students, was in the bottom 13.7% of all LSAT takers. The

    median undergraduate GPA for FCSL’s 2014 starting class was 2.93.

           174.    In 2014, ASLS and FCSL had twenty-five percent (25%) of its entering class

    score a 140 or below on the LSAT. CSL had twenty-five percent (25%) of its entering class

    score 138 or below on the LSAT for the same year. The number of students in the 2014

    starting classes for the Defendant Schools was two hundred sixty-two (262) at ASLS, four

    hundred twenty-four (424) at FCSL, and four hundred forty-six (446) at CSL. Based on their

    admission of students with lower LSAT scores, this means that the Defendant Schools

    enrolled more than two hundred eighty-three (283) students that did not score better than the

    bottom 13.7% of all LSAT takers. At least twenty-five percent (25%) of CSL’s entering class

    were in the bottom ten percent (10%) of LSAT scores. Additionally, more than fifty percent

    (50%) of the one thousand one hundred thirty-two (1,132) students that Infilaw enrolled in

    2014 had an undergraduate GPA of less than 2.94.

           175.    Knowing that LSAT correlation is a strong indicator of bar passage success,

    the Defendant Schools should have and must have known that a large percentage of their

    newly admitted students were not likely to pass the bar.

           176.    Both ASLS and Infilaw thus knew, but failed to disclose, that the percentage

    of its students who were likely to ever pass the bar examination was declining substantially




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    and rapidly throughout the time of Lorona’s legal education at ASLS. This omission was

    material. For example, in an email dated December 23, 2014 from Ann Woodley, ASLS’s

    Associate Dean for Bar Pass and Student Success to certain ASLS students and graduates

    stated that, “[t]he ASLS grads planning to take the bar exam in February have a predicted

    pass rate of 47%, compared to an expected state average of greater than 70%. This is based

    on our statistical analysis of how our students have performed on the last few bar exams (and

    is primarily focused on law school grade point averages and LSAT scores).” This number

    includes predicted bar passage rates for all students graduating in August 2014 and January

    2015, including those who participated in AAMPLE.

           177.    Defendants also knew, but failed to disclose, that the substantial decline in

    likely bar pass rates was due to the admission of ever-increasing numbers of students through

    the AAMPLE program. This omission was likewise material.

           178.    To make matters worse, Infilaw attempts to keep all students enrolled in the

    Defendant Schools even after it becomes apparent that the students are unlikely to pass the

    bar or be able benefit from a legal education. For example, students that have less than a 2.5

    law school GPA, or even students with less than a 2.0 GPA, are allowed to continue taking

    courses—even though the Defendant Schools own internal grading systems indicate the

    students are poor-performing and likely to fail the bar. This insures that Infilaw can continue

    collecting Title IV money for these students. At the same time, the Defendant Schools have

    implemented policies designed to undermine high performing students’ attempts to transfer

    to better law schools.




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           179.    The ASLS bar examination preparation coach to whom Lorona was assigned

    told Lorona frankly that the School is concerned that it may lose accreditation and access to

    Title IV Federal Funding due to drastically low performance numbers.

           180.    Rather than disclosing this substantial and material decline in their students’

    abilities to pass the bar exam and in expected bar passage rates, Defendants have attempted

    to manipulate reported bar pass rates.

           B.      BAR DEFERMENTS AND PAYMENTS TO POTENTIAL TEST TAKERS.

           181.    Knowing they were facing a mounting problem, and in an attempt to

    compensate for the admission of students who do not meet ABA admission standards, the

    Defendant Schools began paying students not to take the bar exam upon graduation based on

    these calculated failure predictors. The misnomer selected for this scheme was the Unlock

    Potential (“UP”) program. The UP program is an outright attempt to deceive the ABA

    accrediting board, DOE, incoming students, existing students, and graduating students by

    attempting to fallaciously increase bar passage percentages.

           182.    Beginning in May 2014, ASLS along with its Infilaw sister schools Florida

    Coastal School of Law and Charlotte School of Law actually began to pay substantial and

    material numbers of their graduates to defer or forego taking the bar exam upon graduation

    based on these calculated failure predictors.

           183.    This is an attempt to deceive the ABA accrediting board, and Department of

    Education, potential and existing students, and the general public by artificially increasing

    bar passage percentages.




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           184.    At least 39 otherwise first-time bar exam takers were paid by ASLS to defer

    the July 2014 bar exam.

           185.    ASLS students who were predicted to fail the February 2015 bar exam

    according to Infilaw’s failure predictor formula were offered $5,000 and other benefits such

    as bi-weekly payments, to defer taking the bar exam.

           186.    ASLS and Infilaw representatives held meetings on January 16 and 17, 2015,

    to discuss first-time bar exam takers who were predicted to fail the February 2015 bar exam.

    Those students were offered $5,000.00 and other benefits, such as bi-weekly payments, to

    defer taking the bar exam. Moreover, ASLS students who were unable to afford bar

    preparation courses, but did not fall within Infilaw’s failure predictor formula, were denied

    financial assistance to prepare for the February 2015 bar exam.

           187.    Additionally, upon information and belief, ASLS counted students they paid

    under the UP program as full-time employees for purposes of reporting to the ABA and

    DOE. To create a paper trail, ASLS provided 1099s to the students in the UP program.

           188.    Lorona has personally felt the brunt of Defendants’ tactics. On or about

    February 11, 2015, Lorona received a phone call from a representative of ASLS or Infilaw

    stating she was on a list of students not likely to pass the February bar exam. Lorona’s school

    assigned bar coach also told Lorona that ASLS is concerned that it may lose accreditation

    and access to Title IV/HEA funding due to drastically low performance numbers.

           189.    ASLS, through its representative, then offered to pay Lorona $5,000 to defer

    the bar exam until July 2015 with an additional monthly stipend in an attempt to inflate the

    passage numbers. The ASLS representative informed Lorona that many students have




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    already taken advantage of the “incentives” meant to deceive regulatory agencies, previous,

    current, and potential students. Lorona declined to participate in the program or defer taking

    the bar examination. Other students sitting for subsequent bar exams were offered an

    increased amount of $10,000 in personal phone calls made by Dean Mays. Mays told media

    outlets that she was not asking people to not take the exam, but merely advising them they

    could enroll in the UP program.

           190.    The effect of Defendants’ actions was to prevent students who Defendants

    predicted would fail the bar exam from taking the bar exam and thereby manipulating,

    misrepresenting, and gaming the bar exam passage rates in order to retain accreditation and

    receive other benefits, such as retaining Title IV/HEA eligibility.

           191.    These actions are directly contradictory to Defendants’ public marketing

    strategies, which are intended to induce students to enroll at Defendant Schools and apply for

    and receive institutional and federally-backed student loans in order to pay tuition.

           192.    ASLS and Infilaw misrepresented the career prospects and preparation

    available to its students. A large percentage of students admitted to Defendant Schools with

    low LSAT scores and low undergraduate GPAs either fail to graduate or fail the bar exam.

    Even fewer become licensed attorneys with jobs that require a law license. Infilaw knows

    these students are more likely than not to fail at completing their legal education and passing

    a bar exam. Yet, instead of not admitting these students, which would decrease Infilaw’s

    revenue, the Defendant Schools, at the direction of Infilaw, have instead opted to continue

    admitting unqualified students and engage in a widespread campaign to manipulate and

    conceal the negative data that would otherwise be generated by these unqualified students.




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    Without this manipulation, the Defendant Schools would not be able to maintain ABA

    accreditation and Title IV eligibility.

           193.    ASLS also misleads students by enrolling and then giving “credit” to those

    ineligible for federal financial aid, purportedly to “giv[e] students time to fix their credit to

    receive loans,” despite knowing that the DOE does not lend to students with credit blemishes

    for specified time periods.

           C. DEFENDANTS MISLEAD PROSPECTIVE STUDENTS REGARDING FINANCIAL
              OBLIGATIONS

           194.    Defendants misrepresented what incoming students should expect to pay for

    their education. For example, ASLS’s website represented that tuition and fees for the J.D.

    program during the 2010-11 academic year was $101,310.00, with books and supplies an

    additional $2,184.00. ASLS also represented that the median cumulative program debt for

    graduates between July 1, 2009 and June 30, 2010 was $93,142.51 for federal student loan

    debt and $5,000.00 for private student loan debt.

           195.    However, ASLS’ most recent Gainful Employment Disclosure lists the

    median loan debt as $187,792 for Federal loans alone. Additionally, FCSL’s median loan

    debt is $174,844 and CSL’s is $159,208. The amounts do not include private or

    undergraduate student loans.

           196.    To add insult to injury, overall, only thirty-five percent (35%) of Infilaw’s

    2013 graduates found permanent full-time jobs that required a law license.

           197.    Despite notice provided by Lorona, ASLS continued its marketing by creating

    deceptive documents and statistics designed to increase non-traditional enrollment and

    publicly stating the same.



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    IX.    CIRCUMVENTING ABA ACCREDITATION REQUIREMENTS

           198.    Title IV/HEA requires that an institution meet the requirements established by

    accrediting agencies or association. 34 C.F.R. § 668.14(b)(23). Under 34 C.F.R. § 602.1 et

    seq., the Council and the Accreditation Committee of the ABA Section of Legal Education

    and Admissions to the Bar is the accrediting agency for law schools in the United States.

    Failure to meet these requirements may subject an institution to loss of eligibility to receive

    Title IV, HEA program funds.

           199.    Under ABA Standard 501(b), “A law school shall not admit an applicant who

    does not appear capable of satisfactorily completing its program of legal education and being

    admitted to the bar.”

           200.    Nevertheless, Defendant Schools continue to admit applicants who do not

    appear capable of completing their legal education and being admitted to the bar, as evidence

    by median LSAT and GPA of matriculating students, the growing proportion of AAMPLE

    students, and the poor bar passage rates of the Defendant Schools.

           201.    Without a satisfactory bar passage rate, the ABA can and will remove

    accreditation from a law school. The Defendant Schools know this and have continued to

    game these statistics as discussed herein.

           202.    ASLS created reports showing the grade point average of students admitted

    through alternative admissions programs versus traditional admissions. Such reports were

    intended to mislead prospective students in violation of ABA Standards. Upon information

    and belief, similar reports were generated by the other Defendant Schools.




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           203.    Defendants have deceived the ABA and circumvented its accreditation

    requirements, thereby failing to comply with Title IV/HEA regulations requiring compliance

    with accrediting agency requirements.

           204.    ABA accreditation documents were prepared by the General Counsel of

    ASLS. Due to her initial position as executive assistant to the General Counsel, Lorona

    witnessed the accreditation process, giving her unparalleled access to the preparation and

    submission of such documents. In that manner, she possesses inherent indicia of reliability

    that such accreditation documents, with errors and misrepresentations, were submitted to the

    ABA, in violation of federal regulations.

           205.    Upon information and belief, similar accreditation documents were prepared

    by the other Defendant Schools, as overseen by Infilaw, under similarly misrepresentative

    schemes.

    X.     CLAIMS FOR RELIEF

                                              Count I
                  Violations of the False Claims Act – 31 U.S.C. § 3729(a)(1)(A)
                      Presenting or Causing to Be Presented False Claims
                                  (Against ASLS, CSL, and FCSL)

           206.    Relators re-allege and incorporate the allegations contained in paragraphs 22

    through 205 as though fully set forth herein.

           207.    The False Claims Act prohibits any person from knowingly presenting, or

    causing to be presented, to an officer or employee of the United States Government a false or

    fraudulent claim for payment or approval. 31 U.S.C. § 3729(a)(1)(A).

           208.    ASLS, CSL, and FCSL knowingly presented or caused to be presented, and

    continues to present or cause to be presented, false or fraudulent claims for payment or



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    approval, directly or indirectly, to officers, employees, or agents of the United States, in

    violation of 31 U.S.C. § 3729(a)(1)(A).

           209.    For example, and without limitation, ASLS, CSL, and FCSL presented to

    DOE executed PPAs, which falsely certified compliance with all mandatory regulations

    under Title IV. Absent such false certification, DOE would not have distributed Title

    IV/HEA funds to the Defendant Schools.

           210.    These PPAs were falsely certified because, among other reasons and without

    limitation, ASLS, CSL, and FCSL sought funding for students who would not normally be

    admitted to any law school under ABA accreditation policies; ASLS, CSL, and FCSL failed

    to comply with ABA accreditation policies; Defendant Schools failed to comply with and

    fraudulently circumvented the 90/10 Rule.

           211.    Accordingly, during such periods that falsely certified PPAs were submitted

    to the federal government, all claims for federal Title IV/HEA funds were false or fraudulent.

           212.    ASLS, CSL, and FCSL also made false statements or misrepresentations to

    the ABA, as the accrediting agency for law schools in the United States. The statements

    made were essential to the ASLS, CSL, and FCSL maintaining and receiving their

    accreditation, including statements as to the actual and potential bar passages rates, the

    caliber of students admitted, and the financial obligations of those students.

           213.    Accordingly, during such periods as ASLS, CSL, and FCSL made false

    statements or misrepresentations to the ABA, all claims for federal Title IV/HEA funds were

    false or fraudulent.




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           214.    Lorona possesses a unique and unparalleled position to acquire knowledge

    regarding the actions of ASLS, CSL, and FCSL and the submission of false claims. Lorona

    has direct and independent knowledge of the allegations in this Third Amended Complaint.

    Due to her positions within the General Counsel’s office and the office of financial aid, she

    witnessed and was aware of the submission of false claims and the receipt of improperly

    solicited federal funds, which were then distributed to students, who then used those funds to

    pay the exorbitant tuition required by ASLS, FCSL, and CSL. Lorona therefore possesses

    unique indicia of reliability as to the submission of false claims.

           215.    For those false or fraudulent claims submitted by ASLS, FCSL, and CSL, it

    was foreseeable and in fact the intended result that those claims would be submitted to the

    federal Government. In that vein, ASLS, FCSL, and CSL acted with the requisite scienter to

    violate the False Claims Act.

           216.    The amounts of the false or fraudulent claims made to the United States were

    material. The United States, unaware of the falsity of the claims and statements made by

    ASLS, FCSL, and CSL and in reliance on the accuracy thereof, paid and continues to pay

    unlawfully claimed Title IV/HEA Funding.

           217.    As a result of ASLS’, FCSL’s, and CSL’s violations of 31 U.S.C. §

    3729(a)(1)(A), the United States has suffered substantial losses in an amount that exceeds

    hundreds of millions of dollars. The United States is entitled to treble damages, to be

    determined at trial, plus a civil penalty of $5,500 to $11,000 for each such false claim

    presented or caused to be presented by Defendants.




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                                            Count II
                 Violations of the False Claims Act – 31 U.S.C. § 3729(a)(1)(B)
           Creation or Use of False Statements or Records Material to a False Claim
                                (Against ASLS, CSL, and FCSL)

           218.    Relators re-allege and incorporate the allegations contained in paragraphs 22

    through 205 as though fully set forth herein.

           219.    The False Claims Act prohibits any person from knowingly making, using, or

    causing to be made or used, a false record or statement material to a false or fraudulent claim.

    31 U.S.C. § 3729(a)(1)(B).

           220.    ASLS, CSL, and FCSL knowingly made, used, or caused to be made or used,

    false records and statements material to the false or fraudulent claims in violation of 31

    U.S.C. § 3729(a)(1)(A).

           221.    For example, and without limitation, ASLS, CSL, and FCSL presented to the

    DOE executed PPAs, which falsely certified compliance with all mandatory regulations

    under Title IV. These PPAs contained false records and statements. Among the false

    statements and records submitted, but without limitation, were statements to the ABA

    material to accreditation; statements regarding revenue received, in relation to the 90/10

    Rule; statements as to bar passage and career success rates; and statements as to financial

    obligations of students. Absent such false certification, the DOE would not have distributed

    Title IV/HEA funds to the ASLS, CSL, and FCSL.

           222.    By making the false records and statements and engaging in fraudulent

    practices, ASLS, CSL, and FCSL violated the ABA accreditation guidelines, in violation of

    34 C.F.R. § 668.1 et seq. Material violations of the guidelines led to the submission of claims

    for Title IV/HEA funds, which were false, as ASLS, CSL, and FCSL were ineligible for



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    reimbursement, yet received it only due to false records and statements made, which were

    material to the false claims made.

           223.    For those records and/or statements made or used or caused to be made or

    used, it was foreseeable and in fact the intended result that those statements and/or records

    would result in the payment of false claims.

           224.     ASLS, CSL, and FCSL acted with the requisite scienter to cause violations of

    the False Claims Act in the following ways: ASLS, CSL, and FCSL knowingly presented to

    the DOE executed PPAs, which falsely certified compliance with all mandatory regulations

    under Title IV; they made false statements and submitted false records to the ABA material

    to accreditation; they provided false statements regarding revenue received, to circumvent the

    90/10 Rule; they provided false statements as to bar passage and career success rates; and

    they provided false statements as to the financial obligations of students.

           225.    Accordingly, during such periods that falsely certified PPAs were submitted

    to the federal government by ASLS, CSL, and FCSL, all claims for federal Title IV/HEA

    funds were false or fraudulent.

           226.    Lorona and Potter possessed a unique and unparalleled position to acquire

    knowledge regarding the actions of ASLS, CSL, and FCSL, the making and use of false

    records and statements, and the submission of false claims. Lorona and Potter together have

    direct and independent knowledge of the allegations in this Third Amended Complaint. Due

    to their positions within the General Counsel’s office, academic success office, bar

    preparation programs, and the office of financial aid, they witnessed and were aware of




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    Defendants’ making and use of false records or statements to cause false claims to be

    submitted to, and approved by, the federal Government.

           227.    The amounts of the false or fraudulent claims made to the United States as a

    result of false records or statements were material. The United States, unaware of the falsity

    of the claims and statements made by ASLS, CSL, and FCSL and in reliance on the accuracy

    thereof, paid and continues to pay unlawfully claimed Title IV/HEA Funding.

           228.    As a result of ASLS’, CSL’s, and FCSL’s violations of 31 U.S.C. §

    3729(a)(1)(A), the United States has suffered substantial losses in an amount that exceeds

    hundreds of millions of dollars. The United States is entitled to treble damages, to be

    determined at trial, plus a civil penalty of $5,500 to $11,000 for each such false claim

    presented or caused to be presented by Defendants.

                                            Count III
             Violations of the Federal False Claims Act – 31 U.S.C. § 3729(a)(1)(C)
                                           Conspiracy
                         (Against Infilaw, Barbri ASLS, CSL, and FCSL)

           229.    Relators re-allege and incorporates the allegations contained in paragraphs 22

    through 205 as though fully set forth herein.

           230.    The False Claims Act provides that any person who conspires to commit a

    violation of sections 3729(a)(1)(A) and 3729(a)(1)(B) is liable to the United States

    Government for a penalty of not less than $5,500 and not more than $11,000, plus three times

    the amount of damages which the Government sustains. 31 U.S.C. § 3729(a)(1)(C).

           231.    Infilaw, Barbri ASLS, CSL, and FCSL conspired among themselves and with

    others to defraud the United States by submitting false and fraudulent claims and making,




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    using, or causing to be made or used, false records or statements material to fraudulent

    claims.

              232.   Infilaw, Barbri ASLS, CSL, and FCSL took actions in furtherance of their

    conspiracies, including but not limited to the payment of substantial sums of monies and

    weekly meetings to encourage the submission of false claims and the creation of false records

    and statements material to the submission of false claims. Indeed, Infilaw, Barbri ASLS,

    CSL, and FCSL conspired to defraud the DOE by accepting students who otherwise could

    not attend law school; by submitting falsified revenue data to feign compliance with the

    90/10 Rule; and by fabricating bar passage and career prospect statistics. This is without

    limitation, and Infilaw, Barbri ASLS, CSL, and FCSL committed other overt acts in

    furtherance of the conspiracy, all of which were in violation of the False Claims Act and

    which caused damage to the United States.

              233.   Specifically, Infilaw and the ASLS, CSL, and FCSL entered into agreements

    with Barbri to manipulate and misstate the Defendant Schools’ 90/10 Revenue and bar

    passage rates. Barbri entered into these agreements knowing that the purpose and effect of

    the agreements would violate 31 U.S.C. § 3729(a)(1)(A), § 3729(a)(1)(B), and §

    3729(a)(1)(G).

              234.   Infilaw, Barbri ASLS, CSL, and FCSL knowingly, recklessly, or with

    deliberate indifference agreed to perpetuate a fraudulent scheme to obtain and retain

    ineligible Title IV funding in violation of 31 U.S.C. § 3729(a)(1)(A), § 3729(a)(1)(B), and §

    3729(a)(1)(G).




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           235.    Lorona and Potter possess a unique and unparalleled position to acquire

    knowledge regarding the actions of Infilaw, Barbri ASLS, CSL, and FCSL, the making and

    use of false records and statements, the submission of false claims, and the conspiracy in

    furtherance thereof. Lorona and Potter together have direct and independent knowledge of

    the allegations in this Third Amended Complaint. Due to Lorona’s and Potter’s positions

    within the General Counsel’s office, academic success office, bar preparation programs, and

    the office of financial aid, they witnessed and were aware of Infilaw’s, Barbri’s ASLS’,

    CSL’s, and FCSL’s overt acts in furtherance of the conspiracy.

           236.    The amounts of the false or fraudulent claims made to the United States as a

    result of false records or statements were material. The United States, unaware of the falsity

    of the claims and statements made by Infilaw’s, Barbri’s ASLS’, CSL’s, and FCSL’s and in

    reliance on the accuracy thereof, paid and continues to pay unlawfully claimed Title IV/HEA

    Funding.

           237.    Defendants Infilaw, Barbri, ASLS, CSL, and FCSL are jointly and severally

    liable for every violation of the False Claims Act identified herein because these violations

    were committed in furtherance of a scheme to violate the False Claims Act, which was

    undertaken with the mutual agreement of each Defendant and knowledge of, or reckless

    indifference toward, the scheme’s illegality.

           238.    As a result of Infilaw’s, Barbri’s ASLS’, CSL’s, and FCSL’s violations of 31

    U.S.C. § 3729(a)(1)(A), the United States has suffered substantial losses in an amount that

    exceeds hundreds of millions of dollars. The United States is entitled to treble damages, to be




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    determined at trial, plus a civil penalty of $5,500 to $11,000 for each such false claim

    presented or caused to be presented by Infilaw, Barbri, ASLS, CSL, and FCSL.

                                            Count IV
             Violations of the Federal False Claims Act – 31 U.S.C. § 3729(a)(1)(B)
           False Certification of Compliance with Title IV/HEA Guidelines via PPAs
                                 (Against ASLS, CSL, and FCSL)

           239.    Relators re-alleges and incorporates the allegations contained in paragraphs 22

    through 205 as through fully set forth herein.

           240.    The False Claims Act prohibits any person from knowingly making, using, or

    causing to be made or used, a false record or statement material to a false or fraudulent claim.

    31 U.S.C. § 3729(a)(1)(B).

           241.    The PPA is a prerequisite for an institution to request and receive Title

    IV/HEA funding. ASLS, CSL, and FCSL knowingly made, used, or caused to be made or

    used, false records and statements material to false or fraudulent claims by falsely certifying

    compliance with the applicable regulations, statutes, and accreditation guidelines.

           242.    ASLS, CSL, and FCSL knew such certification to be false, and knew that such

    certifications would induce the federal Government to pay Title IV/HEA funds to the

    Defendants Schools when they were not entitled to make such claims.

           243.    Lorona possesses a unique and unparalleled position to acquire knowledge

    regarding the actions of Defendants, the making and use of false records and statements, the

    submission of false claims, and false certification of the PPAs. Lorona has direct and

    independent knowledge of the allegations in this Third Amended Complaint. Due to her

    positions within the General Counsel’s office and the office of financial aid, she witnessed

    and was aware of ASLS, CSL, and FCSL falsely certifying PPAs and making or using false



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    records or statements to cause false claims to be submitted to, and approved by, the federal

    Government.

           244.    The amounts of the false or fraudulent claims made to the United States as a

    result of false records or statements were material. The United States, unaware of the falsity

    of the claims and statements made by ASLS, CSL, and FCSL and in reliance on the accuracy

    thereof, paid and continues to pay unlawfully claimed Title IV/HEA Funding.

           245.    As a result of ASLS’, CSL’s, and FCSL’s violations of 31 U.S.C. §

    3729(a)(1)(A), the United States has suffered substantial losses in an amount that exceeds

    hundreds of millions of dollars. The United States is entitled to treble damages, to be

    determined at trial, plus a civil penalty of $5,500 to $11,000 for each such false claim

    presented or caused to be presented by ASLS, CSL, and FCSL.

                                             Count V
             Violations of the Federal False Claims Act – 31 U.S.C. § 3729(a)(1)(G)
                                   Retention of Overpayments
                             (Against Infilaw, ASLS, FCSL, and CSL)

           246.    Relators re-alleges and incorporates the allegations contained in paragraph 22

    through 205 as though fully set forth herein.

           247.    Infilaw, ASLS, FCSL, and CSL have knowingly concealed and/or knowingly

    and improperly avoided an obligation to transmit money to the federal government.

    Specifically, Infilaw, ASLS, FCSL, and CSL knew or should have known that they received

    millions of dollars in payments for claims they were not entitled to. The False Claims Act

    prohibits any person from knowingly making, using, or causing to be made or used, a false

    record or statement material to a false or fraudulent claim. 31 U.S.C. § 3729(a)(1)(B).

           248.    Once known, even if the improper payments were not fixed or clearly defined,



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    Infilaw, ASLS, FCSL, and CSL had an obligation to remit or report such funds to the

    government within sixty (60) days. Infilaw, ASLS, FCSL, and CSL have not reported or

    returned the improper payments described herein.

           249.    By knowingly concealing and/or knowingly and improperly avoiding its

    obligation to transmit money recovered to the federal government, Infilaw, ASLS, FCSL, and

    CSL have defrauded the United States in contravention of the False Claims Act, 31 U.S.C. §

    3729(a)(1)(G), to the damage of the treasury of the United States of America, by causing the

    United States to be deprived of funds that rightfully belong to the government.

           250.    As a direct and proximate result of Infilaw’s, ASLS’, FCSL’s, and CSL’s

    fraudulent and/or illegal actions and fraudulent conduct, the United States has been deprived

    of funds to which it is lawfully entitled and which were improperly paid to Infilaw, ASLS,

    FCSL, and CSL.

           251.    As a result of Infilaw’s, ASLS’, FCSL’s, and CSL’s violations of 31 U.S.C. §

    3729(a)(1)(A), the United States has suffered substantial losses in an amount that exceeds

    hundreds of millions of dollars. The United States is entitled to treble damages, to be

    determined at trial, plus a civil penalty of $5,500 to $11,000 for each such false claim

    presented or caused to be presented by Infilaw, ASLS, FCSL, and CSL.

    XI.    JURY DEMAND

           252.    Pursuant to Rule 38 of the Federal Rules of Civil Procedure,

    Plaintiffs/Relators Paula C. Lorona, Reid Potter, and the United States of America hereby

    demand a trial by jury.




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    XII.   PRAYER FOR RELIEF

           WHEREFORE Plaintiffs/Relators Paula C. Lorona, Reid Potter, and the United States

    of America pray for judgment in their favor, and:

           a.      That Defendants cease and desist from violating 31 U.S.C. §3729 et seq.;

           b.      That this Court enter judgment in Plaintiff/Relator’s favor and against

    Defendants in an amount equal to three times the amount of damages the United States has

    sustained because of Defendants’ actions, plus a civil penalty of not less than $5,000 and not

    more than $11,000 for each violation of 31 U.S.C. § 3729;

           c.      That Plaintiffs be awarded the maximum amount allowed pursuant to 31

    U.S.C. § 3730(d);

           d.      That Plaintiffs be awarded all costs of this action, including attorneys’ fees

    and expenses; and

           e.      That Plaintiffs recover such other relief as the Court deems just and proper.

    RESPECTFULLY SUBMITTED this 18th day of May 2018.

                                                 /s/ Sean A. Woods
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                                                 *Admitted Pro Hac Vice / Attorneys for Relator
                                                 Paula C. Lorona and Reid Potter

                                                         -and-



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                                               Fax: (813) 375-3710
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                                               Potter



                                 CERTIFICATE OF SERVICE

           I hereby certify that on May 18, 2018, a copy of the foregoing was e-filed with the
    Clerk, U.S. District Court.

                                               /s/ Jesse L. Hoyer
                                               Jesse L. Hoyer




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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


    UNITED STATES OF AMERICA ex rel.
    PAULA C. LORONA and REID POTTER,

                 Plaintiffs-Relators,
                                                    Case No. 3:15-cv-959-J-34PDB
    vs.

    INFILAW CORPORATION, et al.,

                 Defendants.
                                             /

                                            ORDER

           THIS CAUSE is before the Court on two motions.           On September 21, 2018,

    Defendant Barbri, Inc. filed a motion to dismiss Count III of the Third Amended Complaint

    (Doc. 36) pursuant to Rule 12(b)(6), Federal Rules of Civil Procedure (Rule(s)). See

    Defendant Barbri, Inc.’s Dispositive Motion to Dismiss and Memorandum in Support (Doc.

    44; Barbri Motion). In addition, on October 22, 2018, Defendants Infilaw Corporation,

    Arizona Summit Law School, LLC (ASLS), Florida Coastal School of Law (FCSL), and

    Charlotte School of Law (CSL) (collectively, Infilaw Defendants) filed a motion to dismiss

    this action in its entirety pursuant to Rules 12(b)(1) and 12(b)(6). See Defendants Infilaw

    Corporation, Arizona Summit Law School, LLC, Florida Coastal School of Law, and

    Charlotte School of Law, LLC’s Omnibus Motion to Dismiss Third Amended Complaint and

    Supporting Memorandum of Law (Doc. 56; Infilaw Motion). Plaintiffs/Relators Paula C.

    Lorona and Reid Potter (Relators) filed a response to the Barbri Motion on October 12,

    2018, and to the Infilaw Motion on December 17, 2018. See Plaintiffs’ Response to

    Defendant Barbri, Inc.’s Dispositive Motion to Dismiss (Doc. 54; Response to Barbri);
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    Relators’ Response to Defendants Infilaw Corporation, Arizona Summit Law School, LLC,

    Florida Coastal School of Law, and Charlotte School of Law, LLC’s Omnibus Motion to

    Dismiss (Doc. 65; Response to Infilaw). In addition, with leave of Court, the Infilaw

    Defendants filed a reply in support of their Motion on January 17, 2019. See Reply in

    Support of Defendants Infilaw Corporation, Arizona Summit Law School, LLC, Florida

    Coastal School of Law, and Charlotte School of Law, LLC’s Motion to Dismiss the Third

    Amended Complaint (Doc. 71; Reply). Accordingly, this matter is ripe for review.

    I.     Procedural History

           Plaintiff/Relator Paula C. Lorona initiated this action on August 5, 2015, by filing,

    under seal, a four-count complaint pursuant to the False Claims Act, 31 U.S.C. § 3729 et

    seq. See Complaint of Qui Tam Plaintiff Paula C. Lorona Filed Under Seal Pursuant to 31

    U.S.C. §§ 3729 et seq. (Doc. 1; Original Complaint). On August 6, 2015, the Court entered

    an Order (Doc. 5) striking the Original Complaint as an impermissible shotgun pleading,

    observing that “each subsequent count of the four counts in the Complaint incorporates by

    reference all of the allegations of the preceding counts.” See August 6, 2015 Order at 1-

    2. In accordance with the Court’s Order, Lorona filed an amended complaint on August

    31, 2015. See First Amended Complaint of Qui Tam Plaintiff Paula C. Lorona (Doc. 8;

    Amended Complaint). Thereafter, on March 10, 2016, with leave of Court, Lorona filed a

    second amended complaint, joining the additional Plaintiff/Relator Reid Potter, and adding

    a fifth count. See Second Amended Complaint of Qui Tam Plaintiffs Paula C. Lorona and

    Reid Potter (Doc. 14; Second Amended Complaint); see also Order (Doc. 13) (granting

    leave to amend).




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            Following multiple extensions of time, on February 16, 2018, the United States filed

    a notice of its decision not to intervene in this action. See United States’ Notice of Election

    to Decline Intervention (Doc. 30). Accordingly, on April 24, 2018, the Magistrate Judge

    entered an In Camera Order directing the Clerk of the Court to unseal the pleadings in this

    matter. See In Camera Order (Doc 33.). Upon review of the Second Amended Complaint,

    the Court found that Relators had once again employed a shotgun manner of pleading.

    See Order (Doc. 35) at 1-2, filed April 26, 2018 (“Given the lack of any specification,

    Plaintiffs appear to be invoking all factual allegations as well as all allegations of each of

    the proceeding counts and leaving it to the Court to sift out irrelevancies and decide for

    itself which facts are relevant to the particular causes of action asserted.”). As such, the

    Court struck the Second Amended Complaint and directed Relators to file a third amended

    complaint. See id. at 3. The Court cautioned Relators to “carefully review the Eleventh

    Circuit authority on this issue and ensure that the third amended complaint is fully compliant

    with the letter and spirit of the shotgun pleading rule.” See id. at 3 n.1. On May 18, 2018,

    Relators filed the Third Amended Complaint of Qui Tam Plaintiffs Paula C. Lorona and

    Reid Potter (Doc. 36; Third Amended Complaint),1 the operative pleading in this action.

    II.     Factual Background2

            A. Overview of Claims

            Defendants ASLS, CSL, and FCSL (the Law Schools) are private, for-profit law

    schools, controlled by their parent company, Defendant Infilaw.                     See TAC ¶¶ 4-10.


            1
             For brevity, in citations the Court will refer to the Third Amended Complaint as “TAC.”
            2
             In considering the Motions to Dismiss, the Court must accept all factual allegations in the Third
    Amended Complaint as true, consider the allegations in the light most favorable to Relators, and accept all
    reasonable inferences that can be drawn from such allegations. Hill v. White, 321 F.3d 1334, 1335 (11th Cir.
    2003); Jackson v. Okaloosa Cnty., Fla., 21 F.3d 1531, 1534 (11th Cir. 1994). As such, the facts recited here
    are drawn from the Third Amended Complaint and may well differ from those that ultimately can be proved.


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    Relators allege that the Infilaw Defendants violated the False Claims Act (FCA) in

    connection with their receipt of federal funds from the student financial assistance

    programs authorized by Title IV of the Higher Education Act of 1965 (HEA). To be eligible

    to receive Title IV funds, institutions such as ASLS, CSL, and FCSL must enter a program

    participation agreement (PPA) with the Secretary of the Department of Education (DOE)

    which conditions “the initial and continued participation” of the institution on its compliance

    with certain requirements. See 34 C.F.R. § 668.14(a)(1). By entering a PPA, an institution

    agrees in pertinent part that:

            It will comply with all statutory provisions of or applicable to Title IV of the
            HEA, all applicable regulatory provisions prescribed under that statutory
            authority, and all applicable special arrangements, agreements, and
            limitations entered into under the authority of statutes applicable to Title IV
            of the HEA, including the requirement that the institution will use funds it
            receives under any Title IV, HEA program and any interest or other earnings
            thereon, solely for the purposes specified in and in accordance with that
            program.

    34 C.F.R. § 668.14(b)(1). Relators allege that the Law Schools executed PPAs and

    submitted them to the federal government “despite full knowledge” that the regulations and

    requirements were “regularly being violated . . . .” TAC ¶¶ 32-34. Specifically, Relators

    allege that the Law Schools were violating the following three DOE regulations: (1) the

    “90/10 Rule” set forth in § 668.14(b)(16),3 (2) the prohibition on “substantial

    misrepresentations” set forth in § 668.71(b),4 and (3) the accreditation requirement set forth




            3
              “By entering into a program participation agreement, an institution agrees that— . . . (16) For a
    proprietary institution, the institution will derive at least 10 percent of its revenues for each fiscal year from
    sources other than Title IV, HEA program funds . . . .” See 34 C.F.R. § 668.14(b)(16).
            4
             Pursuant to § 668.71, the Secretary is authorized to initiate a suspension or termination proceeding
    against an institution where the institution or its representatives make “a substantial misrepresentation about
    the nature of its educational program, its financial charges, or the employability of its graduates.” See 34
    C.F.R. § 668.71(a)-(b). The regulation prohibits misrepresentations “in all forms, including those made in

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    in § 668.14(b)(23).5 In light of these violations, Relators maintain that the submission of

    the falsely certified PPAs “caused the federal government to distribute Title IV/HEA funds”

    to the Law Schools, “in violation of the False Claims Act.” Id. ¶¶ 33-34. Relators also

    allege that the Law Schools made false statements to the American Bar Association (ABA)

    essential to the Law Schools’ accreditation, which caused the government to pay Title IV

    funds to the Law Schools for which the Law Schools were ineligible. See id. ¶¶ 203-05,

    212-13, 222, 224.

            In the Third Amended Complaint, Relators set forth five separate claims under the

    False Claims Act. In Counts I, II and IV, Relators assert that the Law Schools knowingly

    presented false claims for payment to the federal government in violation of §

    3729(a)(1)(A), and knowingly made or used false records or statements material to the

    false claims in violation of § 3729(a)(1)(B). See TAC ¶¶ 206-28, 239-45. In Count III,

    Relators allege that the Law Schools and Infilaw, conspired with Defendant Barbri, a

    corporation which provides “preparation courses and materials for individuals taking state

    bar exams,” to violate the FCA. See TAC ¶¶ 12, 229-38. Last, in Count V, Relators allege

    that the Law Schools and Infilaw knowingly avoided their obligation to transmit money to

    the federal government, in violation of 31 U.S.C. § 3729(a)(1)(G), by failing to return to the

    federal government the “millions of dollars in payments for claims they were not entitled

    to.” See TAC ¶¶ 247-49.




    any advertising, promotional materials, or in the marketing or sale of courses or programs of instruction
    offered by the institution.” Id. § 668.71(b).

            5
             “By entering into a program participation agreement, an institution agrees that— . . . (23) It will meet
    the requirements established pursuant to part H of Title IV of the HEA by the Secretary and nationally
    recognized accrediting agencies.” See 34 C.F.R. § 668.14(b)(23).

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            B. The Relators

            Lorona enrolled at ASLS as an evening student in August 2009. Id. ¶ 136. Lorona

    also “decided to work at ASLS because it would help her attend law school.” Id. ¶ 25.

    ASLS hired Lorona in November of 2009 as “an administrative assistant to the General

    Counsel of ASLS.”         See TAC ¶ 22.          In 2010, she was promoted to “financial aid

    representative,” and in 2011, she received promotions to “assistant director of financial

    aid,” and “student accounts/accounting manager.” Id. As an employee, “Lorona was given

    a full tuition waiver and a pro rata early tuition waiver to attend ASLS.” Id. ¶ 25. “Lorona’s

    responsibilities as an employee of ASLS included submission of requests for federal funds,

    through the Common Origination and Disbursement System (COD), used by the DOE to

    create, deliver, and report Federal Pell Grants, TEACH Grants, and Federal Direct Loans.”

    Id. ¶ 23. Following Lorona’s submission of a COD request, the DOE would disburse the

    Title IV funds to ASLS, and Lorona would facilitate the distribution of the funds to the

    students. Id. ¶ 24. According to Relators, Lorona also “observed and participated in

    ASLS’[s] application for accreditation from the American Bar Association and the financial

    inner-workings of ASLS and Infilaw, including student loan disbursement, the application

    for and receipt of Title IV funds, and the certification of compliance with all DOE and Title

    IV regulations and requirements.” Id. ¶ 23. Lorona alleges that ASLS President Scott

    Thompson executed the PPAs, “but they were prepared by other employees within the

    President’s Office and financial aid department,” such that she had “unparalleled access

    to the documents and the process under which they were certified.” Id. ¶ 32.6 However,


            6
               While Relator Lorona alleges that she has personal knowledge of the PPAs executed and submitted
    by ASLS, her contention that CSL and FCSL “prepared, executed and submitted similar PPAs, in conjunction
    with Infilaw,” is based only on “information and belief.” See TAC ¶ 34.


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    Lorona does not describe this process or describe her role, if any, in the preparation of the

    PPAs.

            Potter attended law school at ASLS as well. Id. ¶ 26. Following his graduation,

    ASLS hired Potter in 2011, where he worked in the Academic Services department until

    September of 2014. Id. Potter’s job at ASLS involved “guiding students through their bar

    exam preparation,” as well as collecting bar exam preparation fees. Id. ¶¶ 27, 29. Potter

    also attended “meetings with ASLS and Infilaw officials regarding academic success

    programs,” including ASLS’s bar exam preparation programs, and the “use of those

    programs to secure and maintain federal funds . . . .” Id. ¶ 28. Potter was also involved in

    “discussions with representatives of Infilaw, ASLS and Barbri” regarding the check

    exchange program described below, and its alleged purpose as a means “to disguise funds

    ASLS received from federal student loan programs so that ASLS could continue to receive

    such funds.” Id. ¶ 29.

            C. The 90/10 Rule

            An institution’s participation in most Title IV student financial assistance programs7

    is conditioned on its entry into a PPA with the Secretary of the DOE. By entering a PPA,

    an institution agrees to comply with numerous statutory and regulatory rules and

    requirements. See 34 C.F.R. § 668.14(b). One such regulation is known as the “90/10

    Rule” which demands as follows: “For a proprietary institution,[8] the institution will derive




            7
              For a list of Title IV, HEA programs, see 34 C.F.R. 668.1(c)(1)-(12). Participation in the Leveraging
    Educational Assistance Partnership (LEAP) program and National Early Intervention Scholarship and
    Partnership (NEISP) programs is not conditioned on the PPA requirement. See 34 C.F.R. § 668.14(a)(1).

            8
                The term proprietary institution is defined at 34 C.F.R. § 600.5. Generally, the term refers to for-
    profit institutions of higher education which meet certain requirements. See § 600.5(a)(1). The parties do
    not dispute that the Law Schools are proprietary institutions subject to the 90/10 Rule.

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    at least 10 percent of its revenue for each fiscal year from sources other than Title IV, HEA

    program funds, as provided in § 668.28(a) and (b), or be subject to sanctions described in

    § 668.28(c).” See 34 C.F.R. § 668.14(b)(16). Pursuant to § 668.28(c), “[i]f an institution

    does not derive at least 10 percent of its revenue from sources other than Title IV, HEA

    program funds—(1) For two consecutive fiscal years, it loses its eligibility to participate in

    the Title IV, HEA programs for at least two fiscal years.”

           According to Relators, “[i]n or about early 2010, Defendants became concerned that

    they would not satisfy the 90/10 Rule because a large proportion of the students attending

    ASLS, FCSL, and CSL were receiving substantial Title IV/HEA funding through loans.” See

    TAC ¶ 39. Relators allege that in 2009-2010, both ASLS and FCSL reported that over 82%

    of their revenue came from Title IV/HEA funding. Id. ¶ 40. Public data shows that in the

    2012-2013 funding year, all three Law Schools reported over 86% of their revenue from

    Title IV/HEA sources. Id. ¶ 41. And, for the 2013-2014 funding year, both ASLS and CSL

    reported revenue from Title IV/HEA sources in excess of 87%, while FCSL’s reported Title

    IV/HEA revenue had declined to just under 85%. Id. ¶ 42. Relators allege that, to address

    this “90/10 Problem,” the Law Schools manipulated their revenue streams in the following

    three ways: 1) offering institutional loans, 2) creating internal bar preparation programs,

    and 3) engaging in a “check exchange” with Barbri.

                  1. Institutional Loans

           Lorona asserts that she participated in weekly meetings from 2010 through 2013,

    where representatives and employees of the Law Schools and Infilaw discussed “how to

    create the appearance that Defendants were complying with the 90/10 Rule.” See TAC ¶

    44. In 2011, Scott Thompson, the ASLS President and former Chief Financial Officer of



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    Infilaw, proposed “the concept of offering Institutional Loans (‘ILs’) to students as a solution

    to the 90/10 Rule.” Id. ¶ 45. According to Lorona, “Thompson stated that from Infilaw’s

    perspective the sole reason to offer ILs was to give the appearance that the Defendant

    [Law] Schools were in compliance with the 90/10 Rule.” Id.

           Relators allege that Infilaw and the Law Schools began offering institutional loans

    for the fall 2011-spring 2012 financial aid year. Id. ¶ 48. Although the Law Schools, under

    Infilaw’s direction, initially solicited only students with top credit scores to sign up for

    institutional loans, once those efforts were exhausted, the Law Schools began offering

    institutional loans “to almost any student without regard to creditworthiness or ability to

    repay, including students with bankruptcies and foreclosures.” Id. ¶¶ 48-50. By virtue of

    her position at ASLS, Lorona asserts that she has knowledge of the mechanics of the

    institutional loan program as she was “instructed to complete the financial transactions

    necessary to fund” institutional loans.     Id. ¶ 57.   As set forth in the Third Amended

    Complaint,

           Once a student was convinced to sign up for an [institutional loan], the
           Defendant [Law] Schools would ‘refund’ the Title IV/HEA funds previously
           received from DOE and replace those loan funds with [institutional loan]
           funds from the institution, most of which was previously received Title
           IV/HEA funds from other students’ financial aid submissions. This allowed
           the Defendant [Law] Schools to transfer funds from the 90% side to the 10%
           side in a dollar-for-dollar manner, making it appear they were complying with
           the 90/10 Rule.

    Id. ¶ 57. Nonetheless, Relators do not allege any particular examples of students who

    received such loans, the repayment terms of the loans, or the number of such loans each

    Law School issued.

           Significantly, DOE regulations permit institutions to count revenue generated from

    institutional aid as non-Title IV revenue subject to certain requirements:

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            (i)     For loans made to students and credited in full to the students’
                    accounts at the institution on or after July 1, 2008 and prior to July 1,
                    2012, include as revenue the net present value of the loans made to
                    students during the fiscal year, as calculated under paragraph (b) of
                    this section, if the loans—

                           (A) Are bona fide as evidenced by standalone repayment
                               agreements between the students and the institution that
                               are enforceable promissory notes;
                           (B) Are issued at intervals related to the institution’s
                               enrollment periods;
                           (C) Are subject to regular loan repayments and collections by
                               the institution; and
                           (D) Are separate from the enrollment contracts signed by the
                               students.

            (ii)    For loans made to students before July 1, 2008, include as revenue
                    only the amounts of payments made on those loans that the institution
                    received during the fiscal year.

            (iii)   For loans made to students on or after July 1, 2012, include as revenue
                    only the amount of payments made on those loans that the institution
                    received during the fiscal year.

     34 C.F.R. § 668.28(a)(5). Nonetheless, Relators contend that the Law Schools could not

     properly count the receivables from these institutional loans as non-Title IV income

     because the loans were not “subject to regular loan repayments and collections by” the

     Law Schools as required to constitute non-Title IV revenue under the regulation. See TAC

     ¶¶ 46, 51-55; see also 34 C.F.R. § 668.28(a)(5)(i)(C). According to Relators, the Law

     Schools and Infilaw knew that the institutional loans extended to low-credit students were

     uncollectible and never “made any serious attempts to collect” on those loans. See TAC

     ¶¶ 52-54. Indeed, Relators assert that “Defendants” knew that “most of the students

     receiving [institutional loans] could not and would not repay the loans,” and that

     “Defendants” purposefully did not attempt to collect these loans “in order to avoid calling

     attention to the fact that the loans were not in fact collectible . . . .” Id. ¶ 53. Based on



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     “information and belief,” Relators allege that “certain students” never made any payments

     on their institutional loans. Id. ¶ 54. Lorona maintains that Thompson “forced” her to allow

     these students to continue attending school so the receivables would count as non-Title IV

     money. Id. Based on “information and belief,” Relators allege that the institutional loan

     default rate in the 2013 fiscal reporting year (presumably, at ASLS, although it is unclear)

     exceeded 40%. Id.9

             According to Relators, “[a]fter a year of funding” institutional loans to low-credit

     students, the Law Schools reported the “amount of the corresponding receivables” to the

     DOE as non-Title IV income. Id. ¶ 51. Relators do not allege the amount of the institutional

     loan receivables reported to the DOE or more precisely, the amount of such receivables

     derived from loans to low-credit students that were not actually subject to repayment and

     collections. Indeed, Relators do not allege any information about the Title IV and non-Title

     IV revenues reported to the DOE for the 2011-2012 fiscal year. Id. ¶¶ 40-42. Instead,


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                Relators also appear to suggest that the Law Schools’ practice of counting the net value from these
     loans, as opposed to cash received, violates the cash basis of accounting. See id. ¶ 55; Response to Infilaw
     at 20. However, the applicable regulation specifically provides that institutions must use the cash basis of
     accounting in calculating the revenue percentage, “[e]xcept for institutional loans made to students under
     paragraph (a)(5)(i) of this section . . . .” See 34 C.F.R. § 668.28(a)(2) (emphasis added). As noted above,
     the applicable paragraph provides that for loans made after July 1, 2008, and before July 1, 2012, institutions
     may include as revenue the “net present value of the loans made to students during the fiscal year,” according
     to a specific calculation, so long as the loans are, inter alia, “subject to regular loan repayments and
     collections by the institutions . . . .” See 34 C.F.R. § 668.28(a)(5)(i)(C). Relators do not specifically allege
     when the challenged institutional loans were issued, but the loans appear to pertain to the “Fall 2011-Spring
     2012 financial aid year,” TAC ¶ 48, and thus, fall within the statutory period permitting a net present value
     calculation. Thus, Relators’ only discernible theory for why the Law Schools could not properly count the
     institutional loans as revenue is that the loans were not actually subject to repayment and collection.
               Relators also include allegations suggesting that these institutional loans were not in the best
     interests of the students. For example, according to Relators, the institutional loans, unlike federally funded
     loans, “are not deferrable by students after graduation, nor may students apply for financial hardships or
     forbearances” of the institutional loans. Id. ¶ 47. Relators also allege that the Law Schools “nefariously”
     withdrew future institutional loan support from low-credit students who the Law Schools assessed as having
     a low chance of passing the bar exam, “thereby destroying their ability to continue to attend school” despite
     having already “accrued tremendous amounts of debt . . . .” Id. ¶ 52. Relators emphasize that the Law
     Schools’ only reason for offering the institutional loans to students was to appear to be in compliance with
     the 90/10 Rule. TAC ¶¶ 45, 59. However, Relators fail to explain how the Law Schools’ motives, while
     troubling, are relevant to whether they were in compliance with DOE regulations.

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     Relators allege that Lorona viewed non-public, “internal calculations of revenue” related to

     the 90/10 Rule, “most of which” showed that ASLS was “consistently in violation of the

     90/10 Rule.” Id. ¶ 58. The dates and details of these internal calculations are not alleged,

     and Relators offer only their “information and belief” that these same documents exist at

     CSL and FCSL. Id. In addition, an unidentified person at an unidentified time is alleged to

     have provided Lorona with unidentified documents “demonstrating a violation of the 90/10

     Rule,” of unspecified date and magnitude, and instructed her to “convert some Title IV/HEA

     loans into [institutional loans] for the sole purpose of converting revenue to create the

     appearance of compliance with the 90/10 Rule.” Id. ¶ 58. Whether or how Lorona

     accomplished this conversion is not alleged. It is unclear from the allegations whether the

     Law Schools’ practice of providing institutional loans to low-credit students continued after

     the first year. Id. ¶ 60. Notably, for loans issued after July 1, 2012, only the payments

     actually received by the institution may be counted as revenue.           See 34 C.F.R. §

     668.28(a)(5)(iii). Relators do not allege any specific facts showing a violation of this

     provision.

                   2. The myBAR Program

            On approximately September 15, 2011, the Dean of ASLS, Shirley Mays, sent an

     email stating that after “an insightful 90/10 meeting,” the development of an internal bar

     exam preparation course “‘has bubbled to the top as a real solution for 90/10.’’ TAC ¶ 61.

     According to Relators, Infilaw tasked the Law Schools, beginning with ASLS, “with creating

     and implementing their own bar exam preparation programs to compete with established

     programs from Barbri and other providers.” Id. ASLS then instructed the Director of the

     Critical Legal Skills Program (DCLSP) to implement a bar preparation program. Id. ¶ 62.



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     The DCLSP was not receptive to the idea of creating and implementing a new program in

     less than three months, sufficient to prepare December 2011 graduates for a February

     2012 bar exam.      Id. ¶ 62.    Nonetheless, Dean Mays insisted that ASLS pursue

     implementation of its own bar preparation course, and at some point ASLS “formalized its

     new program” named “myBAR,” for “Multi-Year Bar Advanced Review.” Id. ¶¶ 63, 66.

     Relators allege on “information and belief” that the Law Schools “counted myBAR program

     fees as non-Title IV/HEA revenue toward satisfying the 90/10 Rule.” Id. ¶ 68.

           In late 2011, Dean Mays informed the DCLSP that the $50,000 fund previously

     offered to students in need of financial assistance to enroll in established bar preparation

     courses was no longer available. Id. ¶ 64. An Infilaw employee, Penny Willrich, suggested

     that ASLS “force its students to take its bar preparation program, provide no bar

     preparation materials to the students unless they sign up for ASLS bar preparation

     program, and even charge students parking fees during the bar preparation program to

     count toward non-Title IV/HEA funds.” Id. ¶ 65. Relators do not allege when those

     suggestions were made, to whom they were made, whether they were ever implemented,

     or how much, if any, revenue they generated. However, Relators go on to allege that at

     an unspecified time, in unspecified amounts, ASLS began “paying students who

     participated in myBAR thousands of dollars as ‘bonuses’ for completing mini-courses called

     modules, thus effectively refunding the students’ myBAR fees.” Id. ¶ 67. According to

     Relators, this arrangement “allowed ASLS to claim tuition received from myBAR fees as




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     non-Title IV/HEA revenue, while hiding the fact that the revenue was refunded Title IV/HEA

     funds.” Id.10

             Pursuant to 34 C.F.R. § 668.28(a)(3), institutions may only consider funds

     generated from certain sources as non-Title IV revenue.11                               As relevant here, §

     668.28(a)(3)(iii) permits an institution to count funds “paid by a student, or on behalf of a

     student by a party other than the institution” for an “education or training program” that

     “prepares students to take an examination for an industry-recognized credential or

     certification issued by an independent third party . . . .” Relators contend that the Law



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                Relators do not allege that this arrangement actually violated any specific DOE regulation, and do
     not rely on this allegation in their Response to Infilaw to support their claim that the myBAR program violated
     the 90/10 Rule. See Response to Infilaw at 18.
             11
                  In full, 34 C.F.R. § 668.28(3) provides as follows:

             (3) Revenue generated from programs and activities. The institution must consider as
             revenue only those funds it generates from—
             (i)     Tuition, fees, and other institutional charges for students enrolled in eligible
                     programs as defined in § 668.8;

             (ii)       Activities conducted by the institution that are necessary for the education and
                        training of its students provided those activities are—
                        (A) Conducted on campus or at a facility under the institution's control;
                        (B) Performed under the supervision of a member of the institution's faculty; and
                        (C) Required to be performed by all students in a specific educational program at
                             the institution; and

             (iii)      Funds paid by a student, or on behalf of a student by a party other than the
                        institution, for an education or training program that is not eligible under § 668.8 if
                        the program—
                        (A) Is approved or licensed by the appropriate State agency;
                        (B) Is accredited by an accrediting agency recognized by the Secretary under 34
                              CFR part 602;
                        (C) Provides an industry-recognized credential or certification, or prepares
                              students to take an examination for an industry-recognized credential or
                              certification issued by an independent third party;
                        (D) Provides training needed for students to maintain State licensing requirements;
                              or
                        (E) Provides training needed for students to meet additional licensing
                        requirements for specialized training for practitioners that already meet the general
                        licensing requirements in that field.



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     Schools could not properly count the income from the myBAR program as non-Title IV

     revenue because it is not income “from school activities necessary and required for

     students enrolled in their programs, nor do the programs actually prepare their students

     properly to take an examination for an industry-recognized credential or certification issued

     by an independent third party.” TAC ¶ 70. Indeed, according to Relators, the myBAR

     program was “woefully inadequate as a bar preparation course . . . .” Id. ¶ 69. In support,

     Relators assert that in an email dated December 23, 2014, “ASLS admitted . . . that the

     anticipated bar passage rate for an ASLS student on the February 2015 bar exam was

     47% compared to a state average of 70%.” Id. ¶ 69. Relators further allege that for the

     July 2015 Arizona bar exam the “actual pass rate for ASLS graduates” was 26.4%. Id. ¶

     75. Notably, in a separate section of the Third Amended Complaint, Relators state that

     63.8% of ASLS graduates taking the bar exam in February 2012 (including repeat and first-

     time takers) passed the exam. Id. ¶ 159. In July of 2012, 73.1% of ASLS graduates passed

     the bar exam, and 72.9% of its graduates passed in February 2013. Id. While ASLS’s bar

     passage rates do drastically decline in subsequent years, Relators provide no allegations

     linking this decline to the myBAR program. Indeed, there are no allegations regarding what

     percentage of ASLS students who enrolled in the myBAR program passed the bar exam

     as compared to students who utilized other programs.          Moreover, Relators offer no

     information allowing one to assess the caliber of the internal bar exam preparation

     programs at CSL or FCSL.

                   3. The Check Exchange

            Barbri “provides preparation courses and materials for individuals taking state bar

     exams, most of whom are recent law school graduates.” Id. ¶ 12. These courses “include



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     a series of live or recorded lectures, study materials, and practice exams,” and much of the

     cost is “attributable to Barbri’s copyrighted bar preparation books, outlines, and practice

     exams, which are tailored to each state’s bar exam.” Id. ¶ 77. On July 2, 2012, Infilaw and

     Barbri entered into an agreement whereby Infilaw paid $12 million to have Barbri provide

     all the materials for the Law Schools’ internal bar review programs over a three-year term,

     from July 2, 2012, until July 31, 2015. Id. ¶ 84. Pursuant to the agreement, Barbri stopped

     offering its own courses at the Law Schools, and was prohibited from soliciting students,

     setting up recruiting tables, or offering discounts to students at the Law Schools. Id. ¶¶ 81-

     82. This agreement “fixed the price of the ‘live’ bar preparation courses offered to . . .

     students, eliminated any competition by Barbri, and resulted in large payments from Infilaw

     to Barbri to ensure that the Defendant [Law] Schools’ in-house bar review courses were

     the only option available to the Infilaw students.” Id. ¶ 88. According to Relators, all three

     Law Schools implemented internal bar preparation programs utilizing the “written materials

     and lectures developed by Barbri for their bar exam preparation courses.” Id. ¶ 79.

     Although touted as an attempt to increase bar passage rates, Relators allege that the

     reason Infilaw created these internal bar preparation programs was “to inflate the portion

     of revenue at the Law Schools that could be counted as non-Title IV or ‘10’ revenue.” Id.

     ¶ 89.

             Significantly, Barbri typically begins soliciting students to sign up for its courses

     during their first year of law school. Id. ¶ 76. To enroll, students pay a deposit to Barbri to

     lock-in a lower price “as the cost increases each year a student waits to pay the deposit.”

     Id. Thus, at the time Barbri and Infilaw entered their agreement, students taking the bar

     review course in the summer of 2012 had “already paid or contracted directly with Barbri



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     to take Barbri’s bar review course and the Barbri course was already half over.” Id. ¶ 86.

     Nevertheless, Infilaw, the Law Schools and Barbri required “students who had already paid

     deposits and contracted with Barbri [to] switch their enrollment to the Infilaw bar preparation

     programs for the July 2012 through July 2013 bar exams.” Id. ¶ 90. In addition, Infilaw,

     the Law Schools, and Barbri devised a “check exchange” program so that Infilaw and the

     Law Schools could immediately recognize the full amount of these funds as non-Title IV

     revenue. Id. ¶¶ 90-92. Relators describe this program as follows: “Barbri agreed to refund

     each student’s past payments by sending the checks directly to the Defendant [Law]

     Schools. The Defendant [Law] Schools would then distribute the checks to the students in

     exchange for the student writing a personal check payable to the school for the same

     amount.” Id. ¶ 91. Students who had already made payments to Barbri for the summer

     2012 course, or submitted deposits for future courses, were required to engage in this

     “check exchange” program. Id. Indeed, Barbri sent refund checks to ASLS for the check

     exchange even for students preparing for the July 2012 bar exam, who had already paid

     Barbri, attended Barbri classes, and had nearly completed the Barbri program. Id. ¶ 92.

     As such, despite having never provided any services for the money, ASLS was able to

     count these funds as non-Title IV revenue. Id. ¶ 92. Specifically, Relators allege that “[f]or

     the summer 2012 bar review course, ASLS received checks for approximately 70

     graduates representing approximately $184,000. This was income that was owed and had

     already been paid to Barbri based on the students’ agreements with Barbri.” Id. ¶ 110.

     According to Relators, ASLS “illegally counted a large and material amount of this money

     as non-Title IV income in its 2012 annual audit submitted to the DOE.” Id.




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            According to Relators, ASLS also sought to engage in a check exchange with

     students after the summer 2013 bar exam, when the students had already completed the

     preparation course and bar exam. Id. ¶ 112. “ASLS contacted these students, attempted

     to make them cash a ‘refund’ check from Barbri, and then immediately write a check in the

     same amount to ASLS for its myBAR program.” Id. If a student refused to comply, ASLS

     would threaten to withhold their character and fitness certification necessary for bar

     admission. Id. Relators allege that Barbri sent refund checks for “approximately 63 former

     students to ASLS and ASLS was successful in convincing many of these students to

     participate in the check exchange process.” Id. The Relators do not allege the amount of

     funds generated from these efforts but assert that the income generated was “reported by

     Infilaw as non-Title IV revenue on its 2013 annual audit submitted to the DOE.” Id.

            Potter asserts that he participated in “multiple conversations with representatives of

     CSL and FCSL,” in which he was told that the check exchange program was designed to

     address “ASLS’s 90/10 problem.” Id. ¶ 93. Potter also received an email from ASLS

     President Thompson explaining that the funds from the check exchange needed to be

     deposited by July 31st for the 90/10 calculation. Id. ¶ 94. In spring of 2013, Thompson

     sent several emails stating his concerns about the status of collections for the internal bar

     review program and emphasizing that these funds were a “‘very important piece of 10

     money.’” See id. ¶¶ 122-125. Potter alleges that he was present “during discussions with

     Barbri employees where this purpose (and its potential illegality) was discussed.” Id. ¶¶

     96-97. For example, Barbri employee Mary Goza sent an email to ASLS employees on

     January 18, 2013 explaining the check exchange process and including instructions on

     how to “ensure compliance with 90/10 . . . .” Id. ¶ 108.



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             Indeed, in order to ensure that the funds received for the internal bar preparation

     program would be counted as non-Title IV revenue, ASLS would not allow students to pay

     their myBAR fees prior to graduation. Id. ¶¶ 99-105. ASLS either refused to accept a

     deposit for the myBAR program entirely, id. ¶¶ 99-104, or accepted a deposit but refunded

     the money upon graduation and then required the student to pay the fee in full after

     graduation, id. ¶ 105. It appears ASLS also waited to engage in the check exchange

     process until after the targeted students had graduated. Id. ¶ 107. Relators allege that the

     Infilaw Defendants pressured students in a variety of ways to participate in the check

     exchange program.          Id. ¶¶ 113-14, 119-21, 125.             According to Relators, the check

     exchange program was an “illegal price fixing and anti-competitive arrangement,” which

     operated to the detriment of the students. Id. ¶ 126.12

             D. Substantial Misrepresentations

             By entering into a PPA, institutions also agree to comply with the regulatory

     prohibition on substantial misrepresentations set forth in 34 C.F.R. § 668.71. Pursuant to

     this regulation, the Secretary of the DOE may initiate proceedings to fine an institution or

     limit, suspend or terminate the institution’s participation in a Title IV, HEA program if the



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                In the Third Amended Complaint, Relators also include an allegation that the revenue generated
     from the internal bar preparation course from 2011 through 2013 was a “sham” as ASLS simply attached its
     name to the Barbri materials. Id. ¶ 116. According to Relators, “the $2500 each student paid to ASLS for
     the myBAR program was entirely for the use of the same Barbri materials and lectures that were used for
     Barbri courses offered at the other law schools in Arizona.” Id. Because “the entire amount of the internal
     bar preparation course fees paid to the [Law] Schools was really for ‘books and materials’ provided by Barbri,”
     Relators contend that the Law Schools were “prohibited from counting this money as non-Title IV 90/10
     revenue since this amount was not included or disclosed as tuition, fees, or other institutional charges.” See
     id. ¶ 117 (citing 34 C.F.R. § 668.28(a)(7)(v)). The cited regulation prohibits an institution from counting as
     revenue “[t]he amount the student is charged for books, supplies, and equipment unless the institution
     includes that amount as tuition, fees, or other institutional charges.” See 34 C.F.R. § 668.28(a)(7)(v).
     However, it is unclear whether this regulation would apply to the books, materials, and recorded lectures that
     make-up the voluntary bar exam preparation program. Relators do not further develop this legal argument,
     nor do they rely on it in their Response to Infilaw as a basis for finding a violation of the 90/10 Rule.


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     Secretary determines that the institution has engaged in substantial misrepresentation.

     See 34 C.F.R. § 668.71(a)(4). According to the regulation, “[a]n eligible institution is

     deemed to have engaged in a substantial misrepresentation when the institution . . . makes

     a substantial misrepresentation about the nature of its educational program, its financial

     charges, or the employability of its graduates.” Id. § 668.71(b). Such misrepresentations

     “are prohibited in all forms, including those made in any advertising, promotional materials,

     or in the marketing or sale of courses of programs of instruction offered by the institution.”

     Id.   A misrepresentation includes statements that are false, erroneous or have “the

     likelihood or tendency to mislead under the circumstances.” Id. § 668.71(c). Such a

     statement is substantial if “the person to whom it was made could reasonably be expected

     to rely, or has reasonably relied, to that person’s detriment” on the statement. Id. Relators

     allege that the Law Schools “repeatedly violated this regulation by publishing materially

     false and misleading representations about bar passage, academic, and career prospects,

     and pushing unsuspecting students into loans that could not be repaid.” See TAC ¶ 127.

                   1.     AAMPLE

            Relators allege that ASLS advertised statistics and data regarding the caliber of its

     students that were materially false and misleading. Specifically, Lorona contends that

     ASLS failed to include the LSAT scores and GPAs of students admitted through an

     alternative admissions process, known as the Alternative Admissions Model for Legal

     Education (AAMPLE), in its advertised statistics. See TAC ¶¶ 142 -144, 154. Because

     “[a]dmission and enrollment through AAMPLE does not require grade point average or

     LSAT scores within the range of traditional admissions,” the failure to include the

     admissions data from the AAMPLE students in the admissions statistics posted on the



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     ASLS website, in Relators’ view, rendered the reported information materially false and

     misleading. Id. ¶¶ 143, 154. Relators do not identify the specific statements that Lorona

     contends were misleading, nor what the statistics would have been with the AAMPLE

     students included. Lorona also contends that ASLS also knew but failed to disclose that

     the percentage of its students likely to pass the bar exam was declining due to the

     admission of increasing numbers of AAMPLE students. Id. ¶¶ 176-77.

                  2.     The Unlock Potential program

           Relators allege that in May 2014, ASLS, as well as FCSL and CSL, began paying

     certain students to defer or forego taking the bar exam upon graduation based upon the

     Law Schools’ determination that these students were likely to fail the exam. Id. ¶ 182.

     Relators allege that this “Unlock Potential” program artificially increased bar passage

     percentages, thus deceiving the ABA, the DOE, and the public. Id. ¶¶ 181-83, 190-91.

     According to Relators, “[a]t least 39 otherwise first-time bar exam takers were paid by ASLS

     to defer the July 2014 bar exam.” Id. ¶ 184. Indeed, Lorona herself was approached on

     February 11, 2015, from a representative of “ASLS or Infilaw,” who informed her that she

     was not likely to pass the February bar exam. Id. ¶ 188. The representative offered to pay

     Lorona $5,000, with an additional monthly stipend, to defer the bar exam until July 2015.

     Id. ¶ 189. Relators allege that in later years the Dean of ASLS contacted students with an

     offer of $10,000 to defer sitting for the bar exam. Id. According to Lorona, the bar coach

     assigned to her by ASLS told her that “ASLS is concerned that it may lose accreditation

     and access to Title IV/HEA funding due to drastically low performance numbers.” Id. ¶

     188. Relators conclude “upon information and belief” that ASLS counted the students who




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     participated in the Unlock Potential program as “full-time employees for purposes of

     reporting to the ABA and DOE.” Id. ¶ 187.

                       3.       Financial Obligations

              Relators further allege that “Defendants misrepresented what incoming students

     should expect to pay for their education.” Id. ¶ 194. Relators assert that the ASLS website

     represented that the tuition and fees for the “JD program during the 2010-11 academic

     year was $101,310.00,” with an additional $2,184.00 in costs for books and supplies. Id.

     According to Relators, ASLS also represented that “the median cumulative program debt

     for graduates between July 1, 2009 and June 30, 2010 was $93,142.51 for federal student

     loan debt and $5,000.00 for private student loan debt.” Id. Relators appear to contend

     that this information was misleading because ASLS’s “most recent” disclosures identify the

     median federal student loan debt as $187,792. Id. ¶ 195.13 Relators allege that “[d]espite

     notice provided by Lorona, ASLS continued its marketing by creating deceptive documents

     and statistics designed to increase non-traditional enrollment and publicly stating the

     same.” Id. ¶ 197. Relators do not identify these documents, or the particular statements

     or statistics that were allegedly misleading.

              E. ABA Accreditation

              Last, Relators allege that the Law Schools and Infilaw violated 34 C.F.R. §

     668.14(b)(23) which requires an institution to “meet the requirements established pursuant



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                 Relators also assert without elaboration that ASLS misleads students by “enrolling and then giving
     ‘credit’ to students ineligible for federal financial aid, “purportedly to ‘giv[e] students time to fix their credit to
     receive loans.” Id. ¶ 193. Relators contend that this is misleading because “DOE does not lend to students
     with credit blemishes for specified time periods.” Id. This one allegation, devoid of any particular details
     regarding the statements made, to whom they were made, when they were made, who made them, how
     frequently this occurred, or how Relators are aware of it, entirely fails to satisfy the requirements of Rule 9(b).
     Indeed, Relators’ discussion of the substantial misrepresentations in their Response makes no mention of
     this allegation. See Response to Infilaw at 25.

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     to part H of Title IV of the HEA by the Secretary and nationally recognized accrediting

     agencies.” See 34 C.F.R. § 668.14(b)(23). Relators assert that the Council and the

     Accreditation Committee of the ABA Section of Legal Education and Admissions to the Bar

     (ABA Accreditation Board) is the accrediting agency for law schools in the United States.

     See TAC ¶ 198. Relators contend that the Law Schools are engaging in practices which

     violate the requirements of the ABA Accreditation Board. Id. ¶¶ 199-205. Specifically,

     Relators assert that contrary to ABA standards, the Law Schools “continue to admit

     applicants who do not appear capable of completing their legal education and being

     admitted to the bar.” Id. ¶ 200. According to Relators, an institution may lose accreditation

     if it does not have a satisfactory bar passage rate, and as such, the Law Schools continue

     to “game these statistics” through the Unlock Potential program described above. Id. ¶

     201. In addition, Relators allege that ASLS misled prospective students in violation of ABA

     standards by creating “reports showing the grade point average of students admitted

     through alternative admissions programs versus traditional admissions.” Id. ¶ 202. Lorona

     maintains that due to her “initial position as executive assistant to the General Counsel,”

     she “witnessed the accreditation process” and thus can reliably report that “such

     accreditation documents, with errors and misrepresentations, were submitted to the ABA,

     in violation of federal regulations.” Id. ¶ 204. Relators conclude “upon information and

     belief,” that the other Law Schools prepared “similar accreditation documents,” overseen

     by Infilaw, “under similarly misrepresentative schemes.” Id. ¶ 205.

     III.   Standard of Review – Rules 8 and 9(b)

            In ruling on a motion to dismiss, the Court must accept the factual allegations set

     forth in the complaint as true.     See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009);



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     Swierkiewicz v. Sorema N.A., 534 U.S. 506, 508 n.1 (2002); see also Lotierzo v. Woman’s

     World Med. Ctr., Inc., 278 F.3d 1180, 1182 (11th Cir. 2002). In addition, all reasonable

     inferences should be drawn in favor of the plaintiff. See Randall v. Scott, 610 F.3d 701,

     705 (11th Cir. 2010).    Nonetheless, the plaintiff must still meet some minimal pleading

     requirements. Jackson v. Bellsouth Telecomm., 372 F.3d 1250, 1262-63 (11th Cir. 2004)

     (citations omitted). Indeed, while “[s]pecific facts are not necessary[,]” the complaint should

     “‘give the defendant fair notice of what the . . . claim is and the grounds upon which it

     rests.’” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (per curiam) (quoting Bell Atlantic Corp.

     v. Twombly, 550 U.S. 544, 555 (2007)). Further, the plaintiff must allege “enough facts to

     state a claim that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim has facial

     plausibility when the pleaded factual content allows the court to draw the reasonable

     inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678

     (citing Twombly, 550 U.S. at 556). A “plaintiff’s obligation to provide the grounds of his

     entitlement to relief requires more than labels and conclusions, and a formulaic recitation

     of the elements of a cause of action will not do[.]” Twombly, 550 U.S. at 555 (internal

     quotations omitted); see also Jackson, 372 F.3d at 1262 (explaining that “conclusory

     allegations, unwarranted deductions of facts or legal conclusions masquerading as facts

     will not prevent dismissal”) (internal citation and quotations omitted). Indeed, “the tenet

     that a court must accept as true all of the allegations contained in a complaint is

     inapplicable to legal conclusions[,]” which simply “are not entitled to [an] assumption of

     truth.” See Iqbal, 556 U.S. at 678, 680. Thus, in ruling on a motion to dismiss, the Court

     must determine whether the complaint contains “sufficient factual matter, accepted as true,




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     to ‘state a claim to relief that is plausible on its face[.]’” Id. at 678 (quoting Twombly, 550

     U.S. at 570).

            In addition to the minimal pleading requirements outlined above, claims under the

     False Claims Act must be “stated with particularity pursuant to Rule 9(b).” See United

     States ex rel. Atkins v. McInteer, 470 F.3d 1350, 1357 (11th Cir. 2006); see also Rule 9(b)

     (“In alleging fraud or mistake, a party must state with particularity the circumstances

     constituting fraud or mistake.”). “The particularity rule serves an important purpose in fraud

     actions by alerting defendants to the ‘precise misconduct with which they are charged’ and

     protecting defendants ‘against spurious charges of immoral and fraudulent behavior.’”

     Durham v. Bus. Mgmt. Assocs., 847 F.2d 1505, 1511 (11th Cir. 1988) (quotation omitted).

     Thus, Rule 9(b) “‘ensures that the defendant has sufficient information to formulate a

     defense by putting it on notice of the conduct complained of . . . [and] protects defendants

     from harm to their goodwill and reputation.’” Wagner v. First Horizon Pharm. Corp., 464

     F.3d 1273, 1277 (11th Cir. 2006) (quotation omitted) (alterations in Wagner). Although

     “‘alternative means are also available[,]’” the requirements of Rule 9(b) may be satisfied by

     specific allegations as to “‘date, time or place.’” See Tello v. Dean Witter Reynolds, Inc.,

     494 F.3d 956, 972-73 (11th Cir. 2007) (quoting Durham, 847 F.2d at 1511). As such, a

     complaint satisfies Rule 9(b) if it

            sets forth “(1) precisely what statements were made in what documents or
            oral representations or what omissions were made, and (2) the time and
            place of each such statement and the person responsible for making (or, in
            the case of omissions, not making) same, and (3) the content of such
            statements and the manner in which they misled the plaintiff, and (4) what
            the defendants obtained as a consequence of the fraud.”

     Id. at 972 (quoting Ziemba v. Cascade Int’l, Inc., 256 F.3d 1194, 1202 (11th Cir. 2001));

     see also Atkins, 470 F.3d at 1357 (“Particularity means that ‘a plaintiff must plead facts as

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     to time, place, and substance of the defendant’s alleged fraud, specifically the details of

     the defendant[’s] allegedly fraudulent acts, when they occurred, and who engaged in

     them.’” (quoting United States ex rel. Clausen v. Lab. Corp. of Am., Inc., 290 F.3d 1301,

     1310 (11th Cir. 2002))). Nonetheless, “Rule 9(b) does not require a plaintiff to allege

     specific facts related to the defendant's state of mind when the allegedly fraudulent

     statements were made[,]” and thus, for purposes of Rule 9(b), “it is sufficient to plead the

     who, what, when, where, and how of the allegedly false statements and then allege

     generally that those statements were made with the requisite intent.” Mizzaro v. Home

     Depot, Inc., 544 F.3d 1230, 1237 (11th Cir. 2008).

     IV.     Public Disclosure Bar14

             As an initial matter, the Infilaw Defendants assert that many of Relators’ claims are

     precluded by the public disclosure bar.15 Pursuant to 31 U.S.C. § 3730, absent the

     government’s opposition, a court must dismiss a qui tam action “if substantially the same

     allegations or transactions as alleged in the action or claim were publicly disclosed— . . .

     (iii) from the news media . . . .” See 31 U.S.C. § 3730(e)(4)(A). The public disclosure bar



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                 To the extent the Infilaw Defendants contend that Lorona’s claims are barred because she signed
     a release pursuant to a settlement of a separate lawsuit against Infilaw and ASLS, this argument is unavailing.
     See Infilaw Motion at 44. Lorona executed the release on May 24, 2017, while this action was pending. See
     Stemetzki Decl., Ex. 1: Settlement Agreement and Release at 5. “Federal courts across the country have
     held that general releases that are entered into after the filing of a qui tam action are unenforceable.” See
     United States ex rel. Keeler v. Eisai, Inc., No. 09-22302-CIV-UNGARO, 2011 WL 13099033, at *3 (S.D. Fla.
     June 21, 2011) (collecting cases); see also 31 U.S.C. § 3730(b)(1) (“The [qui tam] action may be dismissed
     only if the court and the Attorney General give written consent to the dismissal and their reasons for
     consenting.”). The Court is not persuaded by the Infilaw Defendants’ argument to the contrary because the
     case on which they primarily rely did not specifically address the impact of 31 U.S.C. § 3730(b)(1) on a post-
     filing release. See United States ex rel. Litwinczuk v. Palm Beach Cardiovascular Clinic, L.C., No. 07-80323-
     CIV, 2009 WL 10667702 (S.D. Fla. Mar. 24, 2009).
             15
                 The Infilaw Defendants do not contend that Relators’ claims related to the 90/10 Rule or premised
     on the Unlock Potential program are subject to the public disclosure bar. See Infilaw Motion at 12 n.7
     (conceding that the “allegations concerning the bar preparation program, bar exam deferral programs, and
     institutional loans” are not subject to the public disclosure bar).


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     does not apply, however, if “the person bringing the action is an original source of the

     information.” Id. An “original source” is:

            an individual who either (i) prior to a public disclosure under subsection
            (e)(4)(a), has voluntarily disclosed to the Government the information on
            which allegations or transactions in a claim are based, or (2) who has
            knowledge that is independent of and materially adds to the publicly
            disclosed allegations or transaction, and who has voluntarily provided the
            information to the Government before filing an action under this section.

     See 31 U.S.C. § 3730(e)(4)(B). To determine if the public disclosure bar applies, the

     Eleventh Circuit Court of Appeals applies a three-part test: (1) “‘have the allegations made

     by the plaintiff been publicly disclosed;’” (2) if so, are the allegations in the complaint

     substantially the same as the allegations or transactions contained in public disclosures,

     and (3) “‘if yes, is the plaintiff an original source of that information.’” See United States ex

     rel. Osheroff v. Humana Inc., 776 F.3d 805, 812 (11th Cir. 2015) (quoting Cooper v. Blue

     Cross Blue Shield of Fla., Inc., 19 F.3d 562, 565 n.4 (11th Cir. 1994) but updating the

     second prong of the standard based on 2010 amendments to the statute); see also United

     States ex rel. Bernier v. InfiLaw Corp., 311 F. Supp. 3d 1288, 1292 (M.D. Fla. 2018). The

     Eleventh Circuit describes the second prong of this test as “‘a quick trigger to get to the

     more exacting original source inquiry.’” See Osheroff, 776 F.3d at 814 (quoting Cooper,

     19 F.3d at 568 n.10). Although previously a jurisdictional bar, Congress amended the

     statute in 2010, to provide that the public disclosure bar presents grounds for dismissal

     based on failure to state a claim, rather than lack of jurisdiction. Id. at 810-11.

            The Infilaw Defendants contend that Relators’ allegations concerning the

     purportedly substantial misrepresentations, see supra Part II.D., and failure to comply with

     ABA accreditation standards, see supra Part II.E, are substantially similar to allegations




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     previously disclosed in the news media.16 In support, the Infilaw Defendants submit eleven

     news articles and blog posts which they contend disclose wrongdoing substantially similar

     to that set forth in the Third Amended Complaint. See Declaration of Scott Stemetzki in

     Support of Defendants’ Motion to Dismiss Relators’ Third Amended Complaint (Doc. 56-1;

     Stemetzki Decl.), Exs. 2-12 (the Public Disclosures).17 In their Response, Relators argue

     that the public disclosure bar does not apply to their claims because they are original

     sources. See Response to Infilaw at 9. Relators also contend that even if they are not

     original sources, the Public Disclosures “do not make material allegations or disclose

     transactions that are substantially the same as the TAC.” See id. at 12-13.

                          1. Public Disclosures18

               In relevant part, Relators assert that the Infilaw Defendants: 1) “misrepresented

     their admission requirements and the caliber of students being admitted to ASLS” by failing

     to include AAMPLE students in their data, see TAC ¶¶ 155-56, 2) made statements

     regarding the “enrollment and success statistics” of ASLS students that were misleading

     for failure to include the AAMPLE students, id. ¶ 157, 3) made statements about ASLS’s



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                However, to the extent Relators allege that the Unlock Potential program misled students and the
     ABA Accreditation Board about the Law Schools’ bar passage rates, the Infilaw Defendants do not contend
     that this program was publicly disclosed. Thus, the Court’s analysis in this section does not address the
     Unlock Potential program.
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                Relators do not object to the Court’s consideration of these documents, and the Court finds it
     appropriate to consider the exhibits at this stage in the proceedings “for ‘the limited purpose of determining
     which statements the documents contain,’ not for their truth.” See Bernier, 311 F. Supp. 3d at 1292 (quoting
     Osheroff, 776 F.3d at 811-12 & n.4).
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                 Relators do not assert that the cited Public Disclosures fail to fall within “the statute’s enumerated
     categories of sources that are considered public.” See Osheroff, 776 F.3d at 812-14; see also 31 C.F.R. §
     3730(e)(4)(A). As such, the Court accepts that these articles and blog posts, which are publicly available on
     the internet, are “public disclosures” within the meaning of the statute. See Osheroff, 776 F.3d at 813-14
     (“District courts in the Eleventh Circuit and in other circuits have determined that the term includes publicly
     available websites.”). Accordingly, the Court turns to whether the allegations in the Third Amended Complaint
     are substantially the same as the allegations contained in the Public Disclosures.

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     “ultimate” bar exam passage rates that were misleading as compared to “actual” passage

     rates, id. ¶ 165, 4) failed to disclose that the percentage of students likely to pass the bar

     exam was declining due to the increasing numbers of unqualified students admitted to

     ASLS, id. ¶¶ 176-77, and 5) misled students about the cost of their education, id. ¶ 194. In

     addition, Relators assert that the Infilaw Defendants failed to meet the ABA’s accreditation

     requirements by continuing “to admit applicants who [did] not appear capable of completing

     their legal education and being admitted to the bar, as evidence[d] by [the] median LSAT

     and GPA of matriculating students, the growing proportion of AAMPLE students, and the

     poor bar passage rates of the Defendant Schools.” Id. ¶ 200. Relators also contend that

     the Infilaw Defendants violated accreditation standards by misleading prospective students

     about the success of students in the AAMPLE program. Id. ¶ 202. According to Lorona,

     she “witnessed” the accreditation process and contends that “accreditation documents”

     were submitted to the ABA with “errors and misrepresentations.” Id. ¶ 204.

            Similarly, the Public Disclosures discuss at length the Infilaw Defendants’ alleged

     practice of admitting increasingly unqualified law students who were unlikely to pass the

     bar exam and would graduate saddled with immense student loan debt and few

     employment prospects. Notably, two of the articles describe the Law Schools’ use of the

     AAMPLE program as the means through which the Infilaw Defendants admitted students

     with low LSAT scores. See Stemetzki Decl., Ex. 2 at 9; id., Ex. 7 at 4. The Public

     Disclosures also address the immense debt and poor employment prospects for Infilaw

     graduates. See, e.g., id., Ex. 12 (discussing the “atrocious employment statistics, sky high

     tuition, enormous class sizes, and graduates with massive debt loads” at the Law Schools

     and characterizing the schools as “a straight-up educational ripoff”). One article even notes



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     that the employment statistics released to the public are likely overstated because the Law

     Schools created temporary jobs to employ some graduates in an attempt to “produce

     deceptive employment rates that will entice potential future students to enroll.” Compare

     Stemetzki Decl., Ex. 2 at 5 with TAC ¶ 135, 187.

            In addition, the Public Disclosures discuss the correlation between a student’s LSAT

     score and the probability that the student will pass the bar exam, including the observation

     that by admitting so many students who were unlikely to pass the bar exam, the Law

     Schools were jeopardizing their ABA accreditation. See, e.g., id., Exs 2, 5. Indeed, an

     August 18, 2014 blog post noted that this practice of admitting students with extremely low

     LSAT scores, who were therefore unlikely to pass the bar exam, was “unfair, ethically

     questionable, and a potential violation of ABA standards . . . .” Id., Ex. 3 at 6.19 A later

     blog post, dated December 18, 2014, called for an investigation of Infilaw, not only by the

     ABA but also by the DOE, based on the Law Schools’ practice of admitting students with

     extremely low LSAT scores who were likely incapable of passing the bar exam. Id., Ex. 6

     at 3; see also id., Ex. 5 at 5 (arguing that “it is highly ethically questionable to try to keep a

     law school afloat on the backs of students who have demonstrated poor aptitude for the

     study of law,” and “even more ethically dubious when a law school is admitting large

     numbers of extremely high-risk students for the purpose of making a profit,” and calling for

     the ABA to “put a stop to it”). This same author asserted that “InfiLaw is making huge

     profits off of totally unqualified students,” and suggested that Infilaw’s management likely

     knows that these students “have little chance of graduating (unless they also significantly

     lower their performance standards) and passing the bar.” Id., Ex. 6.


            19
               This blog post also noted that FCSL’s mandatory grading curve may be unsuitable for the caliber
     of students admitted and result in grade inflation. Compare Stemetzki Decl., Ex. 3 at 6-7 with TAC ¶ 145.

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             Based on the foregoing, the Court finds that the allegations contained in the Public

     Disclosures are substantially similar to the allegations and transactions giving rise to the

     challenged FCA claims. Indeed, Relators concede that both the Public Disclosures and

     the Third Amended Complaint “discuss Infilaw Defendants’ practice of admitting students

     who were not academically qualified for law school and unlikely to pass the bar exam.”

     See Response to Infilaw at 12. Nonetheless, Relators contend that their allegations are

     sufficiently distinct from the matters discussed in these articles because the Public

     Disclosures do not specifically accuse the Infilaw Defendants of fraud on the federal

     government. See id. at 12-13.20 This argument is not well-taken. The Eleventh Circuit

     has previously rejected a relator’s attempt to distinguish his pleadings from similar public

     disclosures merely “because the disclosures do not contain any allegations of wrongdoing.”

     See Osheroff, 776 F.3d at 814. The Osheroff Court explained that the public disclosure

     test set forth in Cooper “does not require each source to contain an allegation of

     wrongdoing,” and observed that the statute itself “requires only disclosures of ‘allegations

     or transactions,’ suggesting that allegations of wrongdoing are not required.” Id. (quoting

     31 U.S.C. § 3730(e)(4)(2012)).             Thus, while the Public Disclosures do not reference

     specific DOE regulations, the “transaction” at the heart of Relators’ claims—the intentional

     admission of underqualified students to the Law Schools, who are likely incapable of


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                 Relators also point to their allegations regarding the 90/10 Rule and the myBAR program, see
     Response to Infilaw at 10-11, 13, but their reliance on these allegations is misplaced. As stated above, the
     Infilaw Defendants do not contend that Relators’ claims premised on those allegations are subject to the
     public disclosure bar. Significantly, “just because a relator is an original source with respect to some claim,”
     does not convey this status to his claims in gross. Rockwell Int’l Corp. v. United States, 549 U.S. 457, 476
     (2007). Indeed, “§ 3730(e)(4) does not permit such claim smuggling.” Id. As such, the Court must consider
     application of the public disclosure bar on a claim-by-claim basis. Id.; see also John T. Boese, Civil False
     Claims and Qui Tam Actions § 4.02[D][1] (4th ed. & Supp. 2019) (“Because the [Rockwell] Court’s finding
     that original source assessments are made on a claim-by-claim basis was not dependent upon the elements
     in the 1986 knowledge standard, this ruling holds true regardless of whether the 2010 or 1986 bar is
     applied.”).

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     passing the bar exam, in violation of ABA standards and in order to capitalize on federal

     student loan funds—is substantially similar to the practices described in the Public

     Disclosures.

            Moreover, contrary to Relators’ arguments, the Public Disclosures are sufficient to

     raise the inference of fraud in connection with the federal student loan program. Several

     articles allege that the Infilaw Defendants’ reduced their admissions standards, to the

     detriment of the debt-laden students graduating with law degrees they are unable to use,

     in order to take advantage of all available federal student loan funds and thereby increase

     their profits. See Stemetzki Decl., Ex. 2 (“[S]chools accredited by the [ABA] admit large

     numbers of severely underqualified students; these students in turn take out hundreds of

     millions of dollars in loans annually, much of which they will never be able to repay.

     Eventually, federal taxpayers will be stuck with the tab, even as the schools themselves

     continue to reap enormous profits.”). The Public Disclosures further note that this practice

     likely violates ABA accreditation standards and will result (and did result) in the collapse of

     the Law Schools’ bar passage rates. One blog post even goes so far as to call for an

     investigation by the ABA and DOE. See id., Ex. 6 at 3. The Public Disclosures accuse the

     Law Schools of “scamming” law students to capitalize on federal student loan funds and

     likely violating ABA standards in the process. See id., Exs., 2, 10, 12. Because “the second

     prong is a ‘quick trigger,’” to the original source inquiry, this “significant overlap between

     [Relators’] allegations and the [P]ublic [D]isclosures is sufficient to show that the disclosed

     information . . . is substantially similar to the allegations in the [Third Amended Complaint].”

     See Osheroff, 776 F.3d at 814; see also Bernier, 311 F. Supp. 3d at 1293-97.




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                      2. Original Source

           Relators also contend that the public disclosure bar does not apply to their claims

     because they are original sources. See Response to Infilaw at 9-10. Pursuant to §

     3730(e)(4)(B), Relators can qualify as original sources if they voluntarily disclosed to the

     government the information on which the allegations or transactions in their claims are

     based prior to the Public Disclosures. Relators contend that they satisfied this requirement

     because “Potter’s disclosure to the government predates all but one of the articles Infilaw

     Defendants provided as exhibits to their MTD,” and this article includes only “vague

     allegations against ASLS, then Phoenix Law School.” See Response to Infilaw at 10 (citing

     Stemetzki Decl., Ex. 10). Indeed, according to the Third Amended Complaint, “Potter

     provided information regarding this Third Amended Complaint to the United States

     Department of Justice (‘DOJ’) on or about July 31, 2012.” See TAC ¶ 15. Potter also

     provided “documentation relating to this Third Amended Complaint to the United States

     Department of Education” on December 12, 2012. Id. ¶ 16. Relators do not elaborate on

     what “information” or “documentation” Potter allegedly provided to the government in 2012.

           Upon review of the Third Amended Complaint, it is apparent that the only allegations

     premised on Potter’s knowledge are those related to the myBAR program and Barbri check

     exchange. Specifically, Part V of the Third Amended Complaint describes the basis of

     Potter’s knowledge as his time working in the Academic Services Department at ASLS. Id.

     ¶ 26. According to the Third Amended Complaint, Potter “guid[ed] students through their

     bar exam preparation,” and attended meetings where the use of bar exam preparation

     programs “to secure and maintain federal funds” was discussed. Id. ¶ 28. Potter was also

     involved in facilitating the check exchange with students and participated in discussions



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     with Infilaw, ASLS, and Barbri representatives about this process and its purpose. Id. ¶

     29. Indeed, in the Third Amended Complaint, Relators rely heavily on Potter’s knowledge

     and experiences at ASLS in describing the check exchange process, see TAC ¶¶ 76-126,

     but do not otherwise reference Potter in the remainder of their pleading. Rather, Relators’

     other factual allegations all stem from Lorona’s knowledge and experiences at ASLS. It is

     Lorona who is alleged to have “reviewed materials, statistics, and bar passage rates

     published by ASLS,” id. ¶ 25, complained about misleading data and deceptive marketing,

     id. ¶ 144, and witnessed the accreditation process, id. ¶ 204. Thus, the only reasonable

     interpretation of the allegation that Potter provided “information regarding this Third

     Amended Complaint” to the government on July 31, 2012, is that he disclosed the

     information in his possession related to the ASLS bar exam preparation program and check

     exchange with Barbri. Because the Infilaw Defendants do not contend that the check

     exchange program is subject to the public disclosure bar, Relators’ reliance on Potter’s

     disclosures to the government to invoke the original source exception is misplaced.

             Instead, as it is Lorona who is alleged to have knowledge of the challenged claims,

     the Court must determine whether Lorona qualifies as an original source as to those

     allegations. According to the Third Amended Complaint, Lorona “provided documentation

     relating to this Third Amended Complaint” to the DOE on June 3, 2015, id. ¶ 17, and met

     with an Assistant United States Attorney to discuss her allegations on July 17, 2015, id. ¶

     18. Lorona’s disclosures occurred after publication of the Public Disclosures identified by

     the Infilaw Defendants, the latest of which was January 16, 2015. See Stemetzki Decl. ¶¶

     5-15.   Thus, to qualify as an original source, Lorona must have “knowledge that is

     independent of and materially adds to the publicly disclosed allegations or transaction.”



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     See 31 U.S.C. § 3730(e)(4)(B).21               Assuming arguendo that Lorona has independent

     knowledge of the matters alleged in the Third Amended Complaint, she fails to qualify as

     an original source because her allegations do not “materially add” to the Public Disclosures.

             In their Response, Relators contend that the Third Amended Complaint “materially

     adds” to the publicly disclosed allegations by explaining “in detail how the Infilaw

     Defendants fraudulently attempted to satisfy the 90/10 Rule by creating and implementing

     their own bar exam preparation courses.”                    See Response to Infilaw at 10-11.              This

     argument misses the mark given that the Infilaw Defendants do not contend that the

     Relators’ 90/10 claims are subject to the public disclosure bar. Rather, the appropriate

     focus of the materiality analysis is whether Lorona provides any details which materially

     add to the publicly disclosed information regarding the Infilaw Defendants’ deceptive

     admissions practices and violations of accreditation standards. On this subject, Relators

     do not cite to a single, specific allegation that they contend represents materially new

     information.

             Relators contend that the Law Schools were defrauding the federal government of

     student loan funds because they were engaged in conduct which rendered them ineligible

     to participate in the federal student loan programs. However, the Public Disclosures

     exposed the very conduct which Relators’ contend was disqualifying, namely, the Law

     Schools’ practice of admitting unqualified students, the likely inability of those students to

     pass the bar exam, the high cost of the Infilaw education, and the implications of Infilaw’s

     admissions practices with respect to the Law Schools’ bar passage rates and accreditation.



             21
                 The statute also requires an original source to voluntarily provide the information to the government
     before filing her FCA lawsuit, see 31 U.S.C. § 3730(e)(4)(B), which Lorona did. See Original Complaint (Doc.
     1), filed on August 5, 2015.

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     Moreover, as in Bernier, the Public Disclosures link this conduct to the Infilaw Defendants’

     “overriding goal of squeezing as much money as possible from the federal government.”

     See Bernier, 311 F. Supp. 3d at 1297-98. Thus, the Court finds that the Public Disclosures

     “‘were already sufficient to give rise to an inference’” that the Infilaw Defendants were

     defrauding the government of federal student loan funds.                    See id. at 1297 (quoting

     Osheroff, 776 F.3d at 815). Relators’ allegations do no more than repackage what was

     already publicly known about the Infilaw Defendants’ practices into the framework of the

     FCA, this is insufficient to satisfy the materiality standard.22

             Accordingly, aside from the Unlock Potential program, to the extent Relators assert

     that the Infilaw Defendants violated the FCA by making substantial misrepresentations and

     violating accreditation standards, those claims are barred. As such, Relators’ remaining

     claims are those premised on: 1) the Infilaw Defendants’ violations of the 90/10 Rule, and

     2) the Infilaw Defendants’ use of the “Unlock Potential” program to mislead the public and

     the ABA Accreditation Board about the Law Schools’ bar passage rates. As to these

     claims, the Court will next determine whether Relators have adequately alleged each

     violation of the FCA under Rules 8 and 9(b).

     V.      The False Claims Act

             Pursuant to the FCA, a private person, called a “relator,” may “bring a qui tam action

     in the name of the United States against anyone who files a claim proscribed by the FCA.”




              22
                 Notably, as discussed below, Relators’ allegations regarding the preparation and execution of the
     PPAs, the submission of student loan requests, and the preparation and submission of the accreditation
     documents to the ABA Accreditation Board are largely vague and conclusory. Thus, the type of internal,
     insider information that could have materially added to what was publicly known about the Infilaw Defendants’
     practices is missing from the Third Amended Complaint.

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     See Atkins, 470 F.3d at 1354 n.4 (internal citation omitted) (citing Clausen, 290 F.3d at

     1308). As relevant here, the False Claims Act imposes civil liability on any person who:

            (A) knowingly presents, or causes to be presented, a false or fraudulent
                claim for payment or approval [the presentment provision];

            (B) knowingly makes, uses, or causes to be made or used, a false record
                or statement material to a false or fraudulent claim [the false record
                provision];

            (C) conspires to commit a violation of subparagraph (A), (B), (D), (E), (F),
                or (G) [the conspiracy provision]; or

            (G) . . . knowingly conceals or knowingly and improperly avoids or
                decreases an obligation to pay or transmit money or property to the
                Government . . . [the reverse-false-claim provision].

     See 31 U.S.C. § 3729(a)(1). “A ‘claim’ includes direct requests for government payment

     as well as reimbursement requests made under a federal benefits program.” See United

     States ex rel. Chase v. HPC Healthcare, Inc., 723 F. App’x 783, 788 (11th Cir. 2018); see

     also 31 U.S.C. § 3729(b)(2) (defining claim in pertinent part to mean “any request or

     demand, whether under a contract or otherwise, for money or property . . . that—(i) is

     presented to an officer, employee, or agent of the United States . . .”). In addition, the FCA

     defines the term knowingly to mean “that a person, with respect to information— (i) has

     actual knowledge of the information; (ii) acts in deliberate ignorance of the truth or falsity

     of the information; or (iii) acts in reckless disregard of the truth or falsity of the information

     . . . .” See 31 U.S.C. § 3729(b)(1)(A). As such, the term knowingly “require[s] no proof of

     specific intent to defraud.” See 31 U.S.C. § 3729(b)(1)(B).

            Although Relators accuse the Law Schools of numerous violations of DOE

     regulations, regulatory violations alone do not give rise to a cause of action under the FCA.

     Indeed, the FCA is not “‘an all-purpose antifraud statute,’ or a vehicle for punishing garden-



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     variety breaches of contract or regulatory violations.” See Universal Health Servs., Inc. v.

     United States ex rel. Escobar (Escobar), 136 S. Ct. 1989, 2003 (2016) (internal citation

     omitted) (quoting Allison Engine Co. v. United States ex rel. Sanders, 553 U.S. 662, 672

     (2008)). “‘Liability under the False Claims Act arises from the submission of a fraudulent

     claim to the government, not the disregard of government regulations or failure to maintain

     proper internal policies.’” Chase, 723 F. App’x at 788 (quoting Corsello v. Lincare, Inc.,

     428 F.3d 1008, 1012 (11th Cir. 2005)); see also Urquilla-Diaz v. Kaplan Univ., 780 F.3d

     1039, 1045 (11th Cir. 2015); see also Hopper v. Solvay Pharms., Inc., 588 F.3d 1318, 1328

     (11th Cir. 2009) (“Improper practices standing alone are insufficient to state a claim under

     [the presentment provision or the false record provision] absent allegations that a specific

     fraudulent claim was in fact submitted to the government.”). “Simply put, the ‘sine qua non

     of a False Claims Act violation’ is the submission of a false claim to the government.”

     Urquilla-Diaz, 780 F.3d at 1045 (quoting Corsello, 428 F.3d at 1012).

     VI.   Counts I, II and IV – Presentment and False Record Claims

           In Count I of the Third Amended Complaint, Relators assert a presentment claim

     premised on § 3729(a)(1)(A). The elements of a presentment claim are as follows: 1) a

     false or fraudulent claim, 2) the presentment of the claim, and 3) knowledge that the claim

     was false. See 31 U.S.C. § 3729(a)(1)(A). In Counts II and IV of the Third Amended

     Complaint, Relators assert false record claims premised on § 3729(a)(1)(B). To establish

     a false record claim under the FCA, Relators must allege that the Law Schools: “(1) made,

     used, or caused to be made or used, a false record or statement; (2) that is material to a

     false or fraudulent claim; and (3) with the knowledge the statement was false.” See

     Rutledge v. Aveda, No. 2:14-cv-145-AKK, 2015 WL 2238786, at *5 (N.D. Ala. May 12,



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     2015). In their Response, Relators do not distinguish between their various claims in

     Counts I, II, and IV, and it is difficult to discern the precise legal theories on which they rely.

     Nonetheless, all three counts are premised on the central contention that the student loan

     funding requests are “false or fraudulent” claims for payment.23 Relators offer two reasons

     why these claims are false: (1) because the Law Schools made false certifications of

     compliance in the PPAs, and (2) because the Law Schools made material false statements

     to the ABA Accreditation Board. These arguments implicate two potential legal theories:

     false certification and fraudulent inducement.

             To adequately allege a false certification claim, Relators must set forth facts that, if

     true, would show: “‘(1) a false statement or fraudulent course of conduct, (2) made with

     scienter, (3) that was material, causing (4) the government to pay out money or forfeit

     moneys due.’” See Urquilla-Diaz, 780 F.3d at 1052 (quoting United States ex rel. Hendow

     v. Univ. of Phoenix, 461 F.3d 1166, 1174 (9th Cir. 2006)).24 Notably, false certifications

     can be express or implied. Express false certification occurs where a defendant expressly

     and falsely certifies compliance with a law, rule or regulation in connection with a claim for

     payment. See United States ex rel. Keeler v. Eisai, Inc., 568 F. App’x 783, 798-99 (11th



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                At times, Relators appear to contend that the PPAs constitute false claims. However, PPAs are
     not, themselves, requests for funds. Rather, it is the student loan disbursement requests that constitute
     “claims.” See United States ex rel. Brooks v. Stevens-Henager College, 305 F. Supp. 3d 1279, 1296 n.6 (D.
     Utah Mar. 30, 2018).

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                 In Urquilla-Diaz, the Eleventh Circuit applied a prior version of the False Claims Act which imposed
     liability under the false record provision where a person “knowingly makes, uses or causes to be made or
     used a false record or statement to get a false or fraudulent claim paid or approved by the Government.”
     See 31 U.S.C. § 3729(a)(2) (2006) (emphasis added). Congress amended this statute via the Fraud
     Enforcement Recovery Act of 2009 (FERA), removing the underlined language and replacing it with “material
     to a false or fraudulent claim.” See 31 U.S.C. § 3729(a)(1)(B) (2009). The Urquilla-Diaz Court declined to
     consider whether the amendments to the statute might alter the Hendow elements for post-amendment
     claims. See Urquilla, 780 F.3d at 1045. Nonetheless, the changes to the statute are not material to the
     issues addressed in this order.


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     Cir. 2014); see also United States ex rel. Medrano v. Diabetic Care Rx, LLC, No. 15-cv-

     62617-BLOOM/Valle, 2019 WL 1054125, at *4 (S.D. Fla. Mar. 6, 2019) (“‘Express

     certification mean that the supplier has certified compliance with applicable laws and

     regulations as part of the claims submission process.’” (quoting United States ex rel. Phalp

     v. Lincare Holdings, Inc., 116 F. Supp. 3d 1326, 1345 (S.D. Fla. 2015) aff’d as modified

     857 F.3d 1148 (11th Cir. 2017))); United States ex rel. Ortolano v. Amin Radiology, No.

     5:10-cv-583-Oc-PRL, 2015 WL 403221, at *6 (M.D. Fla. Jan. 28, 2015) (“[A]n express

     certification occurs when the defendant actually signs or otherwise certifies compliance

     with some law or regulation that is identified on the face of the claim submitted.”); John T.

     Boese, Civil False Claims and Qui Tam Actions § 2.03[G][1] (4th ed. & Supp. 2019)

     (“Express false certification theory, as its name suggests, requires a claim that expressly

     and falsely certifies compliance with a particular requirement . . . .”).

            In contrast, “[a] claim for payment is impliedly false when it impliedly certifies

     compliance with [an] underlying legal requirement when, in fact, the claimant is not in

     compliance.” See United States ex rel. Brooks v. Stevens-Henager College, 305 F. Supp.

     3d 1279, 1296 (D. Utah 2018). The Supreme Court recently confirmed that “the implied

     false certification theory can, at least in some circumstances, provide a basis for liability.”

     See Escobar, 136 S. Ct. at 1999.             Relying on the well-recognized concept of

     misrepresentation by omission in common-law fraud, the Escobar Court held that:

            the implied certification theory can be a basis for liability, at least where two
            conditions are satisfied: first, the claim does not merely request payment,
            but also makes specific representations about the goods or services
            provided; and second, the defendant’s failure to disclose noncompliance
            with material statutory, regulatory, or contractual requirements makes those
            representations misleading half-truths.




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     Escobar, 136 S. Ct. at 2001.        Notably, the Supreme Court specifically declined to

     determine “whether all claims for payment implicitly represent that the billing party is legally

     entitled to payment.” See Escobar, 136 S. Ct. at 2000 (emphasis added). Nonetheless,

     as to both express and implied certifications, the materiality prong is critical. Id. at 2001-

     04 (“[A] misrepresentation about compliance with a statutory, regulatory, or contractual

     requirement must be material to the Government’s payment decision in order to be

     actionable under the False Claims Act.”). The Supreme Court describes the materiality

     standard as both “rigorous” and “demanding,” and instructs that particularized facts

     supporting materiality must be pled in the complaint. Id. at 2002-04 & n.6.

            Additionally, the Eleventh Circuit recognizes a fraud in the inducement theory of

     liability under the FCA. See United States ex rel. Marsteller v. Tilton, 880 F.3d 1302, 1314-

     15 (11th Cir. 2018). Under this theory, “liability will attach to each claim submitted to the

     government under a contract, when the contract or extension of government benefit was

     originally obtained through false statements or fraudulent conduct.” See Hendow, 461

     F.3d at 1173. The “subsequent claims are false ‘because of an original fraud (whether a

     certification or otherwise).’” See Marsteller, 880 F.3d at 1314 (quoting Hendow, 461 F.3d

     at 1173). Significantly, for fraud in the inducement to be actionable under the False Claims

     Act, “‘the promise must be false when made,’” and “material to the government’s decision

     to pay out moneys to the claimant.” Hendow, 461 F.3d at 1174.

            Here, Relators contend that the Law Schools made express certifications of

     compliance with DOE regulations in the PPAs that were false, causing the government to

     distribute Title IV funds for which the Law Schools were ineligible. See Response to Infilaw




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     at 18, 27.25        In addition, Relators contend that the Law Schools made material

     misrepresentations to the ABA Accreditation Board regarding the Law Schools’ bar

     passage rates in order to maintain their accreditation. See id. at 27. Relators’ theory is

     that these material misrepresentations, essential to accreditation, caused the government

     to provide student loan funds to the Law Schools for which they were ineligible. The Court

     considers each theory in turn.

             A. The PPAs

             It is unclear whether Relators are proceeding on the theory that the PPAs represent

     express false certifications—the certifications of compliance in the PPAs were made in

     connection with the student loan claims and were false when made, or promissory fraud—

     the Law Schools certified that they would comply with the provisions in the PPA, without


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                 In their briefs, Relators do not raise the implied false certification theory of relief and they make no
     effort to plead the Escobar elements in the Third Amended Complaint. Specifically, Relators do not include
     any allegations describing the statements or certifications made in connection with the student loan requests,
     and as such, have not shown that these requests “[do] not merely request payment, but also make[] specific
     representations about the goods or services provided . . . .” See Escobar, 136 S. Ct. at 2001. The Court
     recognizes that following Escobar, courts have split on whether such representations are necessary to state
     a claim for implied false certification. Compare United States ex rel. Rose v. Stephens Institute, 909 F.3d
     1012, 1017-18 (9th Cir. 2018) (concluding that the court was bound by prior panels who had construed
     Escobar’s requirements as mandatory); United States v. Sanford-Brown, Ltd., 840 F.3d 445, 447-48 (7th Cir.
     2016) (rejecting implied false certification claim where relator failed to meet either condition in Escobar) with
     United States v. Triple Canopy, Inc., 857 F.3d 174, 178 n.3 (4th Cir. 2017) (appearing to indicate that all
     claims for payment implicitly represent that the billing party is legally entitled to payment); United States v.
     DynCorp Int’l, LLC, 253 F. Supp. 3d 89, 99-100 (D.D.C. 2017) (explaining that in the D.C. Circuit, specific
     representations are not necessary to state an implied false certification claim and that this remains good law
     after Escobar); see also United States ex rel. Medrano v. Diabetic Care Rx, LLC, No. 15-cv-62617-
     BLOOM/Valle, 2019 WL 1054125, at *5 (S.D. Fla. Mar. 6, 2019) (describing the Escobar elements as
     mandatory and rejecting argument that “specific representations are not required”). Regardless, the Court
     need not decide the issue here. In the Third Amended Complaint, Relators rely solely on allegations of
     expressly false statements in the PPAs and accreditation documents. Relators, who have twice amended
     their claims, do not allege that the Law Schools made any implicit certifications in the requests for student
     loan funds, nor do Relators rely on this theory in their Response to Infilaw. Indeed, Relators include virtually
     no allegations detailing the actual loan requests themselves. As such, the implied certification theory of relief
     is not before the Court in this case. See United States ex rel. Barrett v. Beauty Basics, Inc., No. 2:13-CV-
     1989-SLB, 2015 WL 3650960, at *4 (N.D. Ala. June 11, 2015) (rejecting implied certification theory in part
     because “plaintiffs have not stated with particularity the facts surrounding any loan applications”); Brooks,
     305 F. Supp. 3d at 1298 & n.9 (rejecting implied certification theory because it was not pled in the complaint
     and explaining that “[a]t a minimum, the Government needs to allege what [the institution] impliedly
     represented when it requested Title IV funds”).

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     the intention to do so, in order to induce the government to provide student loan funding.

     Under either theory, Relators must allege facts from which one could plausibly infer that

     the certifications of compliance or promises to comply in the PPAs were both false when

     made and material. See Urquilla-Diaz, 780 F.3d at 1052; Hendow, 461 F.3d at 1171-72

     (“[T]o succeed on a false certification theory, some falsity must be alleged. . . . [A] palpably

     false statement, known to be a lie when it is made, is required for a party to be found liable

     under the False Claims Act.”); Marsteller, 880 F.3d at 1314-15; see also United States v.

     Sanford-Brown, Ltd., 788 F.3d 696, 708-09 (7th Cir. 2015) (“[P]romises of future

     performance do not become false due to subsequent non-compliance.”) reinstated in

     pertinent part by 840 F.3d 445, 447 (7th Cir. 2016); United States ex rel. Miller v. Weston

     Educ., Inc., 840 F.3d 494, 500 (8th Cir. 2016) (“To demonstrate this promise was false, it

     is not enough to show that [defendant] did not comply with the PPA; Relators must show

     that [defendant], when signing the PPA, knew accurate grade and attendance records were

     required, and that [defendants] intended not to maintain those records.”); United States ex

     rel. Main v. Oakland City Univ., 426 F.3d 914, 917 (7th Cir. 2005); Hendow, 461 F.3d at

     1174 (“[F]or promissory fraud to be actionable under the False Claims Act, ‘the promise

     must be false when made.’” (internal quotation omitted)). Relying instead on vague and

     conclusory statements, Relators fail to meet their burden.26



             26
                Notably, unlike similar PPA cases, Relators do not allege that the Law Schools annually re-certified
     the PPAs, or that the actual claims, i.e., the loan applications, included certifications of the Law Schools’
     compliance with DOE regulations or eligibility for the funds. Compare Jallali v. Nova Se. Univ, Inc., 486 F.
     App’x 765, 766 (11th Cir. 2012) (alleging that the institution certified compliance “each time it request[ed]
     federal student aid payments”); Urquilla-Diaz, 780 F.3d at 1046 (addressing allegations that institution “falsely
     assert[ed] in a yearly letter that it was in compliance with the ban on recruitment-based incentive
     compensation”); United State ex rel. Bernier v. Infilaw Corp. (Bernier II), 347 F. Supp. 3d 1075, 1080 (M.D.
     Fla. 2018) (summarizing allegations that an institution’s “entry into the PPA and annual recertification of
     compliance amounts to presenting a false claim and submitting a false record”). Here, as alleged in the Third
     Amended Complaint, Relators rely solely on PPAs of unspecified date and number to establish falsity.

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           As to the PPAs executed at FCSL and CSL, Relators do not allege when they were

     signed, who prepared them, what they said, or who signed them. Relators also provide no

     allegations to suggest that they have or had any first-hand knowledge about the PPA

     certification process at either of those schools.       Indeed, Relators rely merely on

     “information and belief” to contend that FCSL and CSL executed PPAs that were similar to

     those of ASLS. See TAC ¶ 34. Perhaps even more troublesome is the fact that despite

     Lorona’s “unparalleled access” to the PPAs at ASLS, the allegations in the Third Amended

     Complaint regarding those documents are similarly vague. While Relators do identify

     ASLS President Scott Thompson as the signer of the PPAs, they still fail to allege who

     prepared them, what the documents said, or when they were signed. See TAC ¶ 32.

     Relators broadly maintain that “ASLS and Infilaw leadership and staff” had “full knowledge”

     that the regulations and requirements of the PPA were “regularly being violated” but fail to

     identify the persons to whom they are referring, or explain when or how these unidentified

     individuals acquired this knowledge. Id. ¶ 33.

           Critically, because the Court has no information about when the PPAs were signed,

     the Court cannot determine whether the alleged regulatory violations began before or after

     the Law Schools entered those agreements. Thus, there are no facts to support the

     inference that at the time ASLS executed any PPA it was not complying, or intended not to

     comply, with DOE regulations.        The Third Amended Complaint is devoid of any

     particularized allegations from which to plausibly infer that at the time the PPAs were

     signed, whenever that was, the persons who prepared and signed the PPAs, whoever they

     were, made certifications of compliance (or promises to comply) that were false at the time

     they were made. See United States ex rel. Brooks v. Stevens-Henager College, 305 F.



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     Supp. 3d 1279, 1312 (D. Utah 2018) (“But Relators do not identify the dates on which any

     of these schools executed their PPAs. Without more, the court has no basis to determine

     whether any of the promises these schools made in their PPAs were ‘false when made.’”);

     United States ex rel. Barrett v. Beauty Basics, Inc., No. 2:13-CV-1989-SLB, 2015 WL

     3650960, at *3 (N.D. Ala. June 11, 2015); see also Jallali v. Nova Se. Univ., Inc., 486 F.

     App’x 765, 767 (11th Cir. 2012); United States ex rel. Pilecki-Simko v. Chubb Inst., 443 F.

     App’x 754, 760-61 (3d Cir. 2011). Because Relators have not pled with any particularity

     the purported false certifications of compliance, their allegations of mere regulatory

     violations are not sufficient to state a claim under the FCA. See Urquilla-Diaz, 780 F.3d at

     1052 (“‘[M]ere regulatory violations do not give rise to a viable FCA action’; instead ‘[i]t is

     the false certification of compliance which creates liability when certification is a

     prerequisite to obtaining a government benefit.’” (emphasis and second alteration in

     original) (quoting Hendow, 461 F.3d at 1171)).

            Nevertheless, Relators contend that they need not satisfy the particularity standard

     because they have “insider status” that provides sufficient “indicia of reliability” to satisfy

     Rule 9(b). See Response to Infilaw at 7-9. Indeed, the Eleventh Circuit recognizes that “a

     relator with direct, first-hand knowledge of the defendants’ submission of false claims

     gained through her employment with the defendants may have a sufficient basis for

     asserting that the defendants actually submitted false claims.” United States ex rel. Mastej

     v. Health Mgmt. Assocs., Inc., 591 F. App’x 693, 704 (11th Cir. 2014); Chase, 723 F. App’x

     at 788.   In contrast, relators “without first-hand knowledge of the defendants’ billing

     practices” and corporate outsiders are unlikely to have a sufficient basis for their

     allegations. Id. Regardless, “[a]t a minimum, a plaintiff-relator must explain the basis for



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     her assertion that fraudulent claims were actually submitted.” Mastej, 591 F. App’x at 704;

     Chase, 723 F. App’x at 789 (explaining that “the basis of [the relator’s] direct knowledge

     must be pled with particularity”). “It is not enough for the plaintiff-relator to state baldly that

     he was aware of the defendants’ billing practices, to base his knowledge on rumors, or to

     offer only conjecture about the source of his knowledge.” Mastej, 591 F. App’x at 704-05

     (internal citations omitted); United States ex rel. Sanchez v. Lymphatx, Inc., 596 F.3d 1300,

     1302-03 n.4 (11th Cir. 2010) (finding insufficient indicia of reliability where office manager

     alleged that she “‘found [unspecified] documentation’ and ‘discovered’ or ‘learned’ that the

     defendants had submitted false claims”).

            Lorona maintains that she has personal knowledge to support her allegations that

     false PPAs were submitted to the government based on her positions as an administrative

     assistant to the general counsel in 2009, financial aid representative in 2010, assistant

     director of financial aid in 2011, and accounting manager in 2011.              See TAC ¶ 22.

     However, Lorona fails to allege the basis of her knowledge with particularity. Lorona’s

     knowledge of the PPAs is premised solely on the following allegation: “PPAs were

     completed and executed in the financial aid department and the President’s Office, giving

     Relator Lorona unparalleled access to the documents and the process under which they

     were certified.” Id. ¶ 32. However, allegations regarding what this process was, whether

     Lorona had any direct involvement in it, or whether she spoke to anyone who did are

     noticeably absent. Significantly, these are details which, given her “unparalleled access,”

     should have been known to Lorona and as such, their absence from the Third Amended

     Complaint is particularly concerning. See Keeler, 568 F. App’x at 802 (“Most concerning,

     however, is that many of the details that were required to have been pleaded and should



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     have been known to Relator are absent from the Complaint.”). Indeed, because Relators

     do not allege when the PPAs were prepared and signed, it is not even apparent whether

     Lorona was working for ASLS during the relevant time period. Here, Lorona has done no

     more than state baldly that she was aware of ASLS’s PPA certification process. This is

     not enough.    See Mastej, 591 F. App’x at 704-05; Sanchez, 596 F.3d at 1303 n.4.

     “Consequently, in light of the paucity of details, the Court has no basis to find that Relator’s

     claims are more likely to be reliable rather than purely speculative or as the court in Clausen

     warned, spurious.” Keeler, 568 F. App’x at 802 (citing Clausen, 290 F.3d at 1313 n.24).

     Accordingly, Relators’ claims premised on the PPAs are due to be dismissed for failure to

     adequately allege the requisite falsity under the standards of Rule 9(b).

            In addition, for the reasons that follow, even if Relators’ general allegations about

     the PPAs were sufficient, Relators also fail to allege the underlying violations with the

     requisite particularity. See id. at 793 (“‘Underlying schemes and other wrongful activities

     that result in the submission of fraudulent claims are included in the circumstances

     constituting fraud or mistake that must be pled with particularity pursuant to Rule 9(b).’”

     (quoting United States ex rel. Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220, 232 (1st

     Cir. 2004))). Specifically, Relators fail to allege factual allegations supporting an inference

     that the Law Schools actually violated the 90/10 Rule, made substantial misrepresentations

     in violation of 34 C.F.R. § 668.71, or made misleading statements to the ABA Accreditation

     Board. Absent allegations showing a violation of any of these regulations, the Court cannot

     infer that the certifications of compliance in the PPAs were false




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                      1. The 90/10 Rule

            To show that the Law Schools’ certifications of compliance with the 90/10 Rule were

     false, Relators must “allege with particularity that [the Law Schools] received more than 90

     percent of [their] revenue from Title IV funds or that [they] received less than 10 percent of

     [their] revenue from non-Title IV funds.” See Urquilla-Diaz, 780 F.3d at 1056. Relators fail

     to do so. In the Third Amended Complaint, Relators describe three ways in which the Law

     Schools attempted to manipulate their Title IV and non-Title IV revenues—institutional

     loans, the myBAR program, and the check exchange. Relators’ allegations describing

     these purported schemes lack adequate detail or other indicia of reliability. Nevertheless,

     even accepting the allegations as true, “absent allegations about [each Law Schools’] total

     revenue,” the fact that the Law Schools attempted to manipulate their revenues alone “does

     not make it plausible (as opposed to merely possible) that the school[s] violated the 90/10

     rule.” See id. at 1056; see also Brooks, 305 F. Supp. 3d at 1312-13.

            As to the institutional loan scheme, Relators allege that the Law Schools offered

     loans to low-credit students. According to Relators, the Law Schools made no serious

     attempts to collect those loans, and as such, it was improper for the Law Schools to count

     the net value of those loans as non-Title IV revenue.          However, Relators’ general

     allegations as to the existence of this institutional loan scheme are unsupported by any

     particularized facts about the students with low-credit who received such loans and were

     not subject to collections, the dates such loans were issued, the amounts of any of these

     loans, or the number of such loans each Law School issued. Critically, Relators also fail

     to allege the total amount of allegedly improper non-Title IV revenue derived from these

     loans or the proportional relationship of this revenue to the total amount of the Law Schools’



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     revenues overall. Indeed, Relators include data on the Law Schools’ reported 90/10

     percentages for the 2009-2010, 2012-2013, and 2013-2014 funding years, but omit this

     information as to 2011-2012, the year the Law Schools allegedly used the institutional loan

     scheme to manipulate their revenue. See TAC ¶¶ 40-42, 48, 51. Relators allege that the

     Law Schools reported the receivables from these institutional loans to the DOE as non-

     Title IV income and that this “created the illusion that the [Law Schools] derived a much

     higher percentage of their income from non-Title IV sources so that the [Law Schools]

     appeared to be well in compliance with the 90/10 Rule.” Id. ¶ 51. But Relators do not

     provide any particularized allegations as to what the reported percentages were, or

     critically, what those percentages would or should have been without the institutional loan

     scheme. See Brooks, 305 F. Supp. 3d at 1312 n.23.

            Instead, Relators allege in a broad and conclusory manner that “Lorona was aware

     of and viewed internal calculations of revenue under the 90/10 Rule (as opposed to the

     publicly reported data), most of which demonstrated that ASLS was consistently in violation

     of the 90/10 Rule.” See TAC ¶ 58. This allegation is entirely too vague and conclusory to

     satisfy ordinary pleading requirements much less the specificity required by Rule 9(b).

     What were these documents? When did she see them and to what time periods did they

     pertain? How did she obtain them? Were these finalized numbers or merely projections?

     If “most” showed violations but not all, what was the difference? Lorona further alleges

     that she was “provided documents demonstrating a violation of the 90/10 Rule and

     instructed to convert some Title IV/HEA loans into [institutional loans] for the sole purpose

     of converting revenue to create the appearance of compliance with the 90/10 Rule,” but

     does not describe the details of the purported violation, when this incident happened, who



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     it was that gave her this directive, or whether she complied with it. Id. ¶ 58. And, most

     egregiously, Relators allege only “upon information and belief” that “the same documents

     existed at the other [Law] Schools.” Id. The mere allegation that Lorona saw unspecified

     documents “most of which” she contends demonstrated a violation of the 90/10 Rule as to

     ASLS, which she believes exist at FCSL and CSL, does not provide sufficient indicia of

     reliability to satisfy the standards of Rule 9(b) with respect to any of the Law Schools. See

     Sanchez, 596 F.3d at 1303 n.4. Accordingly, the Court finds that Relators have not alleged

     with particularity that the institutional loan scheme actually resulted in violations of the

     90/10 Rule. See Urquilla-Diaz, 780 F.3d at 1056; Brooks, 305 F. Supp. 3d at 1312.

             Relators’ allegations as to the myBAR program are similarly insufficient. Relators

     assert that ASLS created the myBAR program just prior to the February 2012 bar exam as

     a potential solution to the 90/10 problem. According to Relators, ASLS could not properly

     count the myBAR fees as non-Title IV revenue because the program was inadequate to

     prepare students for the bar exam. See TAC ¶¶ 69-70. However, Relators offer only

     “information and belief” that any of the Law Schools actually counted the myBAR fees as

     non-Title IV revenue. Id. ¶ 68. Moreover, Relators provide no specific allegations as to

     the amount of revenue the Law Schools earned as a result of this program, the relevant

     time periods during which each Law School reported this income, or the amount or

     percentage of total revenues derived from myBAR program fees.                        Thus, as with the

     institutional loans, Relators fail to allege particularized facts supporting even an inference

     that the Law Schools actually violated the 90/10 Rule.27


             27
               Moreover, Relators’ allegations that the myBAR program was so inadequate as to render it outside
     the scope of 34 C.F.R. § 668.28(a)(3)(iii) are exceedingly thin. Notably, Relators’ allegations focus on the
     hurried way ASLS implemented the program less than three months prior to the February 2012 bar exam.
     See TAC ¶¶ 62-64. Yet, 63.8% of ASLS graduates passed this exam, and 73.1% passed in July 2012.

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             Relators’ allegations regarding the Barbri check exchange program are slightly more

     detailed, but again fall short of alleging an actual violation of the 90/10 Rule. Specifically,

     Relators allege that ASLS “received checks for approximately 70 graduates representing

     approximately $184,000,” and that “ASLS illegally counted a large and material amount of

     this money as non-Title IV income in its 2012 annual audit submitted to the DOE.” See

     TAC ¶ 110. Significantly, however, Relators do not allege ASLS’s total revenues in 2012,

     the specific data reported in the 2012 annual audit, or the proportion of ASLS’s overall

     revenues encompassed by the check exchange. Thus, while it is possible that ASLS would

     have been in violation of the 90/10 Rule absent the inclusion of funds from the check

     exchange and other programs, one cannot plausibly infer such a violation from the non-

     conclusory factual allegations contained in the Third Amended Complaint. See Urquilla-

     Diaz, 780 F.3d at 1056. Likewise, ASLS alleges that in 2013, “Barbri sent refund checks

     for approximately 63 former students to ASLS and ASLS was successful in convincing

     many of these students to participate in the check exchange process. These checks from

     these students were falsely reported by Infilaw as non-Title IV revenue on its 2013 annual

     audit submitted to the DOE.” Id. ¶ 112. Relators do not allege the amount of funds

     garnered from these approximately 63 students, but presumably, it is some amount less

     than the $184,000 generated in 2012. In the Third Amended Complaint Relators do

     provide some information regarding ASLS’s revenues during the 2012-2013 funding year,

     specifically that “ASLS reported an 87.70%/12.30% split with Title IV/HEA revenue of



     Relators do not allege the overall state averages for those years, nor do they allege what percentage of
     myBAR students passed the bar exam as compared to students enrolled in other bar preparation courses.
     Instead, Relators’ sole factual support for their contention that the myBAR program was inadequate are
     internal statistics about ASLS’s predicted bar passage rate for the July 2015 bar exam. Id. ¶ 69. Relators’
     reliance on data from 2015 is puzzling given that by that point ASLS was using “the same Barbri materials
     and lectures that were used for Barbri courses offered at the other law schools in Arizona.” Id. ¶¶ 84, 116.

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     $60,030,378.00.” Id. ¶ 41. Thus, the revenue collected and reported from the check

     exchange program in 2013 was less than .27% of ASLS’s total revenues, and as such, less

     than the amount necessary to demonstrate a violation of the 90/10 Rule based on the

     numbers alleged in the Third Amended Complaint.28                         Moreover, Relators include no

     allegations regarding the check exchange process, if any, at CSL and FCSL, nor the

     amount of any revenues generated from this program at those schools.

             Accordingly, Relators have failed to allege sufficient particularized facts to make a

     plausible showing that absent the purportedly improper accounting schemes, the Law

     Schools would have violated the 90/10 Rule. Thus, Relators allegations are insufficient to

     raise the inference that the Law Schools’ certifications of compliance with that Rule were

     false. Accordingly, to the extent Relators’ claims are premised on false certifications of

     compliance, or promises to comply, with the 90/10 Rule in the PPAs, those claims fail. See

     Brooks, 305 F. Supp. 3d at 1312-13.29



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               If $60,030,378.00 represents 87.70% of ASLS’s total revenue, then ASLS’s total revenue was
     $68,449,689.90, and the Court calculates that $184,000 represents 0.268% of that amount.
             29
                  To the extent Relators premise their claim on allegedly false statements in the 2012 and 2013
     annual audits submitted to the DOE, this theory is also unavailing. See Response to Infilaw at 22; see also
     TAC ¶¶ 110, 112. In their Response, Relators attempt to distinguish their claims from Urquilla-Diaz and
     Brooks by arguing that the annual audits constitute “false claims to the United States, in violation of the FCA.”
     See Response to Infilaw at 22. Of course, the audits are not themselves requests for funds, and therefore,
     like the PPAs, are not “claims” within the meaning of the FCA. To the extent Relators’ theory is that these
     audits constitute false records material to false claims, their allegations are still insufficient. Relators do not
     identify who performed the audits, the specific false statements contained in them, or the basis for Relators’
     knowledge of their contents. And regardless, Relators fail to allege facts demonstrating that the purportedly
     false statements were “material” to the government’s decision to issue the student loan funds. See 31 U.S.C.
     § 3729(a)(1)(B). Indeed, as stated above, Relators have not shown that absent the purportedly improper
     activity, the audits would have shown a violation of the 90/10 Rule rendering the Law Schools ineligible for
     federal financial aid. Stated another way, Relators do not explain how the false statements in the audits
     render the subsequent student loan requests “false,” and false statements alone, absent the existence of a
     false claim, do not violate the FCA. See Brooks, 305 F. Supp. 3d at 1314 (rejecting theory that would “impose
     liability for any claims for payment submitted after the Colleges made any false statement, whether in a
     contract or otherwise”); see also Urquilla-Diaz, 780 F.3d at 1056 (explaining that while lying is reprehensible,
     “it violates the False Claims Act only if the ‘false statements ultimately led the government to pay amounts it
     did not owe’” (internal quotation omitted)); Bernier, 347 F. Supp. 3d at 1087 (finding that the second amended

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                         2. The Unlock Potential program

             Relators also allege that the Law Schools violated the DOE regulation which

     prohibits institutions from making substantial misrepresentations. See 34 C.F.R. § 668.71.

     Specifically, Relators allege that the Law Schools substantially misrepresented their bar

     passage rates by paying students to defer taking the bar exam through the Unlock Potential

     program. Based on these allegations, Relators maintain that the Law Schools falsely

     certified compliance with this DOE regulation in the PPAs.

             Relators maintain that the Unlock Potential program “is an outright attempt to

     deceive the ABA accrediting board, DOE, incoming students, existing students, and

     graduating students by attempting to fallaciously increase bar passage percentages.” TAC

     ¶ 181. However, Relators fail to allege with any particularity what false statements were

     made, when they were made, or who made them. Relators imply that ASLS paid students

     to defer taking the July 2014 and February 2015 bar exams, as well as “subsequent bar

     exams” in order to manipulate its bar passage rates. See id. ¶¶ 184-86, 189. Relators

     appear to contend that as a result of this program, the Law Schools’ statements about their

     bar passage rates were misleading, but Relators fail to identify any particular statement

     that they contend was misleading. Based on Relators’ own allegations, it does not appear

     that the Law Schools were concealing the existence of this Unlock Potential program from

     the public. See id. ¶ 189 (alleging that ASLS Dean Mays told media outlets that she was

     not asking students not to take the bar exam, but “merely advising them that they could

     enroll in the [Unlock Potential] program”). And, even if the Unlock Potential program did

     constitute an improper attempt to manipulate bar passage statistics, Relators point to no


     complaint “as a whole fails to plead with particularity facts to provide a plausible connection between these
     three alleged PPA violations and DOE’s decision to award [the institution] federal funding-again”).

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     allegations suggesting that the existence of this program actually had a material impact on

     bar passage rates.           Whether the Law Schools published substantially misleading

     information regarding its bar passage rates depends entirely on what was said, when it

     was said, in what context, what was or was not disclosed about the Unlock Potential

     program, and the impact the program did or did not have on the bar passage statistics.

     None of this information is alleged in the Third Amended Complaint. Therefore, Relators’

     conclusory allegations are insufficient to show that the Law Schools made any substantial

     misrepresentations regarding their bar passage rates, and therefore Relators have not

     shown that the certifications of compliance in the PPAs with this regulation were false.30

     Accordingly, Relators’ claims premised on violations of 34 C.F.R. § 668.71 are due to be

     dismissed.

             B. Accreditation

             Relators also contend that as a result of the Unlock Potential program, the Law

     Schools misrepresented their bar passage rates to the ABA Accreditation Board. As the

     Eleventh Circuit recognized in Urquilla-Diaz, “[m]aking false statements to an accreditation

     agency could lead to a False Claims Act violation because whether a school is accredited

     is material to the government’s decision to disburse Title IV funds to the school (or its

     students).” See Urquilla-Diaz, 780 F.3d at 1056. However, “[m]aking false statements to


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                 Significantly, Relators have also failed to meet their burden of alleging that the Law Schools’
     purported false certifications of compliance with 34 C.F.R. § 668.71 were material to the government’s
     decision to continue providing financial aid. See Escobar, 136 S. Ct. at 2002 (“[A] misrepresentation about
     compliance with a statutory, regulatory, or contractual requirement must be material to the Government’s
     payment decision in order to be actionable under the False Claims Act.”); Rutledge v. Aveda, No. 2:14-cv-
     00145-AKK, 2015 WL 2238786, at *9 (N.D. Ala. May 12, 2015) (“Here, [Relator] alleges the [institute] certified
     its compliance with the program, but she never specifically alleges how and why noncompliance with the
     regulations allegedly violated would prevent payment by the government.”). Indeed, the Supreme Court
     specifically recognized that plaintiffs in FCA cases must “plead their claims with plausibility and particularity
     under Federal Rules of Civil Procedure 8 and 9(b) by . . . pleading facts to support allegations of materiality.”
     Escobar, 136 S. Ct. at 2004 n.6. This, the Relators have not done as to this claim.

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     an accreditation agency does not expose a school to liability under [the false records

     provision] unless the statements were essential to the school having received (or

     maintained) its accreditation.” Id.

            Here, Relators fail to allege with Rule 9(b) particularity any material false statements

     to the ABA Accreditation Board. Instead, Relators vaguely allege that:

            ABA accreditation documents were prepared by the General Counsel of
            ASLS. Due to her initial position as executive assistant to the General
            Counsel, Lorona witnessed the accreditation process, giving her
            unparalleled access to the preparation and submission of such documents.
            In that manner, she possesses inherent indicia of reliability that such
            accreditation documents, with errors and misrepresentations, were
            submitted to the ABA, in violation of federal regulations.

     See TAC ¶ 204. Despite this “unparalleled access,” Lorona fails to include any specific

     factual information about the contents of these documents, the specific errors and

     misrepresentations purportedly contained within them, or when the documents were

     prepared and submitted to the ABA. Id. Notably, Lorona alleges that she “witnessed the

     accreditation process” due to her “initial position as executive assistant to the General

     Counsel.” Id. However, Lorona only served in that role from November 2009 to some point

     in 2010. Id. ¶ 22. According to the Third Amended Complaint, the Law Schools’ efforts to

     “game” the bar exam statistics through the Unlock Potential program did not begin until

     May 2014. Id. ¶ 182. Thus, Relators provide no “indicia of reliability” to support their

     contention that the accreditation documents contained misrepresentations about the

     Unlock Potential program. Indeed, as there are no allegations as to when the accreditation

     process during which the Law Schools allegedly made false representations took place, it

     is entirely unclear whether Lorona worked in the General Counsel’s office during the

     relevant time period.



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             Moreover, while Relators allege in a conclusory manner that the Law Schools

     “[g]amed” the bar passage statistics, they do not allege what statistics were reported to the

     ABA, when they were reported (whether before or after implementation of the Unlock

     Potential program), what the “actual” statistics would have shown, and whether the ABA

     would have denied accreditation had it known the true facts. Thus, Relators have failed to

     plead “particular facts that provide a plausible connection between [ASLS’s] allegedly false

     statements to the [ABA Accreditation Board] and the agency’s decision to accredit” the Law

     Schools. See Urquilla-Diaz, 780 F.3d at 1056. As such, Relators have not alleged

     sufficient information to show that Relators’ false statements were material to the

     accreditation decision and “‘ultimately led the government to pay amounts it did not owe.’”

     See id. (quoting Hopper, 588 F.3d at 1329). Accordingly, Relators’ claims premised on

     purported misrepresentations to the ABA Accreditation Board are also due to be dismissed.

             As to Counts I, II, and IV, the Court finds that Relators have failed to allege the

     requisite “‘facts as to time, place, and substance of the defendant’s alleged fraud, [and] the

     details of the defendants’ allegedly fraudulent acts, when they occurred, and who engaged

     in them.’” See Corsello, 428 F.3d at 1012 (alteration in original) (quoting Clausen, 290

     F.3d at 1310). As explained above, Relators fail to allege these details both as to the

     specific false statements or certifications at issue, and as to the underlying regulatory

     violations.31 Moreover, the Relators have failed to plead with particularity sufficient indicia


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                  The Court further notes that, as to the presentment claim, Relators fail to include any particularized
     facts as to the actual presentment of the purported false claims—the student loan requests—to the
     government, as is required to state a presentment claim in the Eleventh Circuit. See Jallali, 486 F. App’x at
     767 (“[Relator’s] complaint does not allege facts identifying the time, place, or substance of the allegedly
     fraudulent claims for payment.”); Rutledge, 2015 WL 2238786, at *10-12; Beauty Basics, 2015 WL 3650960,
     at *2, *4 (“[P]laintiffs have not stated with particularity the facts surrounding any loan applications.”); compare
     Urquilla-Diaz, 780 F.3d at 1055 n.13 (referencing “specific allegations about three students who applied for
     and received Title IV funds to attend classes” at the institution). Nonetheless, because Relators’ claims fail
     for the reasons set forth above, the Court has assumed, without deciding, that Relators’ allegations regarding

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     of reliability to support their claims. Accordingly, the Court will dismiss Counts I, II, and IV

     of the Third Amended Complaint for failure to comply with Rule 9(b).

     VII.    Count III (Conspiracy) and Count V (Reverse False Claim)

             Because Relators fail to adequately allege the submission and payment of false

     claims in Counts I, II and IV, their reverse-false claim cause of action fails as well “because

     it is based on false claims having been paid that Defendants failed to repay.” See Mastej,

     591 F. App’x at 706 n.20. In like fashion, because the Relators fail to adequately allege a

     viable FCA claim under the presentment or false record provisions, their claim that the

     Infilaw Defendants conspired with Barbri to violate the FCA necessarily fails. See United

     States ex rel. Chase v. LifePath Hospice, Inc., Case No. 8:10-cv-1061-T-30TGW, 2016 WL

     5239863, at *9 (M.D. Fla. Sept. 22, 2016); United States ex rel. Potra v. Jacobson Cos.,

     Inc., No. 1:12-cv-01600-WSD, 2014 WL 1275501, at *4 (N.D. Ga. Mar. 27, 2014) (citing

     Vigil v. Nelnet, Inc., 639 F.3d 791, 801 (8th Cir. 2011) (“Because the Complaint fails to

     state claims under [the presentment and false record provisions], it likewise fails to state

     an actionable conspiracy claim . . . .”)); see also John T. Boese, Civil False Claims and Qui

     Tam Actions § 2.01[E][4] (4th ed. & Supp. 2019) (“Where an underlying FCA allegation has

     been found to be without merit or otherwise not viable, a Section 3729(a)(3) conspiracy

     claim based on that underlying conduct must also be dismissed.”).                          Thus, Relators’

     conspiracy claim is also due to be dismissed. Accordingly, the Court concludes that the

     Barbri and Infilaw Motions are due to be granted in their entirety. In light of the foregoing,

     it is



     Lorona’s involvement in the submission of COD requests, see TAC ¶¶ 23-24, as well as the allegations
     describing the Law Schools’ reported Title IV revenue, see TAC ¶¶ 40-42, provide sufficient indicia of
     reliability that the Law Schools’ submitted, or caused to be submitted, requests for federal student loan funds
     under Title IV/HEA programs during the relevant time period.

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           ORDERED:

           1. Defendant Barbri, Inc.’s Dispositive Motion to Dismiss and Memorandum in

               Support (Doc. 44) is GRANTED.

           2. Defendants Infilaw Corporation, Arizona Summit Law School, LLC, Florida

               Coastal School of Law, and Charlotte School of Law, LLC’s Omnibus Motion to

               Dismiss Third Amended Complaint and Supporting Memorandum of Law (Doc.

               56) is GRANTED.

           3. The Clerk of the Court is directed to enter judgment in favor of Defendants

               Infilaw Corporation, Arizona Summit Law School, LLC, Florida Coastal School

               of Law, Charlotte School of Law, and Barbri Inc. and against Plaintiffs Paula C.

               Lorona and Reid Potter.

           4. The Clerk of the Court is further directed to terminate all pending motions and

               deadlines as moot and close the file.

           DONE AND ORDERED in Jacksonville, Florida, this 12th day of August, 2019.




     lc11
     Copies to:
     Counsel of Record




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